Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 1 of 206 PageID #:1
                                                                                                    SM
                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINF
                                                                                     I L E D
  RUFUS COOK, Pro        se                                                          JAN 0 7 ?,[J229*
                                                            )
                                                            )
                                 Plaintiff,                 )       No.           THOMAS G. BRUTON
                                                                               CLERK. U.S. DISTRICT COURT
                                                         )
                 v.
                                                         )
                                                         )
 Stonedry LLC and Andres Schcolnik;
                                                         )
                                                         )
                                                                1.22-cv-119
                                                         )
                                                                Judge Robert W. Getfleman
                                                         )
                                 Defendants.                    Magistrate Judge young B. Kim
                                                        )
                                                                RANDOM
                                                        )
                                                        )




         Now comes Rufus C'ook. Pro sc. ancl as his verified complaint and jury
                                                                                demand
 states the fbllowing.
                                       CONTT]N'TS                             PAGE

        Parties                                                                 2
        Jurisdiction                                                            2
        Venue                                                                   ,)

        Preliminary Statement and Facts                                         3
        Exhibit A Violations Chargccl                                           4
        Exhibit B Violations Charged                                            5
        Exhibit c violations charged As T, Tax Code precedent                   6
        Exhibit D Recent Due Process and other Violations Charged              6
        Counts                                                                 6

                                        PARTIES

Plaintiff: Rufus Cook ("Cook") u,as. at all tinies relevant. domiciled in and a citizen of
Illi.ngis, under no legal disabilitl: ancl a shareholclet of the Ridgeland Corporation,
(Ridgeland) an Illinois corporation. Ile becun.rc rhc assignee. in his individual
                                                                                    capacity of
the causes of action pre'viously' crw,ned bv liirlgclln.l anJby Barbara Revak
                                                                                uguirrt tt .
defendants named herein.
Defendant Stonedry L'L.C. is an Illinois limitcrl liability company which claims
                                                                                     to have
acquired rights as a tax purchaser in a propefir locarerJ ittqtl Stony Island
                                                                                Ave.,
Chicago. [llinois b1' allegedll having complicri u irh Illinois law governing tax
                                                                                  sales.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 2 of 206 PageID #:2



 Defendant Andre Schcolnik is a resident o1'lllinois and rvas at all relevant times was
                                                                                         nol
 a member or managel'   of Stonedry. bu1 w'as the sole ntember of Bronze. L.L.C., which
 L.L.C. was at all relcvant timcs u lrcnrbcl aurl 50 (fo o\\ner of defendant Stonedrv L.L.C.

                                      JURISDICTION

 Fourteenth Amendment to the U.S. Constirutior.r and 2g         u.s.c.A. section   1331


                                             VENUE
           Venue is proper in this court uncler' 28 I :.S.C A. 1391 (b) because the real
                                                               S                            estate
 which is the subject of the suit is located in ('hicago. Illinois. clear title thereto is
                                                                                           sought
 in this suit, and the events that gave rise to plainriil's claims took place within
                                                                                       this
 district.


                     PRELIMII{ARY STATEMEIYT AND FACTS
                          Formation of Stonedry, L.L.C.
         The preliminoryfocts which resultetl in theJiling of this due process complaint
 began in 2014 with theformution of an Illirrois Limitett Liability Company, Stonedry,
L.L.C. At itsformation Stonedry reported to the lllinois Secretary of State that it was a
manager-managecl company with two monogers/members, both lllinois Limited
Liability companies, not individuals. Euclt tnonager had 50% of the voting power in
stonedry. The two manager/ LLCs were Bronze, L.L.c, 100% owned by Aiire
Schcolnick, and Gammadock, L.L.C., 100% owned by Dovid Twardock. Ilnder Iilinois
law the authorit* to conduct the business of Stonedry was solely held by its two LLC
manager/members. (See exh. A-22 hereto).

        Some of the maior due process violotions successfully urged upon the state tax
court by Stonedry are listed below. They ovg courtJilings mode in the circuit court on
the dates shown therein. ThoseJilings, which are exhibits A to D hereto, discuss in
detail below some of the due process violatiorts mude in the subject case, No. 2014
COTD 002392, and sltow the violutiorts resultetl from state action
                                                                    from 2014 to this
day.



                                Exhihit A Violations Charged
L      The void sec. 22-5 Notice thot wos required       bJ,   law to end the case by dismissal
in May 2014 (Exhibil A, p. 10, par.20, et ol.)

2.      On   April   7, 2014 Stonedry purchaseclfrom Gomaclock the tax certiJicate which
Gammodock hsd bought ot the periodic scavenger tax sole re tax- detinqient
properties. (see of Ex A, Ex I hereto.) stonedry, as assisnee ond owner of the
c-ertificate since Aoril 7, 2014 was required to prove io tt , to* a"rA pr*"rang that it
had properly complied with alt due process notices required to receive a deedio the
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 3 of 206 PageID #:3



  proper$. Before all else however Stonedrt' wos requiretl to deliver to the County Clerk
 for delivery to Cook, Plaintiff herrn, o document called a ,,take-notice,,, in which the
  current certiJicate owner, would notify Cook of the proceeding Stonedry was initiating,
  thus satisfying the due process requirentent o.f'notice to Cook. (See Ex. 2 hereto.)
  However, Stonedry failed ot this /irst step, w:hich wus tlispositive. AFTER April
   7 Gammadock had no interest in the suhjet'r t.artifit:ate, nor power or standing to give
  the notice mandated by Ill. Prope rty Ta-r C'oile .src'tittrr 22-5. The 22-S notice ias, on its
 face, a nullity. As sec 22-5 points orrt itr itsJir.st tt,ords:
        "200/22'5- Notice of sule und redemption rigltts. In order to be entitled to u tox
        deed,..."

 The speciJied notice wos requirecl to be given us directed. It was not. From the 22-S
 notice expiration dote in 2014, Stonetlry coultl not become ,,entitled to o tax
 deed". Further, stonedry's (purported) uttorney failed to comply with the code
 requirement that he disclose non-compliunce.

 3.     Futthering the denial of clue process, the court agreed with Stonedry that no
 due process is needed where a judge is asketl to opprove o court transcript where
                                                                                   he did
 not hear the evidence. Exltibit A, tto. 2, p. I l, par. l7-19, et al.

4. Stonedry wrongly advised the court. l'erbally and in writing, that due process did
not require that a court transcript be approved only by a judge who has heard the
evidence.
 5. More than two years later. r.rhen l'aced u ith documented facts in the 2-1401
petition alleging perjury. fraud. repeatecl lying trrrrlu' oath and worse, Ridgeland's right to
be heard was and is still being r iolatccj. (Erhil.,ir \ hc:re-to.)

6.      During the years tiom l0l.i to clate. Donc r)l the repeated requests or demands for
an evidentiary hearing has been allor,led.

                                        Exhibit B Violations Charged
7.         We turn next to some of the due process violations documented and from
which relief was sought in Exhibit B hereto. .
8.        Despite knowing the appellate colrrl cieclined jurisdiction of the Z-l4Ol petition
and remanded it tbr further litigation below" Stonedn, has falsely argued that res judicata
applies, seeking still further due process violations b1, the state court. Exhibit B, no. 4, p.
15, I6 et al.

9      Stonedry has sought to have the state courl act as though the appellate court
had takenjurisdiction of the petition.   Pages l5 ar-rd l6 of Ex. B poini out not only that
jurisdiction was declined, but that even if that \\ere not the case, ris judicata can,t
                                                                                        apply
where swom hearing of the issues r.vas denied" as here on all issues.
 10. There should never have been a Stonecln tax deed hearing, ex parte or
otherwise, after the 22--5 notice \\'as seen on its lur:c lo he a nullity;hic-h. continuing the
pattern of illegality. its counsel. Slonedrr ancl \tlru,rinik lailed their duty to
disclose. 'Ihe Ridgeland partics uerc lirst tlcnic.l .iuc irrocess in May.2014andthe
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 4 of 206 PageID #:4




 denials have continued since. 1'he issues raised and in and by the remanded litigation
 remain alive.
 1i' The denial of discoven and tlr.' attr'nrpt to clairn res judicata where.iurisdiction
 was declined and the case remanded. are clit'fercnr sides of the same coin: intentional
 denial of due process, seen ofien here. Exhibit B. p. l5-19.

 12.        Having been denied discoverl altogether in the subject case, it took discovery
 conducted in a related case. and two and one-half years for the Ridgeland parties, at great
 expense, to learn the facts related in their 2- 1401 petition. The intent behind the
 successful effort to deny discovery altogether. is the counterpart of the simply legally
 insupportable res judicata-from-no-j urisdiction ef'fort.

              Exhibit   c:   violations charged    as to Tax     code precedent

 13. This compendiunt o1'Tar Coclc plececlcnr prt,r irles    a   brief review of relevant
 precedent. P.l-5

              Exhibit   D:   Recent Due process Violations Charged

14. Further activity in the state court has produced further due process and other claims,
detailed in exhibit D. p.l -7 and 1g.

                                           COUNTS

        The three counts of this cornplaint are cach charged against both defendants,
charging 14'n amendment due process violations under ZS U.S.C.a. section 1331.
Count I is based on complaint's allcgatioris of lailurc to comply with Tax Code sections
22-5 initially. and taken22-10 through 22-25. including the illegations of exhibits l-4.

        Count II is based on the complaint's allegations. including those of exhibits l-4,
respecting failure to provide notice of the ex pafie prove-up of FJruary g,2ol5

        Count III and exhibits l-4 chargc duc pmccss r.,iolations by falsely telling the
court that due process law provides no authoritr on rhe subject olwho
                                                                           -uy uppr:or,,.
transcripts and permits thern to be signed othel rirrrrr trr a iudge who has nea.aine
evidence.

        Count IV and exhibits l-.{ charge due process and other offenses committed as
detailed in exhibit 4.

                                     Prat'cr for Relief

Plaintiff prays that Judgment be entered in his lavor and against Defendants in an amount
greater than $2,000.000.00 in actual damages and $ 1.000,000.00 in punitive
                                                                             damages,
including attorneys' fees.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 5 of 206 PageID #:5




                                                         Rufus Cook"
                                                         Pro Se




    (L*t*
     ,/)
                    fl- {79 fl   .<_?_
Rufus Cook, pro se
741I S. Stony Island Ave
Chicago" lL 60649
Telephone No. (773) 752-2000
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 6 of 206 PageID #:6

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             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 7 of 206 PageID #:7

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     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 8 of 206 PageID #:8



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                                                                                   /s/ Batbara Revak
'l
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 9 of 206 PageID #:9




                             IN THD CTRCUIT COURT Or COOI( couNTv, TLLINOTS
                                  couNTY DEPARTMEN& COLTFITY DIVXSTON

           INTHII MAT'ftrR OTf TITEA?PLIC'ATION, ETC,,                              )
           GENIXRAL'I'AXES FOR THE YBA.RS 2OO9:2OTI                                )
                                                                                   )      CaseNo. 201,4 CO'ID          0112392
                                                                                   )
           PTTTITIGN OB- STONEDRy.,              LLC                               )      Hon. Jarnes Carroll
           FOR TAXDEED                                                             )
                                                                                   )        RE: SECT'trON2-140n
                                                                                                .PETITION
                                                                                   )


           SUPPLEN4ET{TAI, A}II} AMI}NDEI} PETITION IINDER SEC. 5/2.tr.401 ,AND COMMO}I
            tAV/ TO YACATE AL], ORDERS A}1D JUDGMENTS HEREIN, WHICITARE ALL
               NIIX,LI'I'IES AND VOm AE IMTIO BECAUSE PITOCUREDT (1) IIIT]IGUT
                AUTIIORITY OR CAPACITY AND IN VIOI-ATION OII THE LLC ACT;
                            (2)   IN V{OIATION oF THE PROPERTY TAX CODE; .AI'{D
                        (3) BY STILT LATER nRAUDULENT MTSREPnESEN'I'ATrO$IS,
                                                                             t
                       $lcr,vp,Lrtc nal,sn r'unsoNarrolJ, noRcnnydilD mnJunv


                    Petitioners,pursuanttoT35ILCS i5l2^t40l ofthelllirioisCodeofCivillrtcedure,and

     ,
         to the couluon iaw, leqpectfrrliy request that the cotnt vficate all ections taken herein on hehalf                  of

         Stonedry, L.L.C,, for iack of authority, and for violation of the Property Tax Crrde, and rbr the

         tax deed having been procure<l by ftatrd. Petitioners herein ato Ruftis Cook, Bai'bara Revak and

         Ridgelaud Corp oration, sometimos herein colleotivoly called Ritlgelatd,




     '.t  The initial 1401 Petltiol rvas filed Ausust 3, 2017 some hvenfy-triue nonths ago. On December 29, 2017 tlto
         court stayed.proceedihgs rcspccthtg the 2-1401 Petition pending disposition hy the appcllate court of related
         appeals,

             Duiing the ensuing 29 months after the Pctition rvas first filed in Augirst, 2017, srrbseguent events have
         occurred, ancl ryore learued olrylish r"elato to, anrplifyitig antl impacf the rnatters raised ln the iulttal petition.
         Recognizlrrg this to be tlro casc this cottrt's January 2r?"020 otdcr provides for the fllittg by petitionel's of
         supplementnl 1401 pleadlngs

             The instant Supplemental anil Amendetl Pstitlon also shnplifies anrl redrrces thc irtitial Pcliiion from 25
         pages to 19, a1aprovites a complete Exhibit 14.r pages therefrom hnvingbeeit ornitted iu the carlier filing.

             On Decenrber 2012019 thc appollnte court enfcreil an Oliler ryhich decided the appeals, but Ioft for
         disposltlon by this court tho scctiott 2-1401 Petitiou
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 10 of 206 PageID #:10


       CONTENTS                                                                       PAGE



       INTRODUCTION

       FACTS AND LAW


              From its formation Januaty 5,2A14 to today A. Schcolnik has
              Iackecl authority to act for Stonedry, and Stonedry has lached
              capacity to act thfo,Pgh him and his purported subagents.

              .d. stonedryrs corporate and other records show, thaf the settlement
                  agreernent in the tax ilbed case was frauelulently signed by
                   Schcotnihwho, contrary to his misrepresentations sworn and
                   unslvorn, was not "a member" or manager of Stonethy and
                   never hacl authority to act for the LLC, thus mahing nullities
                   of the settlement agreement and all other actions he took
                   without authority purporterlly on Stonedry, LLC's behalf.

              E.   Stonedry's acts were done without any possible authority 4g!
                   rvithout any possibility of ratification because contrary to the
                   exprsss terrns of the LLC Acf governing ag€ncy. Those acts
                   inctude purported t'hiring" with no authority and purporting
                   to worh rvith unauthorized lawyer/subagents.


        tr.   Stoneilry violated the notice requirements of the Property Iax
              Co de, including $22-5. 22-lA, 2240, arnd 22'25, which violations,
              without more, are defined by law as frautl, and voided the tax
              deed order antl related orders as a matter of law.                        10


              A.   Gammadock, LLC. having bought the subiect certificate
                   Januarv 7,2014, and assiened it to f,tonedrv.ApJil 7, ?Q14r
                   serveil a null take-notice on Arrril23, 2014 which bv law
                   voitled its tax deecl rrroceeding.                                  10


              B.   The void 22-S noticewas not the only violation of the Tax
                   Coile notice requirements committed in Stonedry's name.              11


              C. Ignoring his duty under    the Properfy Tax Code to call
                   compliance problems to the court's attention, and instead
                   playmg "catch me if you can", attorney M. Wilson and
                   Stonedry compounded the fraud by pretending
                   Gamrnadoclc's void 22-5 noticewas valid, and by
                   frautlulently misrepresentirrg in other filings that no
                   violations existed.                                                 11
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 11 of 206 PageID #:11




             D. Schcolnik, Stonedry and Wilson's false personation,
                forgery and perjury, were part of the fraud on the court and
                on movants committed beforc Juilge Hoffman while the
                pretcnclers continue even now to conceal their lack of authority,
                -capacity
                          and inability to act without both'                        12


                                              ('S
                                      \
             E. When thc D ecemb er 2A1.5        etflem ent Agreement" was
                entered into, movants were   more   than a year away from
                rliscovering that Schcolnih and Wilson were false pretenders
                to authorify, and Sf,onedry itself a false prefender to capacify
                to act through Schcolnik.                                           L1



        m.   .There were iater acts of fi'aud, false personation, forgery and
             misrcpresentation committed by the pretenclers and "subagents"'        19
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 12 of 206 PageID #:12



       INTR-O.DII-CTION

         ,      There are three chiefreasons why the olders dated December 1, 2015, including the
                                                                                                  tax


       deed order, arc void, and must as a rnattet' of law be vacated. First, undellying and
                                                                                             ovelarching


       all else is the fact that non-member Sohcolnik, from the day the LLC was fotmed Fehuary 5,

       2014, lacked authqrity. to aot as Stonedry's agent, and indeed Stonedry laclced capacity
                                                                                                to act


       through Schcolnik,


                Second, Stoledry, LLc.,violatecl flre notice requiremerits of the Ploperty Tax Code,

       including 522^5,22-70,22,20 and.22-25,and those violations, stancling alone, are defined by

       law   as fi.aud, and made the tax deed older   void. Those statutoly facts of fi'aud were accompanied

                                                                                                   Proper*ty
       by still other later related but different fraudulent misreptesentations asserting that the

                                                                                                  on
       Tax Code had been fully complied with, Those sepmate rnisrepresentations constituted fraud

       tlre court as well as movants.



                Third, the tax ileed judgment and the settlement agteement on whioh it was based wele

       procured by additional other.fraudulent misrepresentalions,including false personation,
                                                                                               pe{ury

       and forgery by Schcolnik, the purported authorized representative of tax deed Petitioner

                                                                                                court
       Stonedry, LLC, which apparently criminal acts were also further fi'auds committed on the

       and movants, and continue to this day.




                                                           .4
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 13 of 206 PageID #:13



       F'ACTS
       :::::iii- AND LAW

                    I.     From its formation January 5,2014 to today A. schcolnik has lacked
                           authority to act fog stoneclry, antl stonedry has Iacked capacity to act
                           through him and his purported subagents'
                                                                                                       agrecment
                         ,{.   Stonedryrs corpor.atc and other records show that the setflement
                                                                                                     contrary to
                               in the tax deeA case was fraudulently signed by Schcolnikrvho,
                                                                                         tta
                               his misrepresentatiotts sworn and unsWor:r, Was not           member" or
                               .orrug""if Stonedry and never had        auUrority to *ctfor   the LLC, thus
                               malrin"g nullities of tire settlement agreement  anil all othel' actions he took
                               withoutautlroritypurporterllyonStonedry,LLC,sbehalf.

                                                                                                 the
             1. Sohcolnik,       never a nember nor a manager of.stonedry, by law could not sign

                                                                                                to this day'
       December      l,2Al5      Settlemept Agreement, nor act io any way as agent for Stonedry



            2.    In cliscoveiy in    a related      lawsuit, on or about Decembel 2,2076,Ridgelarid learned f,'om

                                                                     Secretary of Statel
       docunrents produced which had been fi1ed by Stonedry with the

                      a. that Stonedry is and at all times was a manager-T tanaged,
                                                                                    not a membu-managed
               '-     coffrpany with only two managers, Garnraadoek LLC and s. Btonz-.e,
                                                                                         LLC,, not
                      Schcolnik (Ex.22,P,B)

                      b. that, despite those facts, Schcolnik misreprcsented untler oath
                                                                                         in his December 2,
                                                                         *...I am one of the members of
                      2016 atrtdivit verifying the sworn discovery that
                                                                 2
                      StonedtY,     LLC. ..." @x.22rp.5)


                                                                                    its counsel Robert
             3.   Also on December Z,Z0l6,Stonedry, LLC, inthe law division case by

                                                                     s Interrogatories and "Response to    Plaintiff   s
       A. Egan, filed Stonedry's "Answers to Plaintiff
                                                                             gave the followin$
       Requestfor Production of Documents", (Exs. 2L and Z}hereto)' Stonedry

       Alswer to InteuogatorY No.            3   :




       2
           RidgelancPs request to unclertake rliscovery in this case in
                                                                        support of its motiott to dismiss rvas denied by
       Juilge J, Zafiratos on MaY 20,2015.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 14 of 206 PageID #:14



                           "3. For the period January 2015 to the present identiff each
                       member of StonedrY,       LLC.

               .           Answer: Gammadock, LLC,,90 Whittredgo Road, Surnmit, New
           .           Jercey and S. Bronze, LLC,,2035 West Giddings Stleet, Chicago,
                       Illinois." @x,21)

               The Ansrvers are supported      bytwo Verifications, The first is signed: "Andres Schcolnik"; the

       second avers: "stonedry, LLC, by Andy Schcolnik, Member."



           4.       Further, Stonedry suppolted the Response to the Document Production Request                 {frx,22)

       with
                ,.Defenclant's    Affidavit in Compliance'*,ith Plaintiff       s Request   for Ploduction." It oontinues

                                                                                         cleed court:
       to malce, un4er oath, the same fi'audulent misrepresentations made before the tax

                .          .,I,
                                  Anch.es Schcolnik, being   first duly swom on oath, cleposes (sic.)
                       and state that I am one of the members of stonedry,      LLC,,;a defendant
                       in this action.,.

                                                                                  s/Andres Schcolnik"



           5,-''The 6iicovery also inqlucled Stonedry's ArticJes of Orgarrization anrl Operating

       Agreement @x.22rp. 9, 10). They show that the two LLC's each have a 50-50 interest
                                                                                          in

       Stonedry, ancl each membery'rnanager LLC has a single member: David Twardock
                                                                                                          of

                                                                                     3
       Gammadock         ,LLCand Anclres Sohcolnik of         S. Bronze,      LLC'


               6. Thus pursuant       to the Articles of Organization and Operating Agreement either one or

       both of the Stonedry entity-manag ers,who             cn'e   tlso   its only menlbers (Gammadock ot Btonze or


       both) hacl author.ity as managers to act genetally for Stonedry. Schcolnik individually, and
                                                                                                    a


       non-member of course, could not so act'




                                                                                        December 2018, rvhich
       3
        Schcolnik and Trvardoch were deposed in the larv division strit in November and
       confirmeil that neither rvas a rnember or matlager of Stouedry, LLC'
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 15 of 206 PageID #:15



                L    Schoolnilc's misrepresentation in the Decembet          I   settlement agreement that he was   a


                                                                                    Agreement, while
            member authorized to bind Stonedry appeared to bind both parties to the

                                                                                                     and he
            concealing the fact that Stonedry rvas not bound by a document signed without authority,

            was not a managet noL a menrber; and lacked authority'


               .g.   Schcolnik comrnittecl fi'audulent misrcpresentation undet'oath at the Feb' 9,20L5
                                                                                                       hearing

                                                                                          clainied again to
            and then again in the Decenber 1, 2015 settlement agreoment ra,hen he falsely

            be a Stonedry member, sigrring the agreement, rvhen in fact he never hacl authority
                                                                                                to act as the


            L..L,C.'s agent for any purpose, fl'om the clate it was formecl to today. By
                                                                                         law he was and is a


            plotender, as were and arehis agents.



                9.   At the time of the entry of tlre juclgment, the facts related above were unknown to the

            rrovants, and cl6ar.ly unlmown   as   well to the court, on which fraud was repoatedly committed

                                                                                           to their notice
            becausestohedq an,l Wilson purposefully f,ril-ed to celi the court's attention

                                                                                     judgmentwas entered
            irregularities, false stateinents and clearmisstatements of the law. The

                                                                                       no clue that they all
            without fauli or negiigence on the pad of movants who, like the coutt, had

            werg to put it charitably, being hoodwinkecl by pretenders'


                                                                                       above because of the
                10. As noted, petitioners did not know or discover the facts mentioned

            myriad aspeots of the fi.aud until    201 6, after receipt and   review of documents producecl in

            discovery by Stonedry in the law division suit.



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 I
                i 1. petitioners have a meritorious defense to Stonedty's clairn and have acted diligently,

                                                                                          As to diligence there
             although, in cases involving fraud or voidness, neither element is required'

             is no questio n,the2-7401 case having been tiiligently pursued before
                                                                                   the stay and now upon its


             conclusion. And a meritorious defense clearly is stated in the several allegations
                                                                                                of lack       of
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 16 of 206 PageID #:16



             authority,   aucl the   lesultilg fraud on the court      as   well   as movants,   including apparent criminal

             tnisconduct.


                            B.   Schcolnik's acts were done rvithout any possible authority and rvithout any
                                 possibility of ratification because contrary to the express terrns of the LLC
                                                                                        (rhiring" with no
                                 Act governing agsncy, which acts include put'ported
                                 auth orify and purpo rtin g to rvork with unauthorized lawyer /suba gents.



                  12. Thelaw requires tliat an agent, including a lawyer must have and maintain authority to


             represent a clienflplincipal. Without authority, the acts of a lawyel are nullities, The larv

             requiring flrat   a lawyer be autholized        by the client or an authot{zed agent, as old     as the   law itself,

             is sirnplysummarized inAn&u', Attorneys atLaw $153;

                              "No person has the right to appeal as another's attotney without
                          the other's authority, whether the other is a natural person or a
                          cotpotatioti. The authority may be express or implied, and the
                          authority may be given by an agent of the party for whom the                   .



                          appearance is made. Pueblo of Santa Rosqv. FaIl,273 U.S. 315, 47 S'
                          ct.361,71 L. Ed. 6s8(1927),


             And the result of lack of atrthority is also clear:

                               ,.A
                                    defendant does not waive objeotion to a tfibunal's exercise of
                          jurisdiction based onthe participation of apemon who has not been
                           authorized by the defendant, expressly ol impliedly, to appear on its
                          behalf and there is no ptoof of ratification. That is so even if the
                          purported representative is a licensed attomey. When the facts show a
                           IacJr of authorization, the representative's acts are a nullity against the
                          party for whom the appearance was entete d.2O14IL App Or\ 123654,
                          nZt,ZtZIll.Dec, 472,12N.E.3d 691 (citing Gtayt First National
                          B ank   of C licago,   3S   I   Il1. 124, 129, 57 N.E.2d 363    (19 4 4)).)7



                 13. Neither Schcolnik nor Stonedry's purported counsel have had or have authority                     to aot for
__l

             or represent Stonedry. In pefiinent part the Illinois LLC Act, 805 ILCS 180/i3(5X1) gtanted
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             agency powers solely to managers of manager-managed companies. It read as follows before

             luly 1,2017:
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 17 of 206 PageID #:17




                            '(1) A member is not an agent of the company for purposes of its
                        business solely by reason of being a member. Each manager is an
                        Agent of the company for the pupose of its business, and an act of a
                        manager. including the signing of an instrument in the company's
                        name, for apparently carrying on, iuthe ordinary course, the
                        company's business or business ofthe kind can'ied on by the company
                        binds the company, unless the manager had no authority to act for the
                        company in the particular mattel and the person with whom the
                        managor was dealing kner,v or hadnotice that the manager lacked
                        authodty."
                            (Emphasis supplied.)



                14. The Act provides, in an aniendment effective July 1 , 2077 , for a registration process

            administered by the Secletary of State by which pelsons other than managers may be authorized

            to aot as agents. Stonedly has never registerecl Schcotnik.



                15. In addition, agency law in Illinois and generally has long helcl that a.principal lacks


            sapaplry to authorize an agent to do an act which is not within the principal's statutory powers.

            Tire law is summarizod irr A.L,.L [teStatqcie&,3'd, sec.   304:                         -      '

                               "Organizational staftrtes specifr the legally operative powers
                           that an entity created pursuant to the statute shall have. Such
                           statutes oftenprovide thatpowerc granted by the statute are subject
                           to conditions and limitations stated rnorgamzational documents.
                           An entity Iachs capacitv to authorizeen agent to do.an act that is.
                           not within the entity's powets confer:red by statute..

                              Likewise, the legally opet'ative actions thatmay be taken by
                           governments and subdivisions of govelnments are often specified
                           by statutg constitution, or charler. This in turn limits a
                           governmental principai's capacity to authorize agents,"


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                16. it is the lawyer's duty to show his authority. Whelr a lawyer reguested to show his

            autlrority fails to do so, the presumption of authority is rebuttecl. Gray v. First National Bank   of

            Chicago,388   Ill   t24 (1944) In such circumstances after movants in this 1401 proceeding more
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 18 of 206 PageID #:18



           than 30 months ago questioned Schcolnilr's authority to act for Stonedry, each of the

           lawyer/subagents "hitpd" by him was-put on notice that the question of autholity was raised, and

           by law their authority was required to be shown



                      il.     stoneihy violated the notice requirements of the Property Tax Code,
                              inclutling $22-5. 22-10,22a0, arrd22-25,which violations, without more, are
                              defined by Iaw as fi.aud, ancl voidecl the tax deed order and related orders as
                              a matter of law.


                         A.   Garnmadock, X,LC. having boueht the subiect certificate Januarv 7.2014.
                              and assignerl it to.Storeclry April 7" 2014. servecl a null tahe-notice on APril
                              23, 2014 which bv Iaw voided its ta{dgedpto"gFqSl!+&



              17; Gammadoclq LLC the original ceflificate purchasel                ol Stonedry,.when it became the

           assignee, were in turn required by the Property ?ax Code, $35 ILCS 200122-5 to setve on Rufus

           Cook, the tax asseseo; atake-notice. Gammadoclc assigned the certificate to Stonedry April 7,

           ZO14(Ex. 1), Gdmmadock thereafter had no firrther right, power or intelirst in'the case, and could

           not lawfrrlly execute tirc2z-5lake-nntico     i6   <rays later   onAplil23,20l4.


               1   8. The court made cleal the effoct of assignment of a tax certi{icate      n   The Apptication


           of,.,CCPI, LLC, t. MB Financial Banh,20l2IL'App.                 (1')   101976,966 N'E.2d 408:


                                   "Here, GJ was not the cerlificate holder when it filed     the             '


                              extension notice pursuant to section 21'385. Specifically, GJ hatl
                              assigned away its rtghts to the tax lien almost two years before if
                              filed the extension notice' See 35 LLCS 2A0l2l-250 (West 2008)
                              ('An assignment shall veit inthe assignee:* x *all the right and tifle
                              of the original pulchaser'"), Consequently, the extension f,rled by
                              GJ was a nullity. .. ' The trial court, thereforg ered when it

I
                              dismissed respondent's motion to void the tax deed."
I


               19. Gammadock, despite having no power or right to do so, nevertheless purported to have

           served the necessary Z}-Snotice on Cook. (Ex. 2) That action alone was a fraudulent violation             of

           the letter ancl policy of the Property Tax Code, as well as a fl'aud cornmitted on the court and on


                                                                 1_0
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 19 of 206 PageID #:19




            Movants herein, When Stonedry failed to serve the take-notice it was required to set've, the

            proceeding, itself begun by the pretenders with no authority, was fiom that point tlead, and could

            not be restorecl to li{b by filing still more fi'audulent prctender documents. And, of coume, on

            Decenrber 7,z}ls,movants, as noted were stil1 ayear away fi'om beginning to learn in

            December 2016, about Schcolnik's and Stonedt'y's flaudulent and crirninal conduct, which

            included false per.sonation, perjury and forgory by the pretenders, as detailed below in section          II

            D hereof, A cornplete account of thc fi'audulent and criminal conduct ofthe ptetenders as ithas

            occuued over yeal's could be told only in this 2-7401 case.



               E.   TIre voirl 22-5 notidewas not the only viotration of the Tax Code notice requirements
                    committerl in Stonedry's name.


               20. On June29,?015 Ridgeland filed a document titled "Reply Regarcling Whether a

            Successor Judge may Sign Unsigned Transclipt of exparte Prove-up made before Substituted

            Judge.,, {Ex" 14) At pages 9-"1   ,   ,isrTExs. C,   C-I,   .,3,   E-1, F and G, Ridgeland showed on malkec .

            exhibits the details of Stonedry's violations of the statutory notice iequirement sfot 22-5,22-10,

            ZZ-20, and22-25.The objeotions raised there are incorporated by reference here, showing further

            violations of the Tax Code notice ptovisions.


               C. Ignoring his tluty under the Properfy Tax     Corle to caII cornpliance pt'oblems to the
                                                   playing o(catch me if you can", attol'ney M. Wilson
                    court's attention, and instead
                    apd Stonetlry compourrtletl the fraurl by pretending Gammadock's voicl 22-5 noticc
                    was valid, and by fraurlulently misrepresenting in other filings that no violations
                    existetl.

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                Zl.lJhlizngthe null Gammadocknotice, on July 9,2l14'Wilson                      and Stonedly chose


            tluough furtlier misrepresentation to play the unlawftrl "catch me if you can" game by not

            informing and instead misleading the court and movants herein. Thus Stonedry and Wilson on



                                                                    T1
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 20 of 206 PageID #:20



                                                                                         Recluired by
              July 9,2014 filed a,,pETITION FORTAX DEED" respecting the subjectproperty.

                                                                                 given, Stonedly falsely stated:
              law to state in the petition that all notices had been ol would be

                                        notices requir.ed by law to be given will be given prior to
                                   ,i4,11

                               the entry ofan order dileciing the issuance ofa tax deed on said
                               parcel of real estate ancl dueproof will be made ofthe giving of
                               such notice."

                                                                                 given had, of course,
             The tirne within which the}2-5 take-notice lawfully could have been

             passecl, and as a maller of law no "due   ptoof'could       be rnade of the   giving of such notice'


                                                                                         on the courl and
                 22. Nevertheless, on January 22,20!5,Stonedry committed Ibrther fi'auds

             Movants when it filed its "Application for an oider Directing the
                                                                               County Clelk to Issue a Tax


             Deed.,,   (Ex 4   Riclgelancl knows now what was then known only to Stonedry, Wilson
                                                                                                              and   '




              Schcolnik: that Stonedry lacked capaoity to act ttu'ough Schcolnik, that
                                                                                       Wilson, 'ohired" by


              Schcolnit<, and Schcolnik himself, all lacked authority to file the
                                                                                  application, or to take any of the


              actions whioh preceded oi'foilowed it,


                                                                                             C to the
                 23. A further fraud comimtted on the cout and movarrts occuutd when Exhibit

                                                                                               pfoffered to the
              application, the Gammadock take-notice, a nullity, was nonetheless fi'audulently

              court in Stoneclry's petition and application falsely to show compliance
                                                                                       with 22-5'



                  D.   Schcolnik, Stonetlry and Wilsonis false personation, forgery a,d
                                                                                          peri*ry, were part
                       of the fraud on the court and oo -ovurrir committed before Jutlge lloffman
                                                                                                     while
                                                          to conceal their lack of authority, and capacity
                       the pr.etenders continle eyen now
                       and to act without both.

                                                                                           up for
                  24. tudgeMar.garita T. I(ulys Hoffman was assigned the case when it came
  I

--i
              assignment on January 28,201,5 on Stonedry's fi'audulent and unauthorized
                                                                                        Petition for a Tax


              Deed and its Application therefor, both filetl by the pletenders
                                                                               lacking authority and capacity.          It

              was irritially set, at the unauthorized Mr, wilson'   s   reques! for prove-up on February 6, 207 5 , not



                                                                 L2
          Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 21 of 206 PageID #:21



                 even a week after the January 28 assignment, The courtre-set        it for February 9,20t5. However,

                 the timing was so tight tftat the February 4 Ridgeland appeal'ance (Ex, 5) was, understandably,

                 not communicated by the clelk's office to Judge Hoffinan, and so tight that Mr'. Wilson Jater
                                                                                                               said


                 lre didn,treceive Ridgeland's appearancg rnailecl Februaty 4, until he retumed fi'orn flre u,
                                                                                                               por':tu


                 prove-up before Jgdge Hoffinan, held February 9 afeer a3-day postponement by tlie court,

                 Indeed, IV1.. Wilson's sclieduling was so tightthat, as noted, there was no time       forhim to rcceive

                 Ridgeland's appeatalloe in due coul'se by mail, nor for notice of the hearing to be given

                 Ridgeland or for Ridgeland to learn of it. As a result the February 9 prove-up was held ex parl:e.

                 (Judge Hoffman toolt t}e matter "under advisement.")



                     25.Thetralscript fi'om the proceeding is attached hereto       as   Ex. 5. At page 4 t}-e

                 unauthorized non-membei./nrin-nranager Andres Schcolnik, swoln as a witness testified to
                                                                                                          show


                 the court Stoneclry's and his appr&al, as membe4 of the actionbeing taheu
                                                                                                                  '   '
                                                                r r-. rt7.:1-^,..
                                                             BY \&" \'I'rilson:

                                   "Q. What    is   yotr ffitiatton with the Petitioner, Stonedry,
                                LLC?

                                      A, Ilnamember."


                    That answer was false, as shown above. Stonedry and Wilson and Schcolnik all knew it was

                 false. That ans\iler was a slear rnisrepresentation to the court, an act offalse personation by an

                 individual claiming falsely to have a status and authority he lacked, thus committing yet another

                 fraud on the corirl and movants. Although having a legal and ethical duty to do so, Mr, Wilson
'l   ,l
                 didnot cottect Mr. Schcolnik's misreptesentation. He never did, and died in 2018'




                                                                     13
             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 22 of 206 PageID #:22
         I
         I




                         26. Oninformation and belief the criminal conduct of false personation and perjury described

                    las occulecl    ancl is   occuning in other tax deed ptoceedings prosecuted by Stonedry, LLC in the

                    Circuit Court of Cook County, Illinois,


                         2T.TheFebruary        201.5 ex par,Ie {r'anscript also contained other misrepresentations,   largely

                    based on assertions by Schcolnik, Stonedry and W'ilson attesting to the legal sufficiency of the

                    22-5 nolicewhich,     as noted, was   in fact irull, having been "lodged" not by Stonedry but by

                    Gamrnadock LLC on Aplil23,2015 after having been assigned by it to Stonedry               Aptil7,2015.

                    (8x.6, p.4)


                     .   28. The hanscript (Ex. 6) shows ftuther false testimony before Judge Hoffinan,          After

                    clismissing Schcolnik with no con'ection of his false testimony that he was a Stonedry.member,..

                    (p. 9)   M   Wilson tuiled next, at p. lL,to the defic.ient Exhibit E to the application, which in fact

                    also did not complywith 1)rePlopo*y J ax Cc,Je. At pages 15 and 16 ldr. Wilson movecl on to

                    Exhibits F and G, pertaining to sections 22-2A and22-25,both of which documents also failed,


I                   as slrown below, to compfy       with those sections. In fact, lhe ex parte, rushed headng before Judge

                    Hoffman, with no notice, was shot ttu'ough with misrepresentations and exhibits not in

                    complianoe with the Code. Stonedry's unlawful efforis to use that transcript through December

                    1, 2015 to bypass the lequired hearing of evidence in the case, played a substantial part          in

                    Ridgeland's decision to eirtel into the Settlement Agreement with Stonedry,         as did the    continuing

                    perjurg at the time not knovim, falsely averring Schcolnik's status as a membel         as   well as the

    -l              false denials ofthe tax code violations.



                         29. Stonedry reftised R. Cook's request in the ensuing days after Febluary 9,2015 to agrce

                    that by law Judge Carroll was reqnired to re-hear the pl'ove-up widence. When Wilson refused,



                                                                          14
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 23 of 206 PageID #:23




                                                        (Ex' 14)' Instead' on Febtuaty 24 (trx 7) ihe
      Riclgelald submittecl case authority to.the court
                                                                                            had
                                              having conectecl the known false testimony he
      urauthor.ized Mr, Wilsotr, as noted not
                                                                                                 ex parte'
                                                      have Juclge Floffma,, on the basis 9f that
      elicited, se*,ed a notice of rnotion seeking to
                                                                                                         that
      rur-roticecl a*cl.fiaucluleni.hear.ing, enter an order
                                                             for cleed on March 4, (Ex. 7) Ridgelarrd on

                            and rvas giarited a substiturtion of Judge
                                                                       Hoffinarr as   oflight'
      date movecl     lbr

                                                                                                       and
                                                        to this case, Juclge Zafitatos was transterred
             30. For roasons having no apparentrelatiol

      tlre rnatter assignccl to .hKlge Jarnes       calroll souretime after June 2,2015'


                                                                                                was notnrade
             31.   wrenhe was      aSSigne<l   the casg successol'Jnclge cau'oll, like mOvants'
                                                                          'wiison,   afl<l was   wrongly told   by   '
                                                               and
      aware of tlrc lack of authority of pretenders sc]roolnik
                                                                                                     sigrring the
                                       I "settlemenf'   that he could ancl shoukl resolvelhe.case by
      them until the Decernber

      Jud ge    Hoffman tt'anscriPt'
                                                                                                  .t'
                                                                                            Febi'naty 9'24L5
      .       32,stonedry, seokingto cor.titue irielirg its
                                                            fiauil, ir.';hiding sohooinik's

                                                                                                  the case
          aud continuing false personation and
                                               perjuty, continued to urge Juclge Camoli to decide

                                                     evidence, arid thus to order issuanoe of a tax cieed
          based on the ex partehearing of stonedry's

                                                      othor rvorils, Judge cauoll rvas t[ged to
                                                                                                rely on the
          withor.t Ric{gelancl ettet beifig heatc{.In

                                                                  fl'om the Februaty 9'2015 expcnle heating
          Uanscript (replete with frarrdulent niisrepresentations

                                                    quiolcly, as noted above, that the coult (and Ii4r"
          held before Judge Hotfinan), oonducted so

                                                                        appeamnoe hacl been       filed 5 days bofore'
          wilson) hacln't even harl tirne to iearn that Riclgeland's
                                                                           and with no time to prnvide notice to


          Ridgelarid ofthe    ex   parre hearing'


                                                        several ftauds on Judge catroll when             it
              33. stonedry commitied yot anotheL of its

                                                    had foirnd n0          gase   law showing that a successor
          rnisrepiesentedthatits attomey Mr. Wilson

                                                                .15
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 24 of 206 PageID #:24




                                                                                        In fact' Riclgelaricl   had presontecl such
                                                   tramcript he      hacl not hear'd'
             judge lackecl powel' to sigu.     a

                                                                                                  inthe following
                                                              14, 15), Afterthatfili,g Mr, wilson
             oase      larvi, itsfilhig of June zg,za1.s(Exs,
                                                                                                made to tho courl'
                                                            of 'ho case law" he had rvrongly
             6  montlis failerl to coruect that statoment
                                                                                           29 ancl Novemb er 29 '20'J'5
                                                       to the cases suppliecl in the .Tune
             clicln,t oall Juclge carroll,s. attention
                                                                                                      right to a tlial'
                                                                   the matter or declare Ridgelarid's
             filings, anil   tlo coult accortli[gly didn't rule ou

             wlrilestoneclry,snrotiorrforinrrrrecliateentryofataxclceclorderlrasedorrtlretr.ansuiptoftlte
                                                                                        clatg with tnovants never
                                                contirlred to pend ftorrr coult date to
             hearing befoi.e Jurlge l-Iofflrran

             havirrgbeonliearcl.Ilrer.epen<leclwitlritthepossibilitytlratJrrdgoCarroll,oonh.atytotheample

                                             wor.rlcl be a duo process violation'
                                                                                  niight decide the case ttsing the
             author.ity that any suoh astion
                                                                                  to bo heatrJ at                   tfial' (No trial   hacl
                                                 thus cla[ying Riclgeland's right
             Fetrruary 9 frauclulsnt transcript,
                                                                              of the briefing Bohedule on thg
     .   '                                    between the Juno2g conrpletion
             beenscheduled.irrtlre 5 nronths
                                                                                                               on
                                         ..Sbttlentent Agreement.,, Movants subrnittecl aclclitional authotity
              matter anrlthe Decembet 1
                              -j
             .November zg,[[lsshowing :frntirer that $tone'dty's position was
                                                                               *u'1':fu1.*o v]olafive of due


             plooess,Bytlrattime,nomattertlrolalv,stonedr.y,sassaultonclueprocesshadsucc€ecledancl

                                              an appeal {iom'a
                                                              judgmetrt to be efitefed without its cver beiflg
              Ridgeland appeared to be faoing

              heard.)

                                                                                                             that Sohool*ik
                                                       stili       year away from 6eginni*g to learu'i,u2016
                       34, As uoted, tnovatrts were
                                                               a

                                                                                                                        to ttse
                                                                             and             stonech'y laolced capacity
                 and
                       ,.subagenf   'wilson by luw lackecl agenoy authority'

                 thetn as agents'


                                                                                     on the publi" polioy                  expressed     in
                       35. As of NoVernber    30,[[ls,Stonerlry's fraud anrl assault

                                                      results in the           tiial coutt:
                 the Tax Cocle had hacl the following

                           a.Rrdgelandlradbeonclearlyirrrptoper.lyclenieditsriglrttodiscovery;




                                                                             16
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 25 of 206 PageID #:25




                      b, it hacl been forcetl to withchaw its 46i9.1 motiotts bcoause it
                                                                                         couldn't condttct
                      ai*ror.ry, ancl harl afirst-time extensiott to pelmit areply in support of its motion to
                      disntiss irnproperly denied as vveli;

                      c. no decision harl boon macle legarding thc clear law recluiring as a
                                                                                             mattet of rlue ptocess
                      that    o              hear eviclence as:opposedto signing a ttanscript ofevidence hearcl
                                  ,uccessor.jldge
                      ex    prirteby   a preclecossor     judge; and

                                                                                                                    and
                      cl.   nost inrl:or.tart, the pletentleis continueclto act "foL'l Stonedty witlroul authority,
                                                                                              perjury a1d foigery'
                      to claim beriefits fgonr ihe aocorrrpanying acls of false petsolatiolt,



                 E,   147Jrenthe December l,r2tl5             "Settlemenl'Agrecme[t" rvas enteletl ittto, ntovflnts
                                                    f.om discovering that Schcolnilr anrl Wilsorr were fhlse
                      rysl,c mol,s flran o year; arvuy
                      pretenders to autholity, anil sfoneihy itself a talse pretellder to capacify
                      to act through Schcolnik.


            .    36. Ridgeland knewnothing of the scope oflhefi'aud aricl crinrinal
                                                                                    conduct the pretenders


          were carryins o1 in order to co.rlclude the tlansactiofl. Tltus Ridgeland
                                                                                    didn't know that one of
                                                                                                                      ..


          the fr:nctiofls of the.settlemext agreement was to disregald any issue
                                                                                 of authorily via tire'false

                                                                                   be repeated in othu
          personation, peduly antl forgery whic.h had aheady occlrred, ancl corrkl

          Stonedry tlansaotions, as noecle          c1'




                                                                                    and apparently the
                 37. OnDecember 1, 2015, theRidgeland paities entered into whattheS

                                                                                      et al' iluly and
           corut,thoughtwas a"settlementAgteemenf'with Stoneclry. (Ex, 1S) Ridgeland,

                                                                                    their coryorate and
          prcperly executed the Agreement (under oath admidstered by Mr' Wilson) in

                                                                                              afterfalsely
          personal capacities. The Agreetnenl, however; was falsely signecl by Schcolnikirho,

                                                                                          of Stoiledry (which 1ie
           swe   a.ing in corut in the Februar y 9,2015 transcript that he was a urenrbor


!          was elioited by his attomey, antl retnainecl uncorre etecl), schcolnik
                                                                                  continued on oath on

                                                                                he was                 membet   of
           December 1,20751o ii'audrrlently misrcpresent in the agreernent that
                                                                                                   a


                                                                                    disclosing to the court
           Stonecly, Once agail, Stonedry committecl a fi'aud ontlte oourt, nowhere




                                                                       17
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 26 of 206 PageID #:26



                                                                                                 authority to
               that Stoledry was Uot rnembol'-managed but matnger-ntanaged, nor' flrat he lacked

               act as its agent'



                     38. Movarrts, as ofDecemb et 7,2015knew nothingof tlre faotthat Sclrcolnik had lied to the

              courtintheFebruary g,Z[Istranscript,northat]rewascontinuiugthesanielieirrtheproposed
                                                                   jn oonrt as follorrs, ancl oausccl at tltat time to
              settlement agreeineflt, which he signecl under oatlr

              bepleserrtod to the court,

                                                      "S&usdtY-IIQ (Exh'             16, P' 6)
                                                           Bv: Audres Schcolnik
                                                             'Titb,I4rruler"

                     39. By so signing, Sohoolnik fl'audulently tnisrepresentedthathe was a meruber of Stonedty

                       a6d that it was a membet'firauaged corrpany which, as a membet, he was autlrolized
                                                                                                          to
              ILG
ral
              bincl to the agrbenrelt. Declar.ing     ihatlie was   a member, nndel oath           il   coru! in court docurnents

              anct   in the settlernent agteement, corrld have hati no other pu{pose than to niisleacl the conlt anil

          . . , tlie Ri6golaud,pa-ties. ilwa.s in these r:;'rciunstances that Ridgeland agreed to -ru1fu!iq.u&9il

              &lengec to Stonedry's Petition for Tax         Deed                                                 '




                                                                                                (to rvhich
                     40, Og Decemher LrfiAlfl,pursuantto the terms of the settlement'agleement,

                                                                                        oourt, believing as did
              Stonedry was not-a par,ty becanse Schcolrfk acted without auihority), the

              Ri4gelaud that the settlenrent agreenrent bound the parties, entetedthrce orderc:



                     i,    "AGREED ORDER,, wfuichprovided, aarong other things, folRespondents' withdrawal
                           of all objections to entr1, of an order dire cting tlre Courrty Clelk to issue-a tax decd fol the
                           siibjectproper1y to Stonedly and for stay ofthe Order of Possession until April i, 2015;
                           (Ex' 7)

                     ii,   olcler Directing count/ clerk to issue Tax Deed or Other Relief (Ex. s);
                           (The deeil was subsequently issued to Stonedry')

                     iii. Agreed Order of ?ossession     stayed until   April   1,   201 5'   (Ex' 9)



                                                                        18
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 27 of 206 PageID #:27



                       rIL        Therevyere latel';rcts of li'aud, falsepemonation, folgoly anrl
                                  misrepl'esentatiorr cormmitted by the pretenelers and .(subagenh,r,


                ul1,   After the tax       deed arrd relatecl orders           welr ploQurod as relatgd above by fiaucl iriclncling

           fblsepersolation, Iorgery, perjury, and misrepresentation, tbcre followed repeatecl other                                          ancl

           sepamte misconduct irr the foun of acts which continue to this day to be done by the prctenclers

          . and "subagel:ts" rvithout authoritSr. l'hose aot.s continue alcl exterrd tlre earlier acts detailecl

           above, and are not rcpeated hele,



           WHEREFORE: Itor the leasolls stated rnovatrls request that the conrt (1) dcclare void for' laoic of
      :   authot'ity and capacity ancl vacats all aots and ordors lierein on behalf of Stonedry, LLC,
          irreluding,but not Iimited toflre tax deed juclgrirent ancl reiatecl aots and orders; (Q find that
          Stonedr'y, LlC'Schcolnilr and "subagents", cornrnitted ald continue to commit fiaucl and other
          tniscondttct onthe court and movants; and (3) order such other relief as the court fiucls proper..




                                                                                                           Respeaffi      ly.   slrbmitted,

                                                                                                    fly:
                                                                                                                Barbam Revhk

                                                                                                                        Ancl

                                                                                                   By,
                                                                                                               Rufus Cook, P;u se




           Law Offrce ofBarbara Revak, Suite i02
           AttornoyNo. 58121
          ?4 I 1 S. Stony Islanti    Ave
          Chicago, IL 60649
          Telephone No. Q13) 1 52A000
          Rufus Coo!, pro se
          741 1 S, Stony Islaud Avq Suite 600
          Chicago, [L60649
          Telephone No, ('1 7 3) 7 52:2A00



      Ilr.the.IYlnltcr,oi.thc,Applico tiorr,or,St0nedry.Aneudcrl,Ielltio,l.Urldct   Scc.Sl2,td0I.anrl,Conunon,Lary.etcllR,gb.l,20.Z0


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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 28 of 206 PageID #:28

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                    EXHIBIT
                     INDEX
       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 29 of 206 PageID #:29




                                                      EXffiTBITS

                X. April 712014-Assignmcnt of Certifiante No. 135 0000             933 from Gammadoek,     LLC
                    to Stonedry, LLC.



                2, Aprit 23r20X4*       5oTake   l{otiee"   froam Gammadock,   [,LC to Ridgeland, et al.



               3,   .Xulf,9 $fiL{*FefifionforTaxDeed.



               4,   ,tranuary 22?20L5    - Application for an Order    Direeting tho Coumty Clerk to Issue a
                    TaxDced.



               5,   X'ebruary 4,2015    -   Respondents' Appearancs"




__.1
               6,   F'ebmary 9, 2015 * Prove-up Report of Proeecdings before Judge Margarita T.
                    Kolyh Hoffman.
   I




               7.   February 24r20LS Notice of Motion for Tax Deed before Judge Iloffman.

                        i
                        t



               8. April1,2015 -Respondents'           Combined Motion to Dismiss under 512'619.L




               g.   May L4, 2015   -   R.espondents' Motion to Extend Due Date to Reply re2-619.1.
                    Motion.




   I            10. May 20,2015   Order Denying Motion to Extend Due Date re Motion to Dismiss
                                   -
   I                and Denying Request for Discovery.
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 30 of 206 PageID #:30




            11. June        2,2AL5- Respondonts, Motion withdrawing 2-6l9.L Motiou



            lZ. June l5e 2015 *. Momorandurrn of R.irlgelnnd, et sI. ",..regarding whether fl sueees$or
                judge may sign unsigned transcript of ex parte prove-up made before substltuted
                Judge"'



            13" Jurae 23,2015          *
                                    Stomedry 5'Meffironstmdram im Support of a $uceessor Judgc's ability
                   to sign am ordep eXireetimg Coulnt'y Ctrer'I< of [ssue Tax Deed when sn ex parto prove'
                   up lvas eomelueted bY Prior Judge."



                                                                                       a successor Judge
                          r 2015 - R eply of R.idgelared, et aI. , . regarding whether
                                                                n6.
            tr   4. .Xune   Zg
                   may sign unsigned?ranscript of ex parte prove-up made before substituted Judge."




            L5.,November 30, 2015              -   Ridgeland, et al's '(Citation of Additional Authority"'


                                                                                   9r{
            'L6. December L, 20L5
                                  -'6settlenrent Agreoment" signed                 ylf arares Schcolnik   as
                            LLC,  memb  er."
I
I                "Stonedry,



                                                                                          of the
            17. December         1,, -,,Agreed order" withdrawing objections to the entry
                                       20L5
                   order directing county clerk to issue tax deed and for other relief.




            IE. December 1, 2015 *',Order Directing county clerk to Issue Tax Deed and for
                Other Relief."




            tr9. December L, 20L5             - "Agreed    Order for Possession"



            20. December L, 20tr5             - Cover Sheet showing    ne-filing of February 9, 2015 Prove-up
                   Transcript before Judge Hoffman.
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 31 of 206 PageID #:31




               21.   filed Dec.2,2016 but undated 6'Stonedry, LLC's Answers to Plaintiffs
                     Intoryogntoriest, ln esso no. 2016 L fr05474 showing as answcr 3 that $*lreolnilr no* a
                   . mernber of Stoneclry, but verified by Schcolnih individually and as a member.




               22. Dee, Zr20L6 undatecX case mo. 2016X,005474 '(Response to Ftraintiffs Request              for
                     Froduetion of Doeuments" showing at:

                              p. S *              af-fidavif of S*heolmik th*t 6'"""I am omo of
                                         g(Defendanf?s
                              *he memtrrers of Stomedryr,3,Le", arxd verifieation ol-truth
                              under pemanties provided by lawr" bofh signed inrlividually
                              onlY,

                              p"   S   * item E eleelaring Stonedry           is rnanagcr'managed b5'
                              Garumadosk[,Le              am.d S.   Bronae,     E   Le,

                              p: Ll*TnlAmcndment to Stonedry tLC Operating
                              Agreement showing members ane Gammadock, LLC and                          S.
                              Bronze, LLC., not Schcolnik.




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          In.the.Matter.of.the.Application.of.stonedry,Petition.to.!acate.EXHIBITS.BR.gb.7.23,17
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 32 of 206 PageID #:32




              E,XHIBIT
                    INDE,X



                          E,X. 1
       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 33 of 206 PageID #:33


            S'IATE OF ]ILL INO I S
            STATE                                                 )
                                                                  )         ss         CERTIFICATE      NO          l_3s-000093         3
           COUN,TYOFCOOK                                          )


                                                                        CERTIFICATE OF              PURCHASE
                                      :. FOR GENERAL'TAXES TI^IO oR MORE YEARS DELINQUENT /
                                   i plnsuhur ro .sECTroNs zt-t4' AND 2:. -260 oF THE rLLrNors
                                                        PRoPERTY TAx conH

              I:,. DAVID D. ORR , County Clerk in and f or the County
       and .Sta.t9,. a.f oresaid, DO HEREBY CERTIFY THAT GAMMADOCK LLC
       did:,.. on,t.he day hereinaf ter set forth, pufchase at public auction
       at.the...cgllrthouse in Chicago, the property designated by the
       p.efnanen!,: real estate j-ndex number hereinafter set forth, sit.u:tted
       i4 :;Said' Cou.nty, said property being delinguent j.n the principal
       su.m a:tid, for'the   tax years hereinafter set forth together wj.th
       d:tatu'to.ry penaltles, interest and costs thereon, and paid as
       pur.chas.e .honey on said property tire sum hereinafter     set fo.rth,
       gqc:ti..:Fu.n being th.e highest bid for cash received aL the auct.ion
       of iqts:9h'Ii.rop'erty pursuant to Sec.tions 2l--L45 and 2L-260 of the
       I1]..iri'bis. :Property Iax Code.
       voLu$.E                             ..262                 PERMANENT INDEX NUMBER                        20-25-131-004-OO00
       .            -l'
                             .l
        TAX YEAR$,..D,ELTNQUENT 09*1r
        ToEAL E.BIilrcilPAL. A.I,{ouN.T DUE       , 207 r 50 6.37                                                       plus statutory
        p.enaIL,ieS., :interest. and costs thereon.
      . .D'ATE. .O.F S:AI"E O]._07 _I4 AMOUNT OF SUCsESSFUL B]D                                                                    2, O00.00

        .S      T   iITU:,OR               I   IIREASURER FEES                                                                          t9o.oo
       'S T.AT.UTOR Y'                         CLERK FEES                                                                                 3.0.00
                                                                                                             TOTAL                 2   t22O . OA
                     i:.            .'.:
                     i      ..:,
                           .'.:.

           i'
              .tnq..aSo:resaicl pui:chaser having complj-ed wiLh the prov isj.ons
       of '..law:a.p.FLicab:Ie Lo such bales so as to be entitled to a
       certifiicate. of purchase, on           .I{ARCH    A4 , 2OL4 , the Circuit.
       $or;rr!.oif   Cooic County   entered an  order confirming   the sale of the
       aforesald property.
                                     :.
             If the aforesaid property j-s not redeemed j-n th.e.manier and
       qitL.+n.the time provided by l-aw, saj-d pur.chas.er, his hei.rs or
       assigns sha1I be entit. led, upon applicati.on and compliance with
       Itrg I..1 l;inois  Property Tax Code, to receive a deed to.said
                       provided,  that.unless tne ho.1der o.f this.certificaL.e
       ii ropqrty.;
       bhalJ. take out said deed. and f il- e' the same "fbr record wj-thin one
       ye+f . af Ler the time f or redemption expir"=,:' th. ="ia c'ertif icate
       oE.:deedu and Lhe sale on whicn it.is          based)'sha11, fro.m and after
       the'eiipiration       of such' on.e
                                       t.
                                           year, be'.;L.bsoIutely nu11
                     :                                                       :
                                            WITI.IESs my hand i'na'tfre                         of.fici.al- s.eaL aL CHICAGo in saicl
:;                                         County this 19TH day. of                               MARCH , A.D" 2OL4.
n'

       "';;""Qr**
       counters                    i gne.cl:




                                                                                                     Mil ffi
t=



:-:




                                                                      E*HB****
                          County Tneasurer ancl                 Ex-officio       Col   lector                CoLrnty Clenl<   of   Cook County
                                                        n^^1,    n^'rht!,
                                                   ^C
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 34 of 206 PageID #:34

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       sTArFi.   or rL111{oIS   )
                                     ss
                                                                                       %
                                )
       COUNTYOTCOOK             )


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           In consideraLlon of the sum of TG.-,t\ -y'1UuDor'Ir4Rs,. r do'
       hereby seI1. assign, Ltrans.fer and set over to Etr"rrfi LIc,-               .,
       his heirs, exe cuLars, a.dministrabors      a[.d assigns,   the' within     ;

       CERIIFICAI'E OF PIIRCHASE" and all my right'        titf e and i.nterest in
       or to the r'eaI esbat.e therej-n  d,escribed',   to.  have and, to hold' the
       Same Lo himse.lf, Fais heirSr  .er(ecutorS,    adminiStl.atorsi  anil
       aSsigns, Lo his and   their  sole  use,  benefit      and behoof  forever"

                   Giyen under my hand and sear .n.i"      a R u-, or Af .\ , 9-o)ut
                   A. I).

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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 35 of 206 PageID #:35




              E,XHIBIT
               INDE,X



                         EX.2
           Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 36 of 206 PageID #:36




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                  rlounty ef Copl<
                  tSate Premluea $old JanuarY 7, eOJ4
                  Sertifieata No, 1 3$"0fl0098$
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                  Sald for Soneral Tnxee of 2CICICI-?-Ol1
                  $olcl fer SpeolmlAnaqe*mont of (Municlpality) *nrl
                  Speolal srisensmanf nrlruh*r * Nof Appllsable
                  Waqrent tde, -, Nai:Applliuahla lttst. Nr, * Noi Af:plisabls
                       ,             TF'IH EROPHBTJT_HA-S-SEHN"SAJ;PJPB"BS.I"IIUSUqN]::TSHS

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                  Fernrnn+nt lne{ex N's, fl0..?fi"IS{ "fift4'"(r$Ffi

                         . Thls nrtlso ls to adviqe you il'rat the ahove propertly lrap baen eolelfor clelinquent taxom
                  arrd that th+ porled s'f redernptlon'$r*m the eple vuili oxplre on July 7, *814.

                          Thlu notiea te nlqo ia ndvtse yo.u that a petitiorr wlll bp filed for e tax eleeEI whloh wlll
                  trunpfer tltla and thm right{o poosossiotr sf this proporty il rodemption [e not made on or trefors
                  July 7, S0.|4,

'l'                    . At th* dpte Bf tl'rle neilee thm   tatel smeunt whiah you must pay tn oreJer tCI rarJeclffi th$   .
                 *al+ovm Lrrap+@ te $481,'lgB"4$ Flus       a1{,q'ld all stalulqy nqqultl_ge, Irit*re*t and cset$,


      -l                                               Pfi E-Wr{T.reBgpry#"Lo.rS.FJy

                   .     Rcdpmption oan. be rnade at any time on or befors July 7; nO1 bV applyin.g to the
                                                                                                       ,,


                  Bounty e lerls of e ook e sunty, lllinois at the Gounty Court house in'Ghieagn, lllinois,

                        The above amount is subject to increase at six month intervals from the date of sale.
                  Check with the County Clerk as to the exact antount you owe before redeeming. Payrnent must
                  be made by certified check, cashier's check, money order, or in cash..

                                    FOR FUTHER INFORMATION CONTACTTHE COUNTY CLERK.

                                      Address: 118 North Clark Street, 4'th Floor, Chicago,           lL    60602
                                                     Telephone: (31 2) 603-5645

                                                            Gammadock, LLC
                                                            Purchaser or Assignee
                 Dated:          April23,2014
      -l
                 MailTo: Rufus Cook AttorneY
                           7411 S StonY lsland
                           Chicago,    lL   60649-3613
       I



                 # 13S-9008

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                                                    EXHIBffi            "--                                         YY,9
                                                                -r=*
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 37 of 206 PageID #:37




             E,XHIBIT
              INDEX


                         8,X.3
         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 38 of 206 PageID #:38




                                                                                            ct, date: Janlary za,2ol8/4u

              STATE OF ILLINOI$ )                                                                                      *if*p
                                      )ss
              couNTYoFcooK)
                                   IN THE CIREUIT COURT OF CEOK COUNTY, ILLINOIS
                                        GOUNTY PHPARTMENT, COUNTY DIVISION

              Iru                                 THE
                    rHE MATTER oF THE AppltsAloN oF                                            E I;i}'Tf) r.) {,} ;i. iI ? llf
                                                                                        l{l).i li.f*f),rhFi:,r -ti:!fi ,i-i li'
              OOUNT'/ TREA*qURER OF COOK COUNTY, ILLINOIS                               hf I; [ ,Sil] I ,1,;r'f]
              GENEI1AL TAXES FOR THE YEARS 200e-201 I                                    ",l:l ),:
                                                                                         r,{+)ci     illle.**,ri
              PETITIfiN 0F Stonedry,     Ltfi
              FORTAX     DEED                                                                  l
                                                                                               )
                                                  P HTITI   PJJ,T.9B-TM}EEP.

                      NOW 6OMES Stonedry, LLC, Petitioner, by MICHAEL J, WILSON & A$SOCIATES,
              F,0., altorneys .and saysl

               .       1,   On January 7,2O14,Garnmaclock, LLC purchaseclthe followlng desoribed real
                                                                                    '          t"l
              estate; peimanent ttldex ffo. 20-25-131"004-0000 also'known as:



              Property located   at: 2411 South Stony lslarrd Aveniie, Chicago, lllinois
-l            at the tax sale held on said date by the County Treasurer of Cook County lllinois, which sale
              was held in accordance with the jtldgment of fhis court duly entered in such case made and
              provided.

                       2.  That certir'icate of purchase No. 13S-0000933 was issued and delivered to
              Gammadock, LLC, which sold, assigned, and transferred said certificate to, Petiiioner, which
              now owns said certificate, A copy of said cerlificate is attached hereto as an exhibit.

                       3.     The said parcel of real estate has not been redeemed from said tax sale and the
                                                                                                            which
              time for redemption will expire on January 8,2015. All taxes and special assessme.nts
                                                                                         the date of said sale  and
              become due and pryrbt. on said parcel bf reat estate subsequent to
              prior to and including th, Ort* of fiiing this Petition wjf f !9 redeemed. Priorto the  entry of an.
              brOei Directing the Gounty Clerk to lisue a tax deed, all other taxes and special assessments
                                                                                                           date of
              falling due on Iaid parcel of real estate between the date of filing this Petition and the
              said order, if any,will be redeemed'

                       4.     All notices required by law to be given will be given priorto the entry.of an Order
                                                                                             proof will be made of
              Directing the lssuance of a Tax Deei on said pircel of real eltate and due
              the giving of such notice.
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       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 39 of 206 PageID #:39




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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 40 of 206 PageID #:40




I                5.       Upon compliance with all'the provisions of law relating thereto, Petitioner will be
         entitled to the entry of an Order Directing the County Clerk to lssue a Tax Deed conveying the
         said parcel of real estate to Petitioner unless redemption is made at the time and in the manner
         provided by law,

                        WHERHFORE, PETITIONER PRAY$ as follows:

                (s)       That the esurt may entcr an Order Diraoting tho Gounty SlErk to lssue a Tax
         Deed conveying the above deacribed parcel of real estate to Petitioner in the event said pareel
         of real estate is not redeerned within the timo and in the manner provided by law.

                {h)     That the couft rnay issue en Order tor Possession to    frurt   the Petltioner as grantee
         nf ssld tax deed ln poceesslon pf cald pare*l uf regl estate,

                (e)      That the eourt may enter suoh ordei's as may be neeessary or desirable to
         maintaln i?eiitioner as granteo of said tax deed in possession of said paroel of real cstate,




                                                         Stonedry, LLC
                                                         Petitioner




I
                                                          MichaelJ.
I


         MIGHAEL J. WILSON & ASSOCIATES, P.C.
         Michael J, Wilson - 27787
         Attorneys for Petitioner
         309 WestWashington Street, Suite 1200
         Chicago, lllinois 60606
         (312) 781-9510

         # 13S-9008
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 41 of 206 PageID #:41
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                                                          CERTIT.ICATE OF PURCHASE .:
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                   t\:                                                                                     and   Ex:-of   f.i   cio                       Couhty Clerk         dT
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                   ll-                                                                                     Cook Coun.ty                                                                                                       r'1,\
                   /u\t
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 42 of 206 PageID #:42

                                                                                                               '1;,      S),ffi
                                                                                               Ct, date: January        r, ffi/f-
I         STATE OF ILLINOIS )
                                           )SS
                                                                                                                      ?fitt! J|JL _g


          coUNTYoFCOOK)
                                                                                                                    "qm,?Idi
                                     IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                            COUNTY DEPARTMENT, COUNTY DIVISION

          IN THE MATTER OF THE APPTICATION OF THE
          OOUNTYTREA$URER CIF CCICIK OOUNTY, ILLINDI$
          SENERAT TAXES FOR THE YEARS 2OOS"2O{ 1
                                                                                          p gp[, si fiI iJ['t'trtq] r]'?.i5'+ i.l
                                                                                          rl} dl).. H ri"tl3 :'AF),/';t fJ]'r.'; fr{ iitr
          PETITI0N OF StonedrY, Lke                                                       .i          p1; ub {} u ,* ,:}
          Fon. raX DEED                                                                       Ir. },5
                                                                                          't.,ito gl'r*r*ri
                                                    PETITION FOR     TM    DEED

                  NOW COMES Stonedry, LLC, Petitioner, by MICHAEL J. WILSON & ASSOCIATES,
          P.C., attorneys and saYs;
                 '1
                      .  On Janua ry 7,2.014, Gammadock, LLC purchased the.following described
                          .   ..                                                               real
          estate: irermanerit lndex irlo. 20-25-131-004-0000 also known           as:     ,
                                                                                            '



                                       i    sEE ATTACHED FOR LEGAL DHSCRIPT'ON,j-

          Property located         at: 7411 South Stony lsland Avenue, Lll'ricago, lllir,ois
-t        at the tax sale held on said date by the county-Ireasurer of Cook County
                                                                                    lllinois, which sale
                                                                                        case made and
          was held in accordance with the jJdgment of this court duly entered in such
          provided.

                  Z. That cerlificate of purchase No. 135-0000933 was issued to,      and delivered to
                                                                                         Petitioner, which
          Gamrnadock, LLC, *fri.fr sold, assigned, and transferred said  certificate
          ffi ;;r :riJ."rtiii.ri;. A ;py o'r saii certificate is attached heieto    as an exhibit.

                                                                                       said tax sale and the
                  3. The said parcel of real estate has not been redeemed fromassessments            which
          time for redemption *ifi J*pir" on January 8,2015. Ail taxes and special
                                                                                                    sale and
          [*rtr. 'and
                    due and puyrOI" on said parcel of reat estate subsequent  to  the date of.said
                                                                     redeemed. Prior to the entry of an
          prior to      includingih. Obt. of fiiing ihis Petition will be
                                                                                                assessments
          brder Directing the [ounty Clerk to lisue a tax deed, all other taxes and special
                                                                               this Petition and the date of
          taiting due on iaid parcel of real estate between the date of filing
          said order, if ,apy, will be redeemed...
                                                                                                   of an Order
                  4,      All notices required by law to be given will be given prior to the entry
                                                                                          proof will be made of
          Directing the lssuance of a Tax Dee-d on said picel
                                                                 pf real eltate and due
          the giving of such notice.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 43 of 206 PageID #:43




             5.      'Upon compliance with'all the provisions of laW relating thereto, fietitioner will be
     entitled to the eniry of an Order Directing the County Clerk to Issue a Tax Deed conveying the
     said parcel of real estate to Petitioner unless redemption is made at the time a'lrsi in the manner
     provided by law.

                       WHEREFORE, PETITIONER PRAYS as follows:

             (a)      That the court may enter an Order Directing the County Clerk to [ssue a Tax
     Deed conveying the above described parcel of real estate to Petitioner in the emnt said parcel
     sf real estate is not redeemed vrrithin the time and in the manner,provided by la"rt,

            (b)     That the court may issue an Order for Possession to put the PetBioner as grantee
     of said tax deed in possession of said parcel of real estate.

            (c)       That the court may enter such orders as may be necessary or desirable to
     maintain iretitioner as grantee olsaid tax deed in possession of said parcel of real estate.




                                                      Stonedry, LLC
                                                      Petitioner



                                                                          , its attorney



     MICHAEL J; WILSON & ASSOCIATES, P.C,
     Michael J, Wilson - 27787
     Attorneys for Petitioner
     309 West Washington Street, Suite 1200
     Chicago, lllinois 60606
     (312) 781-e510

                   '
     # 13S-9008
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 44 of 206 PageID #:44


                                                                  .EERTITISAgE N0,            .13S-0000933
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                                              CERT.IF ICATE OF PURCHASE
                                                                  .YEARS
                                        NERAL TAXES ..TWO OR MORE        D'ELrNoUEtr, ..,
                                                            '
                                         O SECT]ONS 2I-L45 AND' 2L-260 OI TIIE ILLTNOTS
                                                .PROPERfY rAX
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 45 of 206 PageID #:45




              EXHIBIT
                    INDE,X



                         EX.4
             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 46 of 206 PageID #:46



         I




                                  .   , IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                          .    COUNTY DEPARTMENT, COUNTY DIVISION
                                                                                                                           :
                    IN THE MATTER OF APPLIEATION, ETE,                    )        0ourt Date:       January 28, 2015

                                                                                   OASE NO,          2014COTD002392
                   PETITI0III OF Stonedry, LLG
                   FOR TAX DEED




                            Nsw eomes Stonedry, LL6, (herelnafter referred to as "Petliioner"), by lVilchaelrJ. Wllson
                   its attornoy, and appliec for an Order Directing eounty Glerk ts lssue Tax frecd and for sther
                   relief. ln support thereof, Petitioner states ae followe:


                          1.      Date of Tax      Sale:     January 7,2014

                          fi,     Taxee   Purchased: AnnualTax SalE, Years             Furchased             N/A

                                                             Scavenger Tax Sale, Years    Purchased          2009-2011

                                                             Forfeiture Tax Sale, Years Purchased
                                                                                                        '    N/A
                                                      .
:-"1--
   ,t-
                                                             Sp'eciatAesessment   Solrl,             N/A
                                                                                       . (Murricilraiity, Warrantr lnstall.)


                          3.      Name of     Purchaser;           Gammadock,     LLC                        II                 ...,
                                                                                                                     r\5
                                                                                    follows:                      LLCF , il
                                  Qertificate of Purchase has been assigned as
                                                                                           '         Stonry[{V,
                                                                                                            Si E
                                                                                                               'S ':':.."
                          4.      Certificate of Pdrchase     Number:   13S-0000933 3i                            :: ;
                                                                                       Tl                             trr i-:..,
                                 A copy of the certificate is attached as Exhibit "A'. ;l                                 .... '.
                                                                                       ?,1                            =*
                                                                                                                      *:
                          5.     Permanent (Property) lndex Number: 20-25-131-004-0000$|':
                                                                                       ,=i;                           1r       :'""
                                                                                                                      LJ
                          o.      Property Located     at:         7411 South Stony lsland Avenue, Chii-qigo, lliinois

                          7.      Petition for Tax Deed filed    on:      July   9,2014
                                                                                                                           Zt'
                                 Amended Petition for Tax Deed filed      on:      N/A

                          B.     The original period of redemption expired       on:        July 7,2014.

                                 The period of redemption was extended. The period of redemption, as extended,

                                 'expired     on    January 8,2015

                                  Copies of all extensions of the period of redemption are attached heretd as

                                  Group Exhibit "B".
                 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 47 of 206 PageID #:47



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                              L        The name and address'of tlre party in whose riame the taxes were last assessed
            \
                                       as shown'.by the mosi recent tax'.collector's warrant books on the date the notice

            I
                                       r*quired by 35 ILC$ 200122-5 was Rufus Coot< Attorney,7411 S Stony lsland,

                                       Chieago,   lL 60649-3613. The Notlce required bysaid Section       of ihe Property

                                       T'ex Cedp was delivdredfa the    *ounty elerk fsr mailing pn April2B, 20{4I A

                                       copy of said Notice is attached hereto as Exhibit "C"

                             10.       The parties who are ownersr occupants and partiee interested in tha eulojeot

tl'                                    preparty are a$ follows;
jl  I

                                              Rutfus Coot< AttorneY; The Ridgeland Corporeitlon;    ei$ of Chicago; eook
ri
                                       & Revak; Rufus L. Cook; Barbara J. Revak;Occupant; Tha7411           Coip.;   Cook
Ii                                     County Clerk

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t,.

                                      A copy of the evidence of search of public recotds is attached hereto as Exhibit
        I




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            )



                              Name of Partv                         Address of Service             .   Manner and Date of Serv


                                                                   69 WestWashington                          Cbrporation
                            Cook County Clerk                       Chicago,   lL   60602                 . On July 14,2014

                                                                     Serve-City CIerk                         Corporation
                             City of Chicago                      121 Notlh LaSalle Street                 On July 14,2014
                                                                    Chicago, lL 60602
                                                                                                Not Served (called phone nu
                                                                                                listed-female refused name-
                                                                                                         building is vacant)
                                                                                                         On August 23;201411
                                                            7411 South StonY Island Avenue            Certified Mail (signed for
                          ,/nrrrr   Cook Attorney                 Chicago, lL 60649                          Barbara Revak)
                                                                                                     Delivered on August 29, 2l
                                                                                                   (per United States Postal Se
                                                                                                                Website)
                     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 48 of 206 PageID #:48
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                                  Name of Partv                          Address of Service



                                                                                                       I.lpt Seryed (called phone n
                                                                                                       Iisted-female refused nam6.
                                                                                                                building Ie vasant)
                                                                                                               0n Auguot 43,?.01411
                                                              7411 South Stony lsland Avenue                Certified Mail (signed for
                               &arbarrJ.     Revak                  Chicago, lL 60649
         l                                                                                                        Barbara'Revak)
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     I                                                                                                 Not Served (called'phone' n,
                                                                                                       listed-female refused name.
                                                                                                                building is vacant)
     .l\                                                                                                       On August 23,201411
     r-l                                                          7411 South Stony lsland                 Certified Mail (signed for
                                 1/   Occupant                   AvenueChicago, lL 60649                         Barbara Revak)
                                                                                                         Delivered on August 2'9, 2
                                                                                                       (per'United States Postal S
                                                                                                                    Website)

't:                                                                                                    Not ierved (caltecl phone nt
                                                                                                       listed-female refused name'
                                                                                                                building is vacant)
                                                                                                        '      On Augtrst 23,201411
                                                              7411 South Stony Island Avenue           Certified Mail (relu+n-ean*m
                               /rn"7411corp.
                                                                    Chicago, lL 60649                             Jrom-ee,ffiFfile)
                 i                                                                                       Delivered on August 29, 2
                 I
                                                                                                       (per United States PostalSr

         l'f
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                                                                                                                   Website)




                                  12.The Clerk's Notice required by 35 ItCS 200122-25 was placed with the Clerkof
                                                                                                                  the

                                      Circuit Court of Cook County   .   A copy of said notice is attached hereto as Exhibit
                                      (rtr
                                       r
 l1
                                 13. The publication Notice required by 35 ILCS 200-22-20 was published in the
 I
                                                                                                               Chicago
 I
             l



                                      Daily Law Bultetin, a newspaper in Cook County, lllinois on July 21,2014; July 22,
                                  '    2014; and July   2g,2014. A copy     of the Certificate of Publication is attached hereto

                                      as Exhibit "G".
                Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 49 of 206 PageID #:49
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                      STATEbr Llttrrots      1

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  li                  coUNTYoFCOOK )
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                                             NOTTCE EXTENDII,{G I}ERIOD OF REDEMPTION
   I
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                      VOLUME:        262

                      PERMANENT INDD( NUMBERT
                                                         "   20-25'131-004-0000'

                      YEARS   SOLD:      2009-2011           2013 Scavenger Tax Sale


  ii                  DATE OF   SALE:       JanuarY 7,'2014

                      CERTIFICATE OF SALE        NO.:        13S-OOOO933


                      EXTENDED REDEMPTION          DATE:      November 14,2014


                      To: COUNTY CLERK OF COOK COUNTY, ILLINOIS

                                                                                             .                                         i'

, ir                  MICHAEL J. WILSON states that:

                      1.     The undersigned is the attorneyfortt'ie owner and holder of the     -      :



                       -
            I

r 'l-
      :l:I                   Certificatg .:f Saie for the Tax Sale aborre nientionerl cet,ering-the abqv?
                             stated Votumei and Peirmanent lndex Numbei.

                      2. '   The under,signed further states that the owner'and holder of said
                             Certificate of Sale does hereby extend the'time of redemption to And including thd date
                             indicated above in accordanqe with the provisions of the Property Tax Code of 1993, a.s
                             amended.


  l!'

                                                                            & ASSOCIATES,
                                                     Attorneys for Purchaser/Assig nee
  t,'
        I
                                                     309 WestWashington, Suite 1200
  LI                                                 Chicago, tllinois 60606
                                                     312 - 781-9510

                      This notice was served uPon the
                      County Clerk of Cook CountY on

                              {',t:'       '(
                      -_--7-*7-
                     # 13S-9008

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                                                             EXHIBltr:J::                                        l"lAY 1       li   ?itt,r         l


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         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 50 of 206 PageID #:50
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,i



                                             eOg West    Washington Street




                                               Tnaetqeetche
     rared for:                                                                   Order   lD   14'6237
                                                                                             5t1312014.
                                             P'C'                            Effective Date:
     lr',rut J. Wilson & AssQciates'
                           Street
     ,g WuutWashington
     ["ugo, lL 60606
                                     0 0 0/ Ston e d ry'
                                                         LLC/13S-9008
           Re   :   20-25'1 Y -A0 4-O



         6ffi-rvpe:     Deed
                                           n,fi25889106'
             tsnoutiieni Ilo:
                                           Oook CountY Clerk
             Grantor:
                                           Sarah AYers
             Grantee:
                                           9/15i2005
             Date:
                                           9/15i2005

                                   Deed
           Deed   TYPe: Quit Claim
                                    0631022028
                Douument No:
                                    Sarah AYers
                Grantor:
                                            The Ridgeland CorPoration
                                            10/18/2005


                                     - -r., *1t?, i l,otll tit
                ;*::t.,u.,             i




            Litigation
                                              111712007
                     File Date:                                 shown)
                                              (case number not
                     Case No':
                                              W.F.T. Trust
                     Plaintiff:                                         et al
                                               UniteO Legal Foundation'
                     Defendant:
                                               Document
                      Lis Pendens:
                                                                                          EX{-ilBI-s -==--
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 51 of 206 PageID #:51




                                                                                      0rder   lD:     14-6237

                                                                                           Page 3   of4



                                                                                        20-25-131-004-0000

    Current Tax   Year:     2013

           EiELhsiaumert                           Amount: $44,652.35
                                                   Status:    Paid

           Second lnstallment:                     Amount; $0.00
                                                   Status:    Not Billed

       Taxes for the year 2012 are delinqtient in the amount of $96,388.19, subject to the 2012 annual tax sale.


    Previous Year's Taxes

           Year:            {993                  Forfeited
           Amount:          $4,702.78




    Previous Jear's Taxes

           Year:    .
                            {994                  Forfeited

           Amount:       _$4,558.91




    Previous Yeals Taxes

            Year:           1995                  Forfeited
I
I           Amount:         $4,622.22
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 52 of 206 PageID #:52



                                                                                                                      Order   lD:       14"8237

                                                                                                                            Page 4 of 4


 Previous Year's Taxes

     ' Year:        2013                                        OriginalTax Buyet Purbhase'
            Amount: $2,220.00                                   Sale   Type:  Scavenger
                                                                Date of Sale
                                                                             '1t7t2014

                                                                Furchaser: Gammadock, LLC
                                                                Saie   Status: Complete

Property Description:
 P.l.Nr:                                                                            CommonlY known as:
      20-25-131-004-0000                                                                     Chicago, IL
            tegal Description:
                            Please see attabhed documents for legal description.

Terms and Conditions:

 Thomson Abstract Company has prepared this search based upon its research of the public records. Search. re.quests processed by Thomson
 nOtiir.i Corpany'are madl on f'enif anO solely for the beneflt of the applicant of sald search request and shall not be resold or redistributed
 to ihird parties. '

 The Tract.lndex i;earch is baseil upor: searches cf the public recorcls. Recorded documents tvnich <]cr i-tat contaa a ieqai description or
                                                                                                                                             a
 p.irnun.ni inoox n.urnber, lncluding deeds or mortgages, are.not posted to the public records and will noi be disclosed by ihis search.
                                                                                                                                appear on
 h.equests based on a common strEet address will be reconciled with legal description and pe;manent index number as they
 recorded deeds  and  mortgages    only.

 THo[/isoN ABSTRAcT coMpANy iESERVEs rHE RtcHT To N<it
                                                       pnocrss A sEARoH ensio ot l lrs coMPLEXlrY.

 The Judgment and Miscellaneous search is based bn a search of public records.         ihe   spelling of   the.   names searched will be as furnished by
  ,ppfi.rnioirriOsearchorasdisclosedonaTractlndexSearchifrequested.                 lfaTractlndexSearchisrequestedinconjunctionviththe..
  Jirlgment and Miscellaneous search, only the name of the grantee(s)'contained in the last deed of conveyance will be searched if a specific
                                                                                                                                   of Judgment
  naml to be searched is not furnished. This search does not show Judgments unless a transcript, certified copy, or Memorandum
                                                                                                                                of the index in
  has been filed in the Recorder of Deeds office in the county that the seirch request has been made. No search has been made
  theDistrictOfficeofthelnternal RevenueService, Onlythosernattersfiledintheofficeinthecountythatthesearchrequesthasbeenmade
  will be disclosed.

                                                                                                                                  and compiled
  The Real Estaie Tax Search is based on a search of the county tax records or information obtained from the couniy tax records
              Abstract Company.   lnformation provided is based on the availability of said informaiion from the various county governments.
  by Thomson

                                                                                                                              Absiract Company
  This search is not a Title lnsurance policy, Guarantee, or Opinion of Title and should not be relied upon as such. Thomson
                                                                                                                       by searchers based on the
  does not analyze instruments for legal uufii"l"n"y. lnstruments are posied to the tract or name indices and reported
  characterization of the lnstrument by its preparer.

  All search products are uninsured and offer no liabillty coverage or errors and omissions coverage.

  searchfeesshall bepayablewithin30daysuponreceiptofthesearchproducts.                  searchrequestswill notbeprocessediffeesforprevious
  search products are unpaid and delinquent.

  U.S. Fair Credit Reporting Act statement:

                                                                                                                  to the record ownership of the
  This search is furnished by Thomson Abstract Company for the purposos. of providing lnformation relative
          property      wittroui ilg.iO to tt . credit woithiness of the p'articular fiarties who have owned or possessed   the land during the search
  sufject          anO
  perlod.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 53 of 206 PageID #:53
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                                                                                                I5 ,:/ b-                     \


                                                                                               i.    '   'r'I

                                                                                      & Revak; Rufus L'
      toi  Rurus Cook Attorney; The Ridgeland Corporation; City of .chicago; book
                                                                         persons in actual possession
      cot1o;tEuinriu J. n"ur[; b.crphn[Tr," 7411'.corp.;_occupants or
                                                                                           owners and
      ,f *rif estate hereinafteioescrined;'county clerl< of cook'county, lllinois; unknown
      parties interested in said real estate.

      TAX DEED NO.2Oi 4COTDOO2392                                          Filed    July   9,2014

                                                     TAKE    NorlcE
                            county of   ioo*
                            Date Premises Sold January 7,2014
                            Certificate No. 135-0000933
                            Sold for General Taxes of 2009-2011
                            Sold for Speiiat Assessrnent of (Muhicipality) and
                            Special assessment number (Not Appli.cable)
                            Warrant No. (Not Applicable) Inst' No, (Not Applicable)



      Property tocated    at
                           7411 South stony lsland Avenue, Chicago, lllinois
      Prbperty lndex No. 20-25'131'004-0000
                                                                                         sold for delinquent taxes
                This notice is to advise you that the above properiy has been
                                                                           on January 8;2915' ..
        and thaiiil; p;;fu ;flredemption from the sale will expire
                                                      to increase  ai o-month.ihtervals         from the date of .sale
                The amountlo r"Or"in is sLrbject
                                                            ai the tax  sale   or  his or  her   asslgne,e pay6 any
       and may'be fur.ther'iiicreaied if the ourchaser                                              fror'l subsequent
                                                                    to redeei'n    the  p;cpertv
        qunr.u,Ju"*rtty ac;ruit-J:"*.it:91. spe,cial,assessrnents
                                                                                         amoulit    you owei betbre'
        fodeitures or tax .;id. t6..r. with ihe county'clerk
                                                                    as to the    exact
        ledeeming.
         .                                                                               for a tax deed which will
                This notice is also to advise. you that a petition has been filed                                         ,


     ' transfer titte and tne righito porr.riion of tlris property if redemption is not'made on or before
        January.8, 2015.
                                                                                    County, in Courtroom 1704,
                This matter is setfor hearing in the Circuit Court of Cook
                                                                         lllinois,  60602     on January 28,2015 at
        Richard J. Daley C"rt"t, SO West Washington, Chicago,
        9:30 a.m.
                                                                                        will already have expired at
                You maY be present at this hearing but your right to redeem
      ' that time.
                                   TO         EM IMMED                                 TLO              PRO
            YOU ARE UR   v.|-_----


         Redemption can be     ;                                     Y,?ll2-0^15^byapptving
                                                                         in  Chicago,     lllinois'
                                                                                                        to the County

         CI"if oi Cook County, lllinois at the County Court Hou99
                                    For further information cqnt+ctthe Cpuntv Clerk
                           ROOresffireet,4th                         Floor, Chicago, IL 60602
                                          TelePhone: (31 2) 603-5645
                                                                   stonedry' LLC
       MICHAEL J. wrLSoN &          ASSoctATES
       MichaelJ. Wilson
       Attorneys at Law
       309 West Washington Street, Suite 1200
                                                                   Purchaser or Assignee
       Chicago, lllinois 60606
                                                                   Dated JulY 9, 2014
       312- 781-9510

                                                                      ,/

                                                                   - \i-
       #13S-9008
                                                        Ext-trgm
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 54 of 206 PageID #:54

                                              C     .TIFICATE OF PUBLICATION

                                                                                             Toi Rutus Cook Attorneyi The                                '
                   Case No. 20L4COTD002392                                                                                       Ridgeland
                                                                                             Corporaticjn; Clty of Chlcago; Cook & Revaki
                                                                                             Rufls L Cook: Barbara J' Revaki Occupanti
                   '.   2a.25-t31-004-0000
                                                                                             The 7411 CorO.; occupants qr persons ln
                                                                                             actual oossession ol teal estate hereinafter
                                                                                             described; County Clerk ot Cook CounV,
                                                                                             lllinoisr unknown @Jners              and
                                                                                                                                    parties
                                                                                             lnteresied ln sald real sstaie. TAX DEED NO'
           [,AW BUN,I,ETIIq PUtsX,ISHXNG CO.                                                 2014COTDOO23gzFiled July 9, 2014
                                                                                                              TAKE NOTICE
                                                                                             --
                                                                                             CounN of Cgok
                                                                                                       promlaet
                                                                                                  dfts           Sotd JanuEIy 7, 9014
      do.es hereby ee'rtify that.it,ie tho
                                           puhiislrer.of                                            certlflcgte No, 13S0000933
                                                                                                    Sold Ior Genelal Taxes ot 2009'2011
                                                                                                    sold    ' for    sPecial Assessment             of
                                                                                             (Munlcioalitv) and
       .
           CHIC,A.GO D.AIN.Y           I.AW    tsU]L]LET'XN                                   '
                                                                                                    spriitat
                                                                                                              -
                                                                                                                 assessment number (Not
                                                                                              Aoolicable)
                                                                                                  "wanani No' (Not                         lnst'   No'
                                            A SECU1AT                                                                       Applicable)
 thAt SAid   CIIICAGO DAILY LAW BULLETIN iS                                                   -
                                                                                              (Not AoDlicable)

 newsDaoer that has been published DAILY
                                                      in the City of                                 riis    pnoprRryHAs        BEEN soLD FoR

                                       of  Illinois' continuouslv   for                                         bettuQururtnxes
 Ail:Td;'drnty- o1 coort, sttte                                  of the                             Property located at:7411 South Stony
                                    first  date  of publication
 ,iot" in* on" ylar prior   to  the                                                           lsland Avenue, Chicago, lllinois
                                                                                                  ProDertv lndex No. 2o'25'131-004-0000
 ,.["r- "rrtrald,  ttrat it  is of  general    circulat'|l throughout
                                                                                                    nii     noti." is to adviseryou lhat           the
                                                                in "An
 ;."id6;ir;nJ dtui., thatitis u-'"wtpup"l as defined     as
                                                                                              above property has been sold fordelinquent
                                                                                              taxes and ihaithe pedod of redemption from
 il t" ;;;il ifr" f"* in relation         io-notices"'       amended'
                                                  & 515)' and that the
                                                                                              the sale will expire on January 8, 2015'

 iftinoi, Compiled Statutes (715 ILCS 511                                                         Tha amount lo redeem is subject to

 ;"tt".- ,ppri"a.a *u,     p'L['h"d       in   the  said CHICAGO
                                                         -
                                                                                              increase at 6-month lnteNals from the date
                                                                                              ofsale and may be furtherincreased ifthe
 iianv       ii*    nuLl.nrfi{    o   nJ:ul21,22,23,20L4                                      ourchaser at the tax sale or his or her
                                                                                              asslgnee pays any subsequently accrulng
                                                                                              hxe! or speiial assessments to redeem the
                                          cau.sed thiscertificate to be                       orooertv from subsequent lorfeitures or tax
 In witness thereof, the undersigned has                                                      lales, iheckwith the county Clerk as to ths
                               affixed at Chicago' Illinois'
 signed and its corporate seal                                                                    exact amount you owe before redeeming'
                                                                                                      lhls notice ls also to advlse you that a
                                                                                                  oetitlon has been flted for a tax deed which
                            JULY 23, Z0t1                                                         will transfer title and the dght to possessicn
                                                                                                  ot thls propel if rrdinptio[
                                                                                                                                   I i't
                                                                                                                                       riiade on
                                                                                                  {te'orF.Ja:'-r?ry 8. 2015. .        ' .
               L/I.IV E UIJ,ET,tr{ PI,Ef'ISH['{G CO'                                                  Ih's 'Ird{ter is set lor ',eat':g in the
                                                                                                  ckcuii Court ot Cook County, in Cou{room
                                                                                                  1704. Rlchard      J'    Daley Center,    50     West
                                                                                                  Washincton, Chlcago, lllinols, 60602 on
                                                                                                  Januarv 28, 2015 at 9!30 a'm.
                                                                                                     You may be present at thls hearing
                                                                                                                                        but
                                                                                             'your right to rideem will akeady have
                                                                                                  exohed    atthat llme.
                                                                                                          YOU ARE URGEO TO REDEEM
    By.                                                                                               IMMEOIATELY TO PREVENT LOSS OF
                                                                                                                 .    PROPERTY
                                                                                                      Redemotion can be made at any time on
                                                                                                  or before Jinuary 8, 2015 by applylng to
                                                                                                                                           the
                                                                                                  Countv Clerk of Cook County, lllinois at the
                                                                                                  Countv Couri House ln Chicago, Illinols'
                                                                                                      roi      further lnformation conlact the
                                                                                                  Countv CIerk
                                                                                                      Ad'dress: 118 North Clark Sheet, 4th
             rl lllulllullll Llllullll Llllull                                                     Floor, Chlcago, lL 60602
                                                                                                       TelePhone: (31 2) 603-5645
                                                                                                       Stonedry, LLC
                                                                                                       Purchaser or Assignee
                                                                                                      Dated July 9,   2014
                                                                                                   t6l747L
                                                                                                    Ju!21,22,23,2074




                                                                                                                               n.                   lv
                                                                          PAGE l" of   1
                                                                                                                     EXHIBIT---I                             -_
                                                      CASE#:    20   14COTD00 2392 LB#: 1617 47 7


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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 55 of 206 PageID #:55




              EXHIBIT
                    INDE,X



                          EX.5
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 56 of 206 PageID #:56



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                                           '   cotnlT'yorranl'nmmN4 CqUNTYDMSION.'

                                                                              2014 COTD 002392
        Stonedry, LLC                                               NTo"




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       .A}.ID   iVTY   O'WNAS                                                                                         '.t

        H tnitial   bor.rps6l of Rlioord
        E   Sirbstitute Cfrinsel - (Petitione$ .'   '   'r'
            'snbstitute
        H               Corursel " (Respondeirt)
                                                                    E other
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        If byAttoiney:                                             IfPro   Se:

        wum"; Bruce             L.99.K                             Name:'
                    741 1 S.'Stony lsland                          Address: 741
                                                                                    1 S.   !to!y |tlgl9'
t..     A.ddress:
t"
I                       ^o^;'Ch'iiago,
        City/State/ZiP Code:
                                               rL 6064e
                                                                           'ooirrn
                                                                                   nn,t^rGhicago
                                                                   City/State/Zip Code:             ,'i[ 60649                           :
                                                                                                                                         I



                                                                                 (773)752-2000                                           i



        releplrone:      V7 .3) 7 52 - 20AO                        !'elephone:

                       code Numbert
                                    39081' 581 21                  Pro   Se   Number:99500                                               ;

        .attorney                                                                                                                        i

                                                                                      cook-reva(@im eritech.n et                 't
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                                                                   Email adrlress   :
         Em ail acklresr   r
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 57 of 206 PageID #:57




                 E,XHIBIT
                        INDE,X

                             EX.6
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 58 of 206 PageID #:58


                   STATE OF        ILLINOIS )
                                                                           ffiIiiqfi'frri   fi$,*,$jfiu[=.
                                                             ) SS:
                   couNTY0FC00K                          )

                           IN   THE CIRCUIT COURT OF COOK COUNTY, ILLINO]S
                                  COUNTY DEPARTMENT                    -   COUNTY DIVIS]ON



                   IN    THE MATTER OF THE APPL]CATiON                            )

           .;-     OF THE COUNTRY TREASURER  AND                                  )

                 " .EX-oFFICIO C0UNTY CoLLECT0R 0F                                )

                    C00K COUNTY, ILLINOIS, FOR                                    ) No. 14 CoTD 2392
                   JUDGMENT AND ORDER                    OF SALE AGA]NST)
                   LANDS AND LOTS UPON WHICH                         ALL OR       )

                   A   PART OF THE GENERAL TAXES                        FOR       )

                   Tt^10   0R M0RE YEARS ARE DELINQUENT                           )

                   PURSUANT       TO THE PROPERTY TAX CODE,)
                                                                                  )

                   STONEDRY, !-LC,                                                )

                                  Pet'iti oner           .                        )



                                  REPORT    0F       PR0CEEDINGS             at the heari ng
                   of the above-entitled case, before the Honorable
                   MARGARITi\h.KULYS HOFFMAN, Judge of said Court,
                   on the fith-day of February, 2015, at the hour of
                   9   :30 o'cl ock    a. m.
                           PRESENT:

                                  MICHAEL      .,!   .       WILSON,
                   .              on behalf          of the Petitioner

                   Reported  By: Analisa [,1cDermott, CSR, RPR, CRR
                   Li cense No. : 084-003620




                                   l,lcCorkl e L'i ti gati on          Services, Inc,
                                    Chi cago , trl I i no'i s          (312) 263-0052
                                                                                                             E[ L?
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 59 of 206 PageID #:59

   1          MR. WILSON:      l'lichael Wilson on behalf of
   2    the Petitioner. Your Honor, I do have a witness
   3    present j n court who's previ ousl y been sworn, I
   4   would ask     that the record reflect that he is still
   5   considered under oath.
   6          THE C0URT: You      are     still     under oath,                 sir.
   7          THE WiTNESS: Yes.
   n
   o          MR. WILS0N: Thank       you.        Your Honor, this
   I   cause comes on to be heard upon the pet'ition of
 10    Stonedry, LLC, for tax deed regarding,, property
 11    known by Permanent Index No. 20-25-131-004-0000

 12    whi             at the 2013 Scavenger sal e on
             ch was sol d
 13    January 7th of 2014 f or the de'l i nquent 2009 through
 14    2011 gen'era1 real e.state taxes to Gammadock, LLC.

 15             Certificate No. 135-0000933 was issued to
 16    Gammadock LLC, as evidence of said sale, anO that

 17    certificate     was'   so'ld, assigned, and transferred to
 1B    Stonedry, LLC, on April  7th, 2014. i
 19             Your Honor, this morning we do not have
 20    the origina1 Certificate of Purchase in court' For
 21    purposes of today's prove-up, we would request that
 22    the copy of the Certificate of Purchase which is
 23    attached to our Petit-ion for Tax Deed be admitted
 24    i   nto evi dence as Peti t'ioner's          Exhi bi      t        No   . 1 and


                    McCorkle   Litigation   Se   rv'i ces   ,   Inc   .                       i
                    Chicago,   Illinois     (312) 263-0052
                                                                                         I
                                                                                         ,l
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 60 of 206 PageID #:60


             1 that w'e be given leave to present the''court with
             2 -the originai qnd a double-sjded photocopy at the
             3 time that we present all necessary supplemental
             4 documentation in this case'
             5       THE COURT: Al I ri ght . That ' s gl^anted '

             6       }4R. WILSON: Thank you' Your Honor, to

             7 the best of our knowledge, there are no minors,
             B incompetents, or decedents' estateS involved in
             I the subject ProPertY.
            10             The period of redemption was extended on
                                 ,0n
            11 two occasions.         May 15th of 2014, the per.iod of

            12 redemption was extended to November 14th of 2014,
            13 arifl:on July 9th of 2014, the period of r eciemption
            14 was extended to January Bth of 2015 whi ch was the
            15 ultimate expiration of the period of redemption'
            16             At thjs time I do present the original
            17 not.i ces extendi ng the period of redempt'ion to
            18 the court and ask for leave to withdraw same and
            19 substitute the copies which are attached to the
            20 apPl i cati on as Exhi b'it B '
-l          21       THE C0URT: That's granted '

            22       t'lR. WILSON: Thank you' Subsequent to

            23 January Bth of 2015, we did check the 2013
            24 Scavenger j udgment and sal e records. and determi ned
                                                                                e
                                                                                J




                              McCorkie   Litigation Servi ces, 1nc.
                               Chi cago , Il I i noi s (312) 263-0052
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 61 of 206 PageID #:61

   1    there had been no redemption from the tax sale.
   2                       to Sect'ion 22'5 of the Property
                        Pursuant
        Tax Code, notj ce was odged wi th the Cook County
                              -l
   3

   4    Clerk's Office on April 23rd of 2014, I present
   5   the originai 22-5 take notice bearing the County
   6   Clerk's green stamp to the Court and ask for ieave
   7   to wjthdraw same and substitute the copy which is
   B   attached to'the appl ication as Exh'ibit                                                     C,

  I         THE COURT:             That's granted.
 10         I,lR. WILS0N: Thank                     you.       Your Honor, rat this'
 11    time    I   would       call      my witness

 12                                    ANDRES SCHCOLNIK,

 13    cal I ed as a wi tness on behal                      f of the                            Peti        ti   oner

 14    herei   n   ,   havi ng 'f i    r''s   t   beerr clul   y ,'iworn                        on oathi wils
 15    exami   ned and testi             fi ed as fol I ows:
 16                                    DIRECT EXAl,iINATION

 17    BY MR. WILSON:
                                                                               I                     rtil


 1B         0.  Sir, could you please state your. fu1'l name
 19    and address for the record?
 20        A. Andres Schcolnik. I live at 2035 West
       Giddings Street in Chicago.
                                                                                                                        I
 21

 22        0. What i s your af f i I iati on wi th the
 23    Petitioner, Stonedry,                       LLC?

 24       A. I'm a member.


                                                               - Iri.,i   ,. L i.jr'..".,   ?   r
                                                                                                                                I



                         McCorkle      Ljtigation Services, Inc.                                                            ;l
                         Chi   cago,   I1 I i noi    s    (312) 263-0052                                                    I
                                                                                                                            i

                                                                                                                            t,
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 62 of 206 PageID #:62


                 1       Q, And are you familiar with the property
             2       which is the subject of this proceed'ing?
             3           A. I am.
             4           0. D-id you inspect that property during the
             5       notice-serv'ing period whjch extended from July 9th
             6       of 2014 through and including October Bth of 2014?
             7           A, I did.
             B           0. And do you remember the date that you
             I           A. The 24th of July 2014 is when I 'inspected
            10       it,
            11

            12       of a Sidwell     map and measuring wheel?

            13

            14            0. And.is the subject                property located
            15       at   7411 South Stony       Island Avenue in          Chic?$Q,

            16       Illinois?
            17            A, It is.
            1B            A. At the time of yourinspection,                     was there

            19       any improvement located on the subject property?
 t
 t,

            20            A. There i s.
-l
 l          21            A. What tYPe of imProvement?
            22            A. This is a mid-rise stone and brick
            23       bu-i1d'ing , probabl y seven stories hi gh . It 's hard

            24       to tel I because the si ze of the stori es i s not the


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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 63 of 206 PageID #:63

   1    typica1 height, but          it's   probably seven stories'
   2                 It   occupi es   the   compi   ete parcel from
   3    boundary     to boundary. It         has two doors      in the
   4    front.      There are a      total      I   coul   d see a total
   5    of three signs on the property. There's one posted
   6    on the southern wal I of the property that reads
                                                                                t


   7    managed by 7411 Corp. at the address of 7411 South

   B    Stony Isl and, chi cago 60649 wi th a tel ephone number
   e    of   (773) 7s2-2000
                                                                                t-
  10                There are signs Posted           in either
  11    in      of the two doors. One advertises loft
             both
  12    office space for rent, same phone number' same
  13    address, and then there's a smaller sign                 on

  14    the otlrer door 'that says, ft-'i' access, qal'l - -               ,.

  15    ahd it says that number. I could go on with a'
  6 descri pti on.
  1


 17      THE COURT: So i s i t a commerci al bui I d-i ng or

  B mi xed use?
  1


 19      THE WITNESS: The ground floor is an offjce.

 20 From a previous visit, I believe it's a law
 21 office. And the top floor, from my understanding
 22 f rom ta'lki ng to a ne'ighbor, i s a warehouse,
 23      THE C0URT: And in between?

 24      THE WITNESS: No, nothing in between, So first




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 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 64 of 206 PageID #:64


             1    floor, office,         and then    all   warehouse. I have not
             2    been inside.
             .J   BY t"lR, WILSON:

             4           0,       Were you able    to determine whether it          was

             5    occup'ied?

             6           A,       Yes because the couple       of times that I
             7    rang the        bell, I    saw people coming     in' I     actually
             6
             o    tal ked to what seemed to be a secretary, a                woman,

             I    Afri can Ameri can i n her        40s.

            10           A.       Did you inquire with her as         to   occupants

            11    or any information regarding the subject property?
            12    ' A. In one of my visits, somebody d'id give me
            13    a business card that saicl law firm. I do remember
            14    that   .    Sc 'i+. was cl car-ly occupi    ed      at I east a
            15    portion of it.on the ground floor
            16           0.    did you speak to any neighbors or
                                  And                                               have

            17    any other information regarding the property?
            18        A. I spoke to the what seemed to be the
            19    owner of the     or the manager of the property to
            20    the south s'ide not immediately adjacent because
  I
            21    a vacant I of separates them and the vacant I ot
--j
            22    seems      to     of the property i n questi on '
                                  be part
            23             But I tal ked to the manager or the owner
            24    of the mechani c shop. It's a l,li das, I be1 i eve,


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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 65 of 206 PageID #:65

   1    shop let me look at my notes Ves, Midas
   2    Auto. I spoke with Bob R'ich; manager of the
   3    I'lidas Auto Service, and he d'id ment'ion the            name

   A
   +    of a Rufus Cook who owned that property
   5             He said that the 'inside of the building

   6    has elevators to lift semi-trucks to the higher
   7    floors. That,s all that he said, I did not verify
   o
   o    or contest anY of what he sa'id.
   I         0.    Do you have any           other information from
  10    your inspection report or from your trips to the
  11    subject property that you would like to share w'ith
  12    the Court?
  13         A. In the back, there are two large doors'
  14    meta'l doo'r's, the ones that open roll -up doot-s,
  15    I bel i eve they're cal I ed ' They've got to be at                    t_

        least 11 feet talll , as if heavy equ'ipment. 9r large
                                                                               I

  16                                                                           t




  17    equi pment went out there. There's two of those i n

  1B    the back on the a1 'l ey s j de. That ' s real'ly al j the
  19    comments that I have.

  20         0. And one other question that I have for
  21    you. When you say that you rang the bel I , was
  22    that did you call the number that was posted
  23    for access; 'is that what you meant by ringing the
  24    bell, or is there an actual bell there to ring?


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                      Chi cago ,   Il I i no'i s (312) 263-0052
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 66 of 206 PageID #:66


             1         A.      I did both. I either rang the bell
                               No,
             2   .or knocked on the door I can't remember but
             3    I did communicate with somebody. And I also called
             4    that   number and did not get a response'
             5        t4R. I^IILS0N: Your Honor, I do not have any

             6    further questi ons for my wi tness at thi s ti me '
             7        THE C0URT: Thank You'
             o
             o        MR. WILS0N: Your Hohor,               attached        to   the

             9   app-lication as Exhibit D is a              tract    searc.h report

           10    from Thompson Abstract               Company whi   ch i ndi cates
           11    that the owner of the property is The Ridgeland
           12    corporation. That is the only other matter that
           13    'is cn here that                                       ,'       ,




           14         THE     C0URI:      Who    is   Rufus Cook;    the reg'istored
            15   agent?

            16        IulR,   WILSON: Rufus Cook i          s       I'l I    get

            17    into Rufus Cook in a second. There was a
            1B    some 1 i ti gat-i on that wFT Trust versus uni t ed

            19    Lega'l Foundatjon, et ol ., which the tract'search
            20    ind'icates. The case            number was    not shown'
            21                 I   was abl e  to fi nd that through my own
-{
            22    search through         the c'l erk of the court and that case
            zo    was dismissed so         it's not you know, there's
            24    nothing re:levant        in regard to that. And then there


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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 67 of 206 PageID #:67

   1 was - i the c'ity of Ch'icago has an admini strati ve
   2 j udgment agai nst the subj ect property
   3           Rufus Cook is the      Rufus Cook,

   4 attorney, is the tax assessee' He's also the
   5 registered agent and president and secretary of
   6 The Ridgeland Corporation. [lr. Cook is a -- -or
   7 was an Illinois licensed attorney, He lost hjs

  I year due to djscipline through the ARDC.
 10               I have litigated tax deed cases wjth
 11 Mr. Cook in the past. I know him rather we'I1,
 12 and I have a friendly relationshjp with him. I
 13 called him in regard to this matter and another
 14 , .matt.Er- when \Iie wqre dcing rji'ligence anrj I spok-e to
 15              , you know, asked f or addresses , whi ch he
       hi m and 'I

 16    woul dn't gi ve me.: You know, he woul dn't conf i rm

 17    where he was I ocated.
 18                  And    I   asked him what he was go-ing       to   do

 19    in regard to these matters, and he sajd he didn't
 20    know what he was going 'to do. His 1aw partner

 21    is     and I have been tol d, though I don't know
 22    this personal'ly is his wife, that she is         his
 23    wife is Barbara Revak, but she is his partner
 24    or was . I don't thi nk they coul d be partners any

                                                                             10


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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 68 of 206 PageID #:68




                2                 She     is     an lllinois licensed                  attorney' I
                3    looked  thjs morning. she is still license-active,
                4    but there is a case pending with her at the ARDC.
                5    I don 't know what i t 's about . I di dn't have an
                6    opportunjty to             inquire. But there is                  an active
                7    case.

                B                When we         were doing our diligence,                   The

                I    Ri dgel   and Corporati on was                 not i n good standi         ng.

               10    That doesn't mean .it ' s di ssol ved .                      It   j ust, means

               11    that they haven't             pai   d and they haven't              been

               12    involuntarjiy dissolved yet,                          And   they're active
                     so they must have pai d thei r                       fees          '
               13                                                                      _ ' _.
               14         THE   C0tlRl': Arrrl iie sti              I   I is the regi stered
               15    agent?

               16         IvlR. WILSON: He            still               actually I     have    a


               17    printout from this morning from the secretary of
               18    State's of f i ce. He's sti I I the reg'istered agent at
               1g    7330 l,r/est   Ri dgel     and. He's sti I I the pres'ident                      and

               20    secretary at the same address.
    I
               21                The      reason            because theY were not
    I

               22'   jn go.od standing,            we also attempted service on

               23    The Ridgeland corporation                      in    care   of the Illinois
I              24    Secretary of         state, That's the reason we did that
                                                                                                            11



                                    l,{cCorki   e Liti   gat'i on   Services, Inc.
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 69 of 206 PageID #:69

   1    at that ti       me.

   2             In regard to occupants of the subject
        property, knowing that Cook & Revak was the
   3

   4    partnersh'ip that they had before, we attempted
                                                                                          I
   5    service on them, I attempted service on Rufus L'
   6    Cook, service on Barbara                J. Revak, the generic
   7    occupant, and The 7411 CorP'
   B                 0bviouslY we weren't able                 to get any
   o    other i nformati on regardi ng potenti a1 occupants                      .




  10    Iulr. Schcol ni     k test'if i ed i n regard to that               as

  11    to what efforts he made in order to determine the
  12    o.ccupants   .



  13                 The --, as a result   of the d'iligence
  14    th j.s case ,. the 'i nspecti on of the property ' and the

  15    tract search, notices were lodged with the sheriff
  16    of cook county 'for service upon the part'ies that
  17    I've -indi cated to the court . A copy of that not'ice
  1B    is attached to the application as Exhibit E'
  19               The origina'i Sheriff returns are part
  20    of the court file. The results of those Sheriff
  21    returns are set forth in Paragraph 11 of the
  22    applicat-ion and indicate               that        does your Honor

  23    have   the court f-ile          Present?
  24         THE COURT:           I   do.

                                                                                     12


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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 70 of 206 PageID #:70


             1        MR. WILS0N:           I'm sorry,    Can    I see that? I    may

            2    want to read some certi fi ed mai I i nto the record.
            J             The Cook County Clerk's 0ffice was served
            4    on July 14th of 2014. The city of Chicago was
            5    served on      July 14th of 2014.         Rufus cook, attorney,

            6    The Ridgeland Corporation, Cook & Revak, Rufus L'
            7    Cook, Barbara        J.   Revak, the generic occupant, and
            o
            (J   The7411Corp.--allatT4llSouthStonyIsland
            I
           10    not served, cal I ed phone number I i sted              tr'm

           11    assuming that's the same number that I\1r. Schcolni.k
           12    referred to -: female refused name, said bu-iiding
           1.3   is vacant, and certified mail was sent on August
           14    23rd   of    201^.

           15         THE COURT: And          it   was signed    for by Barbara
           16    Revak,

           17         |'4R.   WILSON:      Right.   And   I'll   read,those into

           1B    the record. service on The Ridge'land corporation
           19    at 7330 South R'idgeland, the sheriff ind'icated not
           20    served, gate I ocked, dash, vacant, and certi fj ed
           21    ma'il was sent.
--l
           22                  The Ri dge'land Corporat'ion was served
            23    in care of the Secretary of State's office on
            24    July 14th of 2014, I be]ieve that's a]l of those.
                                                                                        13


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        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 71 of 206 PageID #:71

          1              In regard to the certif-ied mail , The
          2    R.idgeland corporat'ion at 7411 South stony Island
                           for by Barbara Revak' It's not dated'
          J

          4
               was s'igned
               Barbara Revak at 7411 South Stony Island
                                                                                        i
          5    Ms . Revak si gned that certi f i ed mai I '
                                                            I don't
          b    th-ink there's dates on there. The generic occupant
          7    at 7411 South Stony Island, lnls' Revak signed for'
                                 .   Revak s-igned another certi f i ed mai I
                          -[Ys
          B


          I    return recei pt card for hersel f at             7411   '       She

         10    signed one        at   7330 south Ridgeland and another'

         11    for the generic occupant at 7411 South Stony
         12    Isl and. she s-igned a certi f j ed mai I return rece'ipt
         13    card addressed to Revak & Cook at 7411 South
         14    Stony isl and         Avenue                                '



         15               She signedfor Rufus L' uook at 74'11
         16     South Stony Island. She signed for The 7411 Corp'
          17    at 7411 South StonY Isl and
          1B        THE COURT: Is that card
                                             'in the court file?
I

          19    Because your appl i cati on says i        t's   mi   ss'ing f rom the
t         20    Court's fi1e, but    'it is there'
          21         lulR. V/ILSON: It is now here, Yes' It                    says
    t

          22    TheR.idgelandCorp.thatshesignedforBarbara
          23    Revak signed for that at 7411 South stony Island.

          24    Rufus cook, 7411 South stony Island, Barbara Revak
t
    i

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I
l
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 72 of 206 PageID #:72
                                                           means                     0ctober                             3:16 4:4              3217 4:1
     i ncompetents                  LANDS
                                                                                                                                         refe r r ed
      3:8                            1:9                   11:10                     5:6                               12:23 16:15
                                                           meant                     offi    ce                      ' 17:4,7             13i12
     Ind ex                         1 arge
      2:11                               8:13,16           8: 23                     4:4 6:12,19,21                 pres i dent          refl ect
                                    'l aw                  measuri ng                 7:1 11:18                      10:5 11:19           2:4
     I ndi cate                                                                                                                          refused
                                                           5:12                           13:3,23                   p revi ous
         12122                           6120 7i13
                                           10:20 16:13          chani      o           15:17                        6    :20              13i12
     i ndi cated                                           me
                                                                                                                                         regard
                                                           7:24                      0kay                           previ ousl y
      12217 13t19                   I eave
                                                                                                                                         I :24 10: 13 , 19
        15:23                            3:1,18 4:6        menb e     r              17    i12                      2t3
                                           16t16            4t24                     ones                           pri ntout               12:2,10 14:1
     i ndi cates                                   17 t4
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         9:10,20 13:9
     i nformatl on
                                    Leg a1
                                     9:19
                                                           menti on
                                                           8:3
                                                                                     8:14
                                                                                     open                           probabl y            2:10 7:11 ,17                F
      7:11 ,17 8:9                  I i cense              metal                     8:14                           5:23 6:1                   12ts
                                     1:24 10:8             8:14                      oppo    rtuni ty               proceedi ng          regi stered
        12:9                                                                                                                             9:14 10:5
     i nqui re                      Iicense-active         t'li ohae'l               '11:6                          5i2
             :'l.0   11:.6           11:3                  1:20 2t1 18t15            order                          proceedi ngs               11 i1 4 ,18
         7
     inside                         I i censed             mi d-     ri   se         1:8    12:11                   1t14 17:8,16         rel at i onshi          P
                                                            5122'                         16i21 17tB                     18;16           1o:12
         7:2       B:5                   1O:7 1122
                                                                                                                    proof                re l evant
     i nspect                       lift                   Ili das                   original                                             o. ra
         5't 4                        B:6                  7i24 8t1,3                2:2O 3:2,16                    17:5
     j nspected                     'l
                                       i sted              mi   nors                      4:5     12:19             p   ro.p   er        remember
      5:g                              13:10                                              16:'l ,15                 17:8                  5:8 7:13 g:2
     i nspecti on                   1 i t'i gated          mi ssi ng                      17 i10                                         rent
      5:18 8:10                        10:10               14 t1s                    owned                                               6:12
             12114                  1     i ti gati on     mi   xed                  Bi4                                                 report
     i nvol untari I y                   9:'18             6: 18                     owner                                               1:14 8:10 9:9
                                                                                                                                               '18:16
         11212                      live                   morn l ng                 7:19,23 9:11
                                                                                                                                         Reported
     i nvo'l ved                     4    i20              2:19 11:3,17              owners
                                    LLC                                               15122                                              1     i23
         3:B
     Is'l and                            1;11 2:10,14                                                                                    reporter
                                                                                                                                         ',l8:3
         5:15 6:8 13:8                     2:16,18 4:23    name                                      P
                                                                                                                                         request
             14':2,4,7,12           I ocate                4:18 8:3 13:12            pat d
                                     5:1'l                                                                                               2:21
             14:14,16,17                                   necessary                 11 :11 , 13
             14123,24               I ocated                                                                                             requesti ng
                                                           3:3                       Paragraph                                            17 :4
             15:3,7,7'8,9            5|14,19 10:17         nei ghbor                 12:21
                                    'l                                                                                                   resp       0n se
        15:10 ,11 ,12                    ocked             6122                      paro e1                                              9:4
     i ssue                              13:20             nei ghbors                6:2                                                 resul       t
      16i22 17 i9                   1    odged             7 :16                     part                                                 12:13
     i ssued                         4:3'12:15             Notary                    1tg 7i22 12i19                                      re su'l     t   s
         2t15                              15120           18111 ,24                      16 :3                                           12:20
                                    'l   oft               notes                     phrti      es
                                     6:11                                                                                                return
                      J             'l
                                                            8:1                      12:16                                                ',!3:9 14:9,12
                                      ongor                not l ce                  partner
     J                                                                                                                                         16:6
                                         11:1               413,5 12.'17             10:20,23
         1':20 12i6 13i7            I ook                                                                                                return          s
           18:{5                                               15124 16i1,4          pa   rt ners                                         12119,21
                                     8:1
     .Jarruary '-                                          ,ioi.i ce- serv'i ng      10 ::24
                                                                                                                                    a-   R-rvi;k-
                                    I olked                5:5                       partnershi              p
         2i13 3i14,23                                                                                               questi on             10:23          12:11   ,6
     Judge                                                 noti ces                   12i4                                                     13:6,i,10
                                    I ost                  3:17 12:15                pend i ng                      7    :22 8:2O
      1 :16                                                                                                                                    14:3 ,4,5,7
     j udgment                           1017                   '15 : 20             11    :4                       questi ons                             '8
                                    lot                                                                             9:6                        14i13,2s,24
         1;8 3:24            1O:2                          November                  peopl e
                                     7 i21 ,21
                                                                                                                                               15:4,7,8,13
     j   ud'i ci     a1                                    3i12                      7i7                                                 Ri ch
                                    LOTS                   number                    peri od                                        R.
         16:4                                                                                                                             8:2
               y                         1:9               6:8,12,15 8i22            3: 10,1         1 ,   13, 15
     Ju1                                                                                                            rang                 R'i   dgel and
         3:13 5:5,9                                          9:4,20 13:10                 3:17 5:5                  7i7 8i21 9:1          9:11 10:6 11:9
             13i 4,5,24                                         13:1'l               Permanant                      read                       11    t19,23
             15:14 16:13            mai     l                                        2:11                               13:2,17 16:7           13:6,18,19
                                    13 i2 ,13 ,21                         0          personal'l y                        18:16                 13:22 14:2
                      K                    1411,5,8,12     0
                                                                                     10i22                          readi ng                   14    i10,22
                                       16: 3                                         peti ti      on                                           '15;9,15
     I(                                                    1:3,3          1812,2     u.o        aa
                                                                                                                     15:2
                                    ma'i f i ng                 18:14,14                                            reads                ri ght
         1;3 '18:2,14                    16i2                                        Peti    ti   oner
     knocked                                               o'cl ock                                                 6:6                   3:5 13i17 15i2
      o,,                           mai'l i ngs            1:18
                                                                                     1:12,21 2:2                    real                 ri ng
                                         15:6                                             4113,23                    2i14                      i24
     know                                                  oath                           ',l8 : 15
                                                                                                                                          8
         9:23 10:11,15              managed                2:5,6 4:14                        ti oner's
                                                                                                                    real 1 y             ri nging
                                         6i7                                         Peti                            8:18                 I    :23
             10:16,20,21                                        18:3
                                    manager                Obvi ousl y
                                                                                     2:24 16:8,24                   reason               ro1    1    -up
             11 15                                                                   phone
     knowi ng
                                     7i19,23 8i2           12i8                                                         11i21 ,24         8:14
                                    map                    occasi ons
                                                                                     6:12 13:10                     recei pt             RPR
         12:3                                                                        photocopY
     knowl edge
                                         5i12              3:   11                                                      14:9,12 16:6      1    t23
         a.a                        HARGARITA              occupant
                                                                                     3:2 17:10                      recol I ection       Rufu s
                                         1:16                                        p1   ease                          18:17             8:4 g:14,16,17
     known                                                 12i7 13:7 14i6            4: 18
         2t11                       matter                      14;11 15:'10                                        record                     10:3,3 12:5
                                         1:6 9:12 10:13                              port'i on                      2;4 4:19 13:2
     KULYS                                                 occupants                                                                           13:5,6 14;15
      1:'l 6                               10t14 17i12     7:10 12i2,9,12            7: 15                                13:18 1512           14:24 15:3
                                    matters                                          posted                              16:7
                                                                15122                                                                          15:10,11
                                    10:19                  occupi ed
                                                                                     6:5,10 8:22                    records
                                    HcDermott                                        potenti          a1
                                                                                                                    3i24
                                                           7 tS,14                                                                                           J
     L                              1:23 18:3                                        12:9                           redempti on
                                                           occupi es                                                                     *1"
         12:5 13:6                  mean                   6:2
                                                                                     p   res ent                     3:10,12,1 3,15
         . 14:15          15:10          11:'10                                      1:19 2:3 3:1,3                                       1:8 2:12,16




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T
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 73 of 206 PageID #:73

                 3:24 4:1                                  8:16                              veri fy                              I
           sati sfi        ed                             tax                                 8;7                          8th
            17    i3,6                                     1:10 2t10,23                      versus                        3:14,23 5:6
           saw                                        '       4:1,3          10:4            9:18
           7:7                                                '10:10 15:20                   visit                                o
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                                               McCorkle Litigat'ion Servi ces, Inc.
                                               Chi cago, Il I i noi s (312) 263-0052
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 74 of 206 PageID #:74
                     J

              .i   .,r



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                                        IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                   COUNTY DEPARTMENT, COUNTY DIVISION
-l         IN THE MATTER OF APPLICATION, ETC.                                    )
                                                                                 )
                                                                                 )              CASE     NO.    2014COTD002392
 I
           PETITION OF Stonedry, LLC                                             )
           FOR TAX DEED                                                          )


                                                                  hIOTICE OF MOTIOhI

           To:           Barbara Revak                            Bruce L. Cook                          Rufus Cook
                         74'11 $oulh StonY lsland                 7411 South Stony     lsland            7411 South Stony lsland
                         Chicago, lllinois 60649                  Chicago, lllinois   60649              Chicago, Illinois 60649

                     gn          Mr.r,,\ L(                           ( D'-
                                                                         ,2o1s   at               .''o
                                                                                      a.m., or as soon
           thereafter at counsel may be heard, I shall appear before the Honorable Judge Margarita T.
           Kulys Hoffman orany judge sitting in herstead, in courtroom 1707 of the Richard J. Daley
           Center, Chicago, lllinois and then and there present Proof of Payment of Subsequent Taxes,
           Transcript of Proceedings, and for Entry of Order Directing County Clerk to Issue Tax Deed and
           For Other Relief.

           Name: MICHAEL J. WILSON & ASSOCIATES, P.C.
                 Michaeli. Wilson -#27787                                 l



                     Attornp,v   fo   i' F'eliti   o   rte r                                                                                  ,.i
                     Address: 309 WestWashington Street, Suite 1200
                     City: Chicago, Illinois 60606                                                                                      :   "'-.
                     Phone: 312781'9510                                                                                            i;
                                                                                                                                            r'l
                     Fax: 312781-9511

                                                               PROOF OF SERUEE BY MAIL

                   l, Michael J. Wilson, the attorney, certify I served this notice by mailing a copy to the
           abovenreniioned pei'sons at the addresses stated above and depositing the sam_e in the U.S,
           mail at 30g West Washington Street, Chicago, lllinois on or before 5:00 p.m. on February 24,
           2015, with proper postage                    prepaid.                            (

                                                                                     ''' ';r,      /'1

                                                                                 ,tfrfr,fu(/,9, /fl___

           MICHAEL J. WILSON & ASSOCIATES, P.C.
           Michael J. Wilson - #27787
           309 West Washington Street, Suite 1200
           Chicago, Illinois 60606
           Phone - 312-781-9510
            Fax  - 312-781-9511
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 75 of 206 PageID #:75




                 E,XHIBIT
                        INDE,X

                             EX.8
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 76 of 206 PageID #:76




                                IN T'HE CtrRCUIT COIIRT OF COOK COIINTY, ILLINOIS
_l                                    cOtrNT'Y DEPARTMEIVT', COU]\T'V DIVISION

         IN THE MAITER OF APPLICATION, ETC.                          )
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         PETITION OF StonedrY, LLC                                   )
         FOR TAX DEED                                                )
                                                                     )   Case No. 2014   COTD 002392
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                   Respondentshereby oppose ancl objectto the petition and application for dedd  filed'Si'
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          '. I'. Sec. 2-6i5: Sionedry;s notices, petition ancl applicaiion f.iil to ccirrply..iiEt6tli-el
                                                                                         . - ri,.,. lji. -_
         requirements of the Property Tax Code, 35 ILCS 200122-5,70,20 et             sec1.   and   failts well to

         comply with relevant requirements of Cook County applicable to tax sales.


                 2.    Sec. 2-619 (1), and (9): Stonedry lacks standing to invoke the
                                                                                            jurisdiction of the court.


                                                                             Respectfully submitted




                                                                                  Barbara Revak
          Law Office of BartaraB-evak
          Attorney No. 58121
          Law Offi.ce of Bruce L' Cook
          Attorney No. 39081
          'Ruftis Cook,pro se
           7411 S. StonYIslandAve
          Chicago, tr-60649
          FaxNo. (773)752-5151
          Telephone No. (773) 752-2000

          In.the.Matter.of.Stonetlry.Combin   ed.Mot.BR'gb'3'30'15



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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 77 of 206 PageID #:77




                               nNTHECtrR.C{JXT'counToF.COOKCOITNTY,ILLINOTS
                                   C()IJNITY DEPARTIMEFIT', AOUNTY DIVISTON


          IN THE MATTER OF APPLICAIiON, ETC.


          PETITION OF StonedrY, LLC
          FOR TAX DEED
                                                                                      Case    No. 20t4 COTD 002392




                                                                     NOTXCE OF F'IN,ING


          TO:      MICHAEL J. WILSON & ASSOCIATES, P'C'
                   309 West Washington Slreet, Suite 1200
                   Chicago, I11inoi.s 60606
                   Pirone: (3 i2) 76i-95 lt)
                   Fax: (312) 7Bl-9511
                                                                       causecl to be filed witle the clerk of
                  PLEASE TAKE i\btlcu that on April 1, 20l5,we
                                                             J. Daley         Chicago' Illinois
          the Circuit Court of C*fiCounty,Illinois, Richarcl          !9nter,
          ggMBINED 1worioN urqpdn Ssiz-619.1, a copy of which is hereby serveduponyou'


                                                                                                Respectfully submitted




          Law Office of BarbaraRevak
          AttorneYNo.5Bl2L
          Law Office of Bruce L. Cook
          AttorneyNo' 39081
          Ruflis Cook,Pro se
          7411 S. StonYIslandAve
           Chicago,    tr   60649
           FaxNo. (773)752-5151
           Telephone N o' (773) 7 52-2000

           In.the.Matter.of.Stonetlry,Not'of'Fil'Cert'of'Serv'by'Mail're'Combined'Mot'BR'gb'3'30'15
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 78 of 206 PageID #:78




                                    cE&TrFlcAT'E OF SERVTCE BY MAIX,

                   I,BarbaraRevak, an aflomey, hereby certify that onApril7,201.5,I caused a copy of
           COMEII{ED MOTX0}T UhIEER $5/2-6n9.1 to be mailedto the above named pariy by depositing
           a copy thereof postage prepaicl, intJ the U.S. Fostal Box located at the corner of 75e ancl Stony
           Island Avenue.




                                                                       BarbaraReval<
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 79 of 206 PageID #:79




                  EXHIBIT
                        INDE,X

                             EX.9
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 80 of 206 PageID #:80




                                    IN Tr{E CrRCUrr CO{JRT OF COOK COUNTY,ILLINOIS
                                        . CSTJNTV DMPAT{TryTEI-IT, COUNTY MNTSEON

    _l
              IN THE MATTER OFAPPLICATION, ETC.                                           )
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              PETITION OF Stonedry,                WC                                     )
              FOR TAX DEED                                                                )
                                                                                         ) CaseNo.2014 COTD 042392
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                            X{ESPOIYDENT'S' MOT'IOhT T'O EXTEND DUE DATE TO F'ILE
                    R.EPT,Y                                         ON I]NDER

                       Respondents hereby request a ninety day extension in which to file their Reply                              in support

             of their "Combined Motionund er $5/2-61,9.1", and in strpport heieof state as fotlows.
                                                                                                                               I
                     1    Respondents filed their "CombinerJ i\{otion                     under 55/2-519.1:' on Apgil i"2pf         S. $



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                                                                                                                              !?=
                     WHEREFORE: Respondents respectflrlly request that they be granted a                              ninetfday

              extension in whichto take discovery and that the R-eply date be set for 2T.daysthereafter.


                                                                                                    Respectfirlly submitted
              Law Office of Barbara Revak
              Attorney No .5812L
              Law Ofiice of Bruce L. Cook             .

              Attorney No. 39081                                                          By:
              Rufud iook,pro se
              7411 S. Stony Island Ave
              Chicago, tr,60649
              FaxNo. (773)752-s|5l
              Telephono No. (773) 752-2000

              In.the.Matter.of.Stonetlry,Resp.Mot.to.Ext.Time.io.File.Reply.re.Combinetl.Mot.BR.gb.S'14.15




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 81 of 206 PageID #:81
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                               IN THE CTR.CUIT COURT OF COOK COUNTY,ILLINOIS
                                    COTINTY DEPARTMEIVT, COUNTY DIVISION                                           .




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         IN THE MATTER OF APPLICATION ETC.                                       )
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         PETITION OF Stonedry, LLC                                               )
         F'OR. TAX DEED                                                          )
                                                                                 )   Case   No. 2014 COTD 002392
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )

                                                                  NOT'ICE O}'MOTION

         TO:      MICHAEL J. W]LSON & ASSbCIATES, P.C.
                  309 West Washington Streef Suite 1200
                  Chicago, Illinois 60606
                  Phone: (312)781,-9510
                  Fax: (3i2) 78t-9511

                tsLEA.SE TAKE NOTICE that on May 20,2015,a1 10:30 a.m. we shall apjrear b^,"I(t
                                                                                                                                     "
         the Hon. James Zafiratosin room 1707 o:f theRichard J. Daley Center, and there 41fl then                                *
         present RESPONDENTS' MOTION TO EXTEND DUE DATE TO F',ILE REEIIY INF
         Iui,;oRT or imm,,coMBINED MorroN uNDER. $s/2-619            t-'- ----- .1",z &copyShwhiclf,s
                                                                                         ,rfBi
         hereby served upon         you.                                                     -.t                          {i     #
                                                                                                                          =l

                                                                                                          Barbara Revak




         Law Office gf Barbara Revak
         Attorriey No . 59l2l
         L#ilih""        mBt,,t*    1,.   coot
         AttomeyNo.39081
         Ruftis Cook, pro se
         741i S. StonylslandAve
         Chicago,    n   60649
         FaxNo. (773)752-5151
         Telephone N o. (773)fie-ZOOO
         In.tha^iVlatter,of.Stone6ry.Not.of.Mot.Cert.of.Serv.by.Mail.re.Ex.of.Time.to.File.Reply.re.Combined.Mot.BR.gb.5.l4.l5
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 82 of 206 PageID #:82



                                    CERTIFICATE OF SERVICE BY MAIL

                I,BarbmaRevak, an'allorney,hereby certifuthat on May 14,2075,I caused a oopy of
_1       RESPONDENTS' MOTION TO EXTEND DUE D,ATE TO FILE REPLY IN SUPPOR.T OF
         THEIR'(COMBII{ED MOTION LINDER. $5/2-619.1" to be mailed to the above named party
         by depositin g a copy thereof postage prepaid, into the U.S. Postal Box located at the corner of 75th
         and Stony Island Avenue.




                                                                       BarbxaRevak
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 83 of 206 PageID #:83




                 E,XHIBIT
                        INDE,X

                          EX. 10
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 84 of 206 PageID #:84

     On'cler                                                                                                                              (2/24/05) CCt

                                                      IIq THE CIRCUIT' COURT' OF COOK COUNTY, ILLINOIS

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     ,A.tty.   No.: -.'              ''
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     Name:            ,;.-,/  . . ...- ' .i' .r',_: .r..*                                         ENTERED:              DOROTHY BR
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     .Atty,    for:'';i              .    !         .,.--, .--




     City/State/Zipz '' ;'' --

     Telephone:                                              (i




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 85 of 206 PageID #:85




                 E,XHIBIT
                  INDEX

                          EX. 11
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 86 of 206 PageID #:86
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                             I1\ TrIE CTRCTTIT COURT OF COOK COLIIITY, ILLTNOIS                                                                 ')7)
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        IN TIIE MIITTER OF APPLICAIION, ETC.
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        PETITION OF Stonedry, LLC                                                                                                  .4
                                                                                                                                   t7
        FOR TAX DEED
                                                                              Case No. 2014   COTD 002392




                                 RESPONDEINTS' MOTION TO WITIIDR.AW THEIR
                                    "COMBINED MOTTOF[ UNDER $_5/2-61 9. 1 "

                  Respondents move to withdraw their "Combined Motion under 5512-619.7". In its order

        entered May 20,2015 thecburt denied Iiespondenis' motion seeking a9}-day extension of time'

 I.
 i-     to conduct discovery in order to file their reply ;n suppc,rt oithe '2-61,9.1motion, and denied any
                                                                                                                                             '

 I


        extension of time to reply. Respondents are therefore rinable to prosecute that motion, and hereby

        withdrawit.


                                                                                  *r, D6r,bc-,
                                                                                              Barbara Revak
                                                                                                                         F il;
                                                                                                 4
                                                                                   ,r,
                                                                                    "@ ,/L-4--^ Q-'---
        Law Office of BarbaraRevak
        Attorney No . 5BI2l
        Law Office of Bruce L. Cook
        Attorney No. 39081
        Ruflis Coolg pro se
        7411 S. Stony Island Ave
         Chicago, tr,60649
         FaxNo. (773)752-5t51
         Telephone No. (773) 7522000
         In.thiMatter.of.Stonedry.Mot.to'Withdraw.Combined.Mot'BR'gb'6'2'15




                                                                                                                              rytl
             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 87 of 206 PageID #:87




                                 CERTIF'ICATE OX' SERVICE BY TELEFACSINtrLE

        _l            IrBarbmaRevak, an atlomey, hereby certify that on lune2,Zl015,I caused a copy of
               R,ESPONDENTS' MOTION TO WITIIDRA,\ry TIIEIR "COMBINED MOTION T]NDER
               g512-619.1" to be served by telefax on the above named party attelefax no.3l2-781.-9511.




rl


                                                                        Barbara Revak




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i
                   Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 88 of 206 PageID #:88


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                       IN TIIE CIR,CUIT COURT OF'COOK COUNTY, ILLINOIS
                             COUI\TY DEPARTMENT, COUNTY DIVISIOFI


 IN THE MAITER OF APPLICAIION, ETC.


 PETITION OF Stonedr y, LLC
 FOR TAX DEED
                                                                           Case No. 2014          COTD 002392



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TO:         MiCHAEL J. WILSON & ASSOCIATES, P.C.                                                           -i
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            309 West \Vashington Sfreet, Suite 1200                                                        t                        (rl    .:'.4'.
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        ,   Chicago, Illinois 606Q6                                                                            '-i-'                f\)        .j .
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                                                                                                          L\ii
            Fax: (?1,2)781-9511
                                                                  J                   {q.

       PLEASE TAKE NOTICE tha't on June 552015, at 10:30 a.m. we shall appear before the
Hon. James Zafratos in room 1707 of the Rich#d J. Daley Center, and there and then presept
RESPONDEI{TS: MOTIOT{ TO WITHDR,AIV THEIR.'6COMBINED MOTION'TINDER
$5/2-519.1", a'copy of which is hereby served upon you:



                                                                                                  'Barbaia Reval<



                                                                                  By:



Law Office of BarbaraRevak
Attorney No .5812L
Lali,Office of Bruce L. Coolt
Attorney No. 39081
Rufus Cook,pro se -
74LI S. Stony Island Ave
Chicago, tr,60649
FaxNo. (773)752-5151
Telephone No. (773) 752-2000
In.the.Matter.of.Stonedry.Not.of.Mot Cert of.Serv.re.Mot.to.Withdrarv.Combined.Mot.BR,gb.6,2.l5
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 89 of 206 PageID #:89


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      EXHT
       INT)

               EX. 12
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 90 of 206 PageID #:90




                             ^'T,!ffi f yH,$:Hff fr#':?35,f,?T#'.lr^1."'
:-l
       IN T}IE MAITER OF APPLICATION,                          ETC.             )
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                                                                                ) CaseNo.2014 COTD 002392
       PETITION OF StonedrY, LLC                                                )
       FOR TAX DEED                                                             )
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                                                                  NOTISE_QT-F'ILING
                                                                                                                                   '',          l4-
                                                                                                                                   ''r'r         /l z
       TO:       MICHAEL J. WISON & ASSOCIATES, P'C'                                                                               i:,i.
                                                                                                                                    ". i
                                                                                                                                                   rl /
                 309 West Washington Street, Suite 1200                                                                                ,,,1:.           t:
                 Chicago, Illinois 60606
                 Phone: (312)781'9510
                 Fax: (312)781.'9511
                                                                                             the Clerk of
               PLEASE TAKE NOTICE that on June 15, 2015,'we caused to be filed with
       the Circuit Court of Cook County, Illinois, Richard J. Daley Center,
                                                                            Chicago,Illinois
                                                                                            SIGN
       MtrMORANDUMREGIRDINC'WfIgTI{ER A SLTCCESSOR JUDGE Mtt.Y
       rnqsicNED TRANSCRIPT oB Ex PARrE PR.oYE-uP MADE BEFoRE
       SUBSTITUTED JUDGE, a copy of raihich is hereby served uponyou.



                                                                                            Respectfully submitted
 -l
                                                                                 By:       E*L-- 5^^,---
                                                                                                  Barbara ReVak



                                                                                 By:
        Law Offrce of BarbaraRevak
        AttomeyNo.5Sl2l
        Law Officq of Bruce L. Cook
        AttorneyNo. 39081
        Rufus Cook, pro se
         7411 S. Stony Island Ave
         Chicago, fr,60649
         FaxNo. (773)752-5151
         Telephone No. (773) 752'2000
        In.the.Matter.bf.stonedry.Not of.Fil.cert.of.seiv.by.Mail.re.Memo.re.Jutlge.signing'Transc'of'Prove'up'BR'gb'6'15'15




                                                                                                                                                 ,W,
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 91 of 206 PageID #:91




                                CERTIFIC4,TE OF SERyICE By MAIL

_l           I, Barbara Revak, an altorney,hereby certi fy that on Jrure 15, 201,5 ,I caused a copy of
      MEMORANDUM REGA.RDING WIIETHER A. SUCCESSOR JUDGE MAY SIGN
      TIT{STGNED TRANSCRIPT OF EXPAR.TE PROVE.UP MADE BEFORE SUBSITTUTED
      .IIIDGE to be mailed to the above named party by depositing a copy thereof, postage prepaid, irito
      the U.S. Po.stal Box located at the corner of 75th and Stony Island Avenue.




                                                                      Barbara Revak




_l
             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 92 of 206 PageID #:92




                               ^'%!ff FYf#:Hffi fl#,:33f f'18'H;11fl "*
    I
        _l                                                          .'\.                       1'(J"
                                                                                                       d:,,^


               INTIIEMAITEROFAPPLICAIION,ETC.                           )                    '' \r'.,
                                                                                                 .                        ',,..


                                                                        )                   ,i1: ":,.o\ ''i.,  t



                                                                        ) CourtDate: January28,26l5.. "r'"   ;
                     Stonedry,LLC
               PETITION OF                                              )                      '' .i               c-3.

               FORTAXDEED                                               )                       ', .,"\., o{
                                                                     ) Case No. 2014 COTD OOrrr, "'' '
                                                                        )
                                                                     )
                                                                     )
                                                                     )

                         MEMORANDUM REGARDING WHETIIER. A. SUCCESSOR JUD GE
                         .
                           M.A.Y SIGN T]]{SIGNED TRAI{SCRIPT OE EX PARTEPR.OVE'UP
                                      MADE BEFORE SUBSTITUTED JT]DGE

               .      Respondents Ridgeland Corp., Cook, Revak       & Associates, Ltd., Barbara Revak, andthe

               74!1. Corp., by theil attorneys Barbara Revak and Bruce L. Cook, and Rufus Cook, pro se state

               the following

I

                      This Memorandum iswritten in response to the court's request that the parties brief the
t,.t




        j      cluestion of whether, where a previous judge has granted a motion for substitution of right after

               hearing but not signing a prove-up transcript, the successor judge may properly sign the

               transcript. Thzit question is addressed below.


                                                                FACTS

                      On January 22,2075,Petitioner filed its "application for an order directing th9 county

               clerk to issue a tirx deed." According to'the talce-notice, the matter hacl been set for asSignment

               January 28,2075. On that date the case was assigned to Judge Margarita T. Kuly Hoffman.

               Petitioner then obtained from Judge Hoffrnan an ex parte prove-up date of Februaty 9,2015,

               with no notico to respondents, who had not then appeared.
          Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 93 of 206 PageID #:93




                     OnI'ebruary 4,2075, Respondents filed their appearance, not knowing that an           ex   parte
      I



 _l          prove-up had been scheduled for February 9. The appearance was rnailed to petitioner's counsel

             February 5,2015. Petitioner's counsel stated Tater +hat the mailed appearance did not reach his

             office until February 9,2015, and he did not receive it until he returned to the office after the

            prove-up before Judge Hoffrnan, at which time she entered an order taking the matier under

             advisement and directing that the transcript be prepared.



                    On iMarch 4 respondents moved under 735 ILCS 512-100t to substitute Judge I{offrnan,

            which motion was filed, noticed, presented and granted without her having signed the transcript,

            which further action the judge proper'ly did not tal<e affer the notice was filed. The case was re-

            assigned !o Judge. James Zafuatos, to whom this memorandum is submitted



                                                          ARGUMENT

                    Substitution of Juclge is provided for in Code $ 5i2-1001 (a) (2) iii:


                            (iii) If                                                .ur" *d hu,
                                       any party has not entered an appearance in the
                        not been found in default, rulings in'the case by the judge  on any
_.1
                        substantial issue before the party's appearanco shall not be grounds for
                        denying an otherwise timely application for substitution of Judge as of
                        right by the party.


                    Even where, unlil<e here, a judge has made rulings in the case on "any substantial issue,"

            such ruiings would not prevent a substitution of right. Here, not only had no such rulings been

            made, butrespondents had not been found in default and had appeared 5 days before the ex parte

            prove-up, of which they had no knowledge. Had petitioner's counsel known of respondents'

            appearance, he would have been obliged to report that fact to the judge and not to go forward

            with the ex parte prove-up. To suggest now flrat the transcript of the      ex   parte prove-up should be
                        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 94 of 206 PageID #:94




                             signed by the successor judge who didn't
                                                                      hear the evidence, is tantamount to
                                                                                                          malcing a mockery

                   _t        ofsec.1001whichprovidesforsubstitutionandanewjudgesyq8@.
                            Aad there were none here. what actually happened
                                                                             here was that, clespite Respondents,

                            appearance, afl ex parte prove-up was set and
                                                                          hetd because of an error of timing not caused
                                                                                                                        by
                            respondents.



                                   Further, substantial problems of due process are
                                                                                    raised by the notion that the transcript             of
                            an ex parte prove-up should be signed by   a   judge who did not hear the matter.
                                                                                                              The respondents,
                           who had appeared and given proper notice to that
                                                                            effect and were not in default, were and are

                           entitled to a hearing where, should they choose,
                                                                            they may exercise their due process rights,

                           including tti14s!t to examine witnesses, to present
                                                                               evidence, and to be heard.



                                                                    CONCLUSION
                                  'rhere is no basis
                                                     in the law goveming this case for holding that
                                                                                                    the transcript         of   the ex
                          parte prove-up, itself held by reason of an eror of
                                                                              timing,.should be signed by a judge who

 L)                       didn't.hear it' Indeed, both the substitution statute
                                                                                aad due process require that the
      ,l       !                                                                                                      ex   parte
                          transcript be held for naught.
I-         r

       l



      -i                                                                                           Respectfi:lly submitted,
       I                                                                                   '\
                                                                                           a-"-------\
                                                                                              c>1
                                                                                         -By, \--S---^-
                                                                                               ' *-*                             n

                                                                                                                                i'..-0---'i'\=.^
                           Law Office of Barbara Revak
                                                                                                         Barbara Revak
                           7411 S. Stony Island Ave, Suite I02
                                                                                            \(\
                           Chicago,'IL 60649
                                                                                         By: >A/J              <'P"        C--+<
                           Attorney No. 58i21                                                                                            l   n.-
                           Fax No. (773) 752-5151                                                        Bruce Cook
                           Telephone No. (773) 752-2000
           Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 95 of 206 PageID #:95




                               CERTII'ICATE OE SERVICE BY TELEF'ACSIMILE
     1_l             IrBarbuaRevak, an attomey, hereby certifylhaton June 2,2015,I caused a copy of
              RESPONDEI\ITS' MOTION TO \MITHDR.,AW TIMIR "COMBII{ED MOTION UNDER
              g512-619.1" to be served by telefax on the above named parly attelefax no.312-787-9511.




                                                                      Barbara Revak




fi
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 96 of 206 PageID #:96




          EXHIBIT
                INDE,X

                  EX. 13
            Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 97 of 206 PageID #:97



                     IN THE CIRCUIT COURT OF COOK
                                                  COIINTY' ILLINOIS
                                COUNTY DNPANUUNNT, COUNTY
                                                              DIVISION
                                                                                                   coP\
       _l    IN THE MATTER       OF A?PLICATION, ETC'             )
                                                                  )
                                                                  i         casn   No. zol4corpoo?gea
                                                                  )
             PETIT]ON OF Stoned'rY, LLC                           )
             FOR TAX DEED
                                                  NOTICE OF FILING

                                                   Bruce L. Cook                   Rufus Oook
              To:    Barbara Revak                                                 7411 South StonY lsland
                     7411 South StonY lsland       7411 South StonY lsland
                                                   Chicago, lllinois 60649         Chicago, lllinois 60649
                     Chicago, lllinois 60649


                                                        the 23'd day of June', 2015', I filed
                                                                                              with the clerk of
                     PLEASE TAKE NOTICE that on                                              Petitioner's
                                                  c";;;   i;"p.rtment, county Division'
              the circuit court rf c"rk county,                  Ability to Sign an g'4"1!i'recting County
                              in Suppolt of a Succes.o, i"agt't                                            copy
              Memorandurn
                                               u, u*'puriuE    o""'up  was conducted' by Prior Juclge' a
              clerk to Issue  tu* diJwhen
                                                                 upon you'
                       is attached' hereto ancl herewith served
              "f*f".ft
                                                                      STONEDRY, LLC
                                                                      Petitioner




                                               PROOF OF SERYICE BY MAIL

r-l                   I,MichaelJ'Wilson,theattorney,certifylserved.thisnoticebymai]ing.;-E,lil"
                                                              above and depositing th6
                                                             siate6
               the abovementioned. persons at the "ddr;;           tuittols on or before 5:00 p'm' on
                                                                                                      June
               u.s. mail ar  809 w;;  w;;htngton  st   .;Ailreo,
                ig, zo,ts,with proper postage prepaid'

                                                                      ,a |               '--
                                                           P'C'
                MICIIAEL J. WILSON & ASSOCIATES'
                Michael J. Wilson '#27787
                iOg W".t Washington Street' Suite
                                                  1200
                Chicago, Illinois 60606
                Phone - 312'781'9510
                Fax - 312'781-9511

fr,,


                                                                                                             ryt?
       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 98 of 206 PageID #:98



                                              OF co-o5colrNfY', ILLINOiS
                        IN THE CIRCUIT COITRT              DIvISIoN
                              couNfv DEPHiMBi'it' couNTY

       IN THE MATTER OF APPLICATION'
                                     ETC'
r-l                                       ]
                                                              )       CASE   NO.    2014coTD002392

                       lgqtJ, LLC
                                                              )
       PETITION OF StonedrY'  "..-                            )
       FOR TAX DEED
                                     MEM0RANDITM IN slrPf
                                                                     gIIj)J                COtINl',IY
                                          to"srcl{ aN Olpgt DIRECTING
            A SUCC sson -flinod,Jndrr.rrv
                      oLERK ro Is sIrE tax oiiln-wqgl'lf,gry#Tl

                                                                                                WILSON
               NOWCOMESPetitioner'STONEDRY'LLC'byitsattorney'1UICIIAELJ'
                                                             as follows:
                                submits this memoranclum
        & ASSOCIATES, P'C'' and
                                                                                             from
                                                                     request for submissions
                               is written in response to the court's
             This memorand.um

        eachpartyregardingwhetheraSuccessoljud.gecanenteranord.erDirectingCountyClerk
                                                                          prior juclge'
                               an ex-parte prtove-up was conducted by the
        to Issue Tax Deed when
                                                            Presented
                                                    Facts
                                                                                              i: H
                                                                            prese:it ttLe comp1e...!'j|*"e
                                                  Respond.ents cliri r.lrlt
                In its recitation of the facts,                                                              :
                                                                  is as follows: .::             B
                  for this Court.   The complete factual scenario
         scenario                                                                          '''1'
                                                                                    know1.!'r e".Y*.i:
                            y 7,Z.,4,Gammad.ock      LLC purchasecl the property
                 on Januar
                                                                         sale for tr" a3rilo**#':',
                                             at the 2013 scavenger tax
  -l     inclex number   20-25-131'004-0000
                                                                                   issued' to Gammtlock
                             estate taxes. certificate number 13s'0000933 was
          2011 general real

          LLCasevid'enceofsaid.sale.onAprilT,zol4,saidcertificatewassold",assigned,and
                                                                                                        as
                                                                 purchase is attached hereto
                               LLc. A copy of the certificate of
          transferred to stonedry

          Exhibit..A,,andincorporated.hereinbyreference.Theamountnecessarytoredeemfrom

          the tax sale was over $281'000'00'

                  Thesubjectproperty,whichhasbeentaxdelinquentsince200g,isamultiplestory
                                           ,t4LLsouth stony Island- Avenue, chicago' Iilinois'
                                                                                                 The
                                located at
           commercial buirding
                                                                                                Illinois
                                                       corporation'    Rufus cook' a disbarred'
                                      by the Ridgeland
           subject property is owned
                                                     agent of the Rid'geland'
                                                                              Corporition' At the
                                      and registerecl
           attorney, is the President
              Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 99 of 206 PageID #:99


                 current time, the Riclgelancl Corporation is not in good standing with the Illinois Secretary

                 of State's office. A copy of the printout from the Iilinois Secretary of State's office is

                 attached hereto as Exhibit "B" ancl incorporatecL herein by reference.

                        petitioner   fileci.   its Petition for Tax Deed on July 9, 2014. Petitioner also lodged

                 Take Notices with the Clerh of the Circuit Court          and"   Sheriff of Cook County to be served

                 upon interestecL parties pulsuant to the provisions of the Property Tax Cod-e' Petitioner
     i




     I           also published notice in the Chicago Daily Law Bulletin'
     I


                        The sheriffs services of notice were served as follows:
                                                                                        (subject property) -
     I
                                Rufus Cook at 7411 South Stony Island" Avenue, Chicago
                               'Not served (called phone number listed - female refused name said builcling
                               wasvacant.Certifiedmailsigned.forbyBarbaraRevak.

                               The Ridgeland Corporation at 7330 South Ridgeland, Chicago - Not served
                               (Gate iockea - Vacant) CertifiecL Mail signed for by Barbara Revak'

                               The Ridgeland Corporation at Z+f f South Stony Island Avgnu^e, Chicago
                               (subject"property) - Not served. (ca-Iled phone number listed - female refused-
                               nrrrr" ."id. blilding was vacant. Certified mail signed for by Barbara Revak.
                                                                                               (subject
                                Cook and Revak at T 4LL South Stony Island Avenue, Chicago
                                property) - Not served (called phone number listed - female refused name
                                saicl builfing was vacant. Certified mail signed for by Barbara Revak.

                                                                                           (subject property)
                                Rufus L. Cook at TALLSouth Stony Island Avenue, Chicago
         -l
                                - Not served (cal}ed phone number listed - female refused name said building
 I

.:

                                wasvacant.CertifiedmailsigneclforbyBarbaraRevak.
 (
                                                                                                (subject
                                Barbara J. Revak at't4lL South Stony IslancL Avenue, Chicago
                                property) - Not served (caIled phone number listed - female  refused name
                                said building was vacant. Certifiecl mail signed for by Barbara Revak.
                                                                                       (subject property) -
                                Occupant al TLllSouth Stony Island Avenue, Chicago
                                Not served (calted. phone number listed - female refused name said- building
                                wasvacant.Certified.mailsigned.forbyBarbaraRevak.
                                                                                              (subject
                                The 14LLCorp. at 7411 South Stony Islancl Avenue, Chicago
                                property) - Not served (called phone number listed - female refused name
                                said building was vacant, Certified mail return receipt card is missing from
                                court flle.

                         Al1 parties were notified      that the period   of redemption would. expire on January 8,


                 20lb, and that the initial court date was       sched.uled.   for January 28, 20L5, at 9:30 am. in
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 100 of 206 PageID #:100


                                                              \Mashington Street' chicago'
                  L7o4 ofthe Richard J. Daley center, 50 west
        courtroom
                                                 from the tax   sale'
        Illinois. Respondents failecl to recteem
  l              onJanuary22,Zols,PetitionerfiieclitsApplicationforanord.erDirectingCounty
                                                                                         to
                to Issue Tax Deed.' on Januar
                                              y 28,20!5,with Respond.ents having faileil
        Clerk

        appearinCorrrt,Jud.geBertucciassigned.thecasetocalend.arL2,ald'anorclerwas
                                             prove'up   on February 9' 2015 at 9:30
                                                                                    am' said information is
        enterecl setting  the  case   for  a
                                                                                     of said docket is
                  on  the  Clerk   of the   Circuit  Court's website docket' A copy
        set forth

                               Exhibit    "c"  and  incorporated- herein by reference' In its memotandum'
        attached- hereto    as

                                                                          been provided' to the Respondents'
                        set  forth  that  no notice of the prove-up had-
        Responclents

        Thisfactiscorrect,butResponclentsattempttomisleacl.theCourtintothinking
                                                                  and       time'    Respondents had not
         Respondents were entitled
                                   to notice of the prove-up date
                                                                  to notice of the prove'up     d   ate and
                                       case and were not entitled
         filecl an Appearance in the
                                                                in court   on the   initial court date'   If
                                                   to appear
         time.   Furthermore, Responclents failed-
                                                                        they would         h'ave been 'ad-v:sed'
                            ,pp"u*"d in Cburt and fiied an Appearrrrce'
                                                                                               was the sole
                                    time. Responclents    negligence and-ior lack of diligence
         of the lrearing date and
                                                                              if the Respondents would
               of their lack of knowledge  of the hearing d.ate. In addition,
         cause
                                                                                      have known of the
1-i                                   the court,s website docket search, they woutd-
         have searched. the  clerk of


          hearing date'

                 onFebruaryg,20ls,Petitioner,scounselappeared.beforeJudgeHoffmanand.
                                                                                      Juclge Hoffman took
                          prove-up  of the case'  At  the conclusion of the prove-up'
          cond.ucted bhe
                                                                                 of subsequent real estate
                       under  aclvisement  pending receipt of proof of payment
          the matter
                                                                                         receiving the
                                 of the proceedings.    upon returning to his office and
          taxes ancl transcript
                                                                                                 later on
                                       received the  Appearance   filed by Respond'ents' Either
           mail, Petitioner's counsel

           Februaryg,20lSorFebruaryl0,20lS,RufusCookcontacteclPetitioner'scounselby

           telephone'Petitioner,scounseladviseclMr'Cookthathecond-uctecltheprove.upon
                                            received the Appearance'
           February 9, 2015 prior to having
                   Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 101 of 206 PageID #:101



                            onFebruaty24,20ls,Petitioner,ScounselserveclaNoticeoflVlotiontoResponclents
                                                                                                      Taxes
                                                                             of Payment of subsequent
                               the Presentation of the Transcript and" Proof
                    regarcling

                     anclrequestforentryoftheord'erDirectingCountyClerktolssueTaxDeed..
                                                                                 of Jud'ge to be heard" on
                                                                                                           the same
                                   Respond.ents filed- a Motion for substitution
                     s*bsequently,

                     d.ate.A-fteralongargument,JudgeHoffmangranted.theMotionforSubstitutionof

                     Jud.ge.ThePresidingJudgere.assigned"thecasetoJuilgeZafitatos,andthecasewas
                                                                            pleading'
                     continuecl to a date certain
                                                  for Respondents to frle a

                             Respondentsfi].edaMotiontoDismissprrrsuanttoSection2.619.Tofthelllinois
                     .Cod.eofCivilProceclure.Petitionerfiled-aResponsetosaid.MotiontoDismiss.
                                                                                                          discovery'
                                                     for Extension of Time to file a Reply and to conduct
                     Responclents  filed. a lVlobion
                                                                                               denied' Respondent
           \
                                    lvas denied.  Rather  than having its Motion to Dismiss
                      said motion
                                                                                                                to
           j                                     Motion  to Dismiss'   lYhen  the court granted the Motion
           I
                      moved to withclraw their
                                                                                            before thj.s court '      '   '



                                       Motion to Dismiss  ancl since nothing was pending
                      withclraw the
           I
                                                                                                    proof of payment of
                                                                       receive th.e transcript and'
           I

               l
                      petiiioner:,t counsei iequested. that the  court

                                                  the ord.er Directing county
                                                                               clerk to Issue Tax Deed"'
                      subsequent taxes and enter
               i

           ,,
 ,'                                                                                         zafitatos could not
                                     point, Barbara Revak  objected and stated that Judge
                             At this
               i
                                                                                                not hearil the
                                                                  Issue Tax Deedsince he hacl
 It
 r-l                                             county  clerk to
  l-'                 enter the orcler Directing

',l.
 'l
                       prove.up.Jud.geZafstatosd.id.notagreer,viththeargument,butpermittedabriefing

                       sched-ule on the issue'
   i                                                              Argument

                               Petitioner,scounselisunabletofind.anyCaselawontheissuepresentedtothe
                                                              any case law'
                                   Respondents have not cited
       I


                        Court.
                                First,Respondentsarguethatsincetheywerenotpresentattheprove-up,theCourt
                                                                                                  The Respond'ents
                                    enter the order  Directing  county clerk to Issue Tax Deed'
                        should. not
                                                                                              prove.up. As previously
                                           Petitioner,s fault that they were not aware of the
                        imply that it  was
                                                                                                thern of the initial
                                 Respondents were served
                                                            with the Take Notice which aclvised
                         stated,
         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 102 of 206 PageID #:102


             court date ancl      time.   Responclents elected. not to appear       in court at the initial court date.

             Furthermore, Respondents failed to follow the case on the C1erk of the Court's website

             dochet (pxt   ltit   "C") lvhich clearly advises anyone who reviews it that a prove'up lvas

             schedtrled on January 28, 2OL5 to be hearcl on February 9, 2075 at 9:30               am.   Responclents

             negligence and/or lack of diligence was the only factor that prevented them from knowing

            the date and time of the proye-up.

                     Second, Responclents argue that due process would be denied                if this Court enters the

            Orcler Directing County C1erk to Issue Tax Deed when Judge Hoffman heard. the prove-up.

            The Responclents' due process rights are not violated. The Respondents had an

            opportunity to be present at the initial prove-up, but their negligence ancUor lack of

            diligence prevented them from knowing the date and                  time. Furthermore, the Property Tax

            Cocle and. Cod.e of Civi-l Procedure provide vehicles for           situations similar to those'as are

            presenteclinthecaseathar. Section22'45ofthePropertyTaxCodeand Secti.ons2-1203

            rnrl 2-tr401 ,iif the Code of Civil Procedure provicle         a   liti.gant an cppor-tunity for a hearing

            which woulcl provide a right to examine witnesses, to present evidence, and to be heard.

                     A review of this proceeding since Responclents have filed their Appearance
     l
            demonstrates a calculated dilatory process to frustrate justice anil to prevent the county
     I



I




            from collecting real estate taxes on property that have not been paid. since 2008. The
    \l
            Responclents filed a one-half page motion to dismiss, clelayed the process for two (2) months,
,l          ancL   withdrew the rnotion rabher than having it deniecl,. Currently, Respondents are

            attempting to have their iVlotion for Substitution of Judge cause Petitioner to begin the
     i

            entire hearing process again. Rather than           clefend.   this   case, Respondents continue to use

            dilatory tactics to attempt to make this property prohibitively expensive for Petitioner and

            continue to not pay real estate taxes to the county.

                     If a judge gets re-assigned     ancl leaves his   current position and a new judge takes his

            place, the new judge d,oes not start all of the cases over again. If there were ex-parte
                           Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 103 of 206 PageID #:103



                                                                     Orcler basecl upon what r'vas
                                                                                                     previously submitteil and
                            hearings,  the  new jucLge  can sign  an

                                                                                                   new juclge to begin the cases
                                                      juclge hearing the case' To require the
                            arguecL before the prior

                                                                              and woulcL delay justice to
                                                                                                           the parties of the
                                           be a waste  of judicial resoulces
                            again would-
                                                                      can revier'v the transcript of
                                                                                                     the hearing anil the court
                            case. In the present case, the court
                                                                                                            of the property Tax
                                             that petitioner  has  strictly compliecl with the provisions
                            fire to confirrn

                             Cocle.

                                                                       CONCLI]SION
           I
                                                                                                                     an order
           I
                                                                             whether a successor jud.ge can sign
                                    The only issue before the court is
                                                                                                judge heard the prove-up of the
                                                                         Deecl when the prior
           I
           t,
                             Directing  county    clerk  to Issue  Tax
                                                                                                          of this case clearly
                                                                      regarding this issue. The facts
           I                 tax deecl case. No case law exists
                                                                                                        were the sole cause of their
           \

ll                                    that the Besponclents,    negrigence and./or rack of diligence
                             exhibit
                                                                                                              Respondents' due
               I
                             not knowing d.ate and- time of the
                                                                     initial hearing d ate' Furthermore'
               I

                                                                                                                 Motions to Vacate
                                             would    not  be violatecl  since they still have the right to file
                             process rigbts.
                                                                              the cod'e of civii Proceclure'
                                                                                                                Lastly' this court
                              pursuant to sections 2'l2og or Z-LAOlof
                                                               Responclents to use cl,atory
                                                                                                tactics to prevent the Petitioner
                              shoulcr not continue to anow
                                                                                                                   real estate taxes
                                               title to the  subject   property and the county from collecting
                   I
                              from obtaining
                   I



                                                             pay since 2009'
                              for which they have failed- to
                                                                                      STONEDRY, LLC,
                                                                                      Petitioner

     rl
     il,


                       I


                                                                      P'C'
                               MICHAEL J. WILSON & AFSOCIAIES',
                                                 -
                               Michael J. \Yilson #27'187
                                                                 1200
                               iOg W".t Washington Street' Suite
                               Chicago, Illinois 60606
                               Phone - 312'781-9510
                               Fax - 312'781-9511
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                Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 104       of 206 PageID #:104

                 STATE OF ILLINOIS                                                                      CERTIEICATE       NO     13S-0000933
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                 iouNrYoFcooK
                                                CERTIFICATE OF PURCHASE
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       !                        .. FOR GENERA L TAXES TWO OR MORE
                                                              AND 2L-260 OF THE ILLINOIS
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                   purch'as.9 -money on said property for c^sn received aL the aucLion
                                          the highest';id'                            2L-260 of the
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                                                                               Motion to be Taken Under Advisement
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                                                                               Notice of Motion - Filed
                                                         February 24,2015
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                                                                                 Gourt Event Scleg!.!g!
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                                                         February 24,2015
                                                                                Fvent: Motion Hearing
                                                                                                       '10:00 am
                                                                                oite: 03/0+/zol5 Time:
                                                                                                    12 Location: courtroom 1707
                                                                                Liio"i6nLErtroaR

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                                                                                  Notice of lviotion = Filed
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                                                          March 3, 2015
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                                                                                    Fveni: Status Hearing
                                                                                                            1 0:30 am
          I                                                                         O ile: O5t2Ol2O15 Time:
                                                                                    Judge: CALENoAR 6 Location:

                                                                                     Resull: Case Continued w0001



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              Case: 1:22-cv-00119 Document #: 1 Filed:Circuit
                                                       01/07/22       Page 108 of 206 PageID #:108
                                                              Court Cook CouniY
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                                                           Result Strike fom Call- All000'l


                                                     Motion to Withdraw F
                              Activity Date               Docltet ilescriPtion
                               June   2,2015              Motion to Wthdraw Filing or Petition
                                                          Aftorney: REVAK BARBARA J (58121)


                                                            Court Evont Scheduled
                              Activity Date                Docket DescriPtion
                               June   2.2015              Court Event Scheduled
                                                          Event: Motion Hearing
                                                          Date: 06/04/201 5 Time: 10:30 am
                                                          Judge: CALENDAR 6 Location: Courtroom 1707

                                                           Result Case Continued with Return Date - Allowed


                                                            Notice oi lUotion - Filed
                              Activity Date                Docket DescriPtion
                               June 3, 201 5              Notice of Motion - Filed
                                                          Attomey: REVAK BARBARA J (58121)


                                                  Case Continued with R'eturn           q4!9i 4lgygg
                               Activiiy Date               Docket DescriPtion
                               June 4, 201   5             Case Continued with Return Date - Allowed
     \
                                                           in" ioilo*ing event: Motion Hearing scheduled for 0610412015
                                                           at 10:30 am has been resulted as follows:

     i                                                     Result Case Continued with Return Date - Allowed
                                                           Judge: CALENDAR 6 Localion: Courtroom 1707


                                                           Strike From Call - Allowed
                               ActlvltY Date               Docket DescriPtion
                               June 4, 201   5             Skike Frorn Call - Allowed
                                                                                                                         5 at
                                                           in.  ioif owing event: Status Hearing scheduled tbr 06i10/201
                                                           '10:30 am has been resulted as follows:

                                                           Result: Strike from Call - Allowed
                                                           Judge: CALENDAR 6 Location:
,t
-l                                                           Court Event Scheduled
                               Activity Date               Docket DescriPtion
                               June 5, 201   5             Court Event Scheduled

                                                           The following event: Motion Hearing scheduled lor
                                                                                                             0610412015
                                                           at 1 0:30 am has been rescheduled as follows:

                                                           Event: Motion Hearing
                                                           D ate 07 107 12015 Time: 1 0:30 am
                                                           Judge: CALENDAR 6 Location:


                                                              Memorandurn of - Filed
                                Activity Date               Docket DescriPtion
                                June 1 5, 201 5             Memorandum of - Filed
                                                            Attorney: REVAK BARBARAJ (58121)


                                                                 Notice of Filin
                                Activity Date               Docket DascriPtion
                                June 15,2015                Notice of Filing - Filed
                                                            Aftorney: REVAK BARBARAJ (58121)
            ll             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 109 of 206 PageID #:109
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                                Improper notices shown in Exhibit 14 as not in strict compliance
                                       with designated seetion of Property Tax Code:

                             Exhibit   14C   -22-5 Take,notice:
                             i. added language o'plus any and all statutory penalties interest and costs."
                                                o'Cotu:ty Court House" for required     "office of the county olerk".
                             ii, "substituted
                             iii, Misspelled statutory o'firthcr"   as   futher"



                             Exhibit 14F -purchaser's 22^L0 take notice:
                                                                           n'office of the County Clerk".
                             i" substituted "eourty coufl; hsuse" for

                             (See Exh,   t{E-l for eomeet form.)

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                                                                     o'Office of the County Clerk".
                             i, substituted "County Court House" for



                             Exhibit 14G     - Published Notice:
                             i. substituted "county Couri House" for office of the County Clerk'"
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                                                                                                                        Ex" 14
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 110 of 206 PageID #:110




           E,XHIBIT
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                   EX. 14
   Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 111 of 206 PageID #:111           *['1 l5
               rN THE  CIR.CUIT   couRT OE COOS.C0UNTY' ILLII\0$
               "" i.6O"UmTV
                                 OErlnfnnpNT, COUI,{TY DIVISION -_ r-.-\..,
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                              ETC'
IN THE MATTER OF APPLICATION'
                                                     )
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PETITION OF StonedrY, LLC                            )
FOR TAX DEE,D                                        j    Cut.No' 20i4 COTD 002392
                                                     )
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                                            A                JUDGE NNAV SIGN UNSIGNED-
   REPLY REGA.RDING WIIETIIER
   .',             OT' EXPARTE PBOYI
       ^t\'er-DrPT


   Respondentsreplyasfoiiowsinsupportoftheirmemorandum"regarding*n.T...u.H
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                     rmsigned transcript of ex parte
successor judge may sign
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                ,,Respondents shall be granted 10 days to file a pleading
                                                                          adclressing   F     \O

                                         hanscript of prove-up conductedbY
            whether the court
                             '* 'ign-th'              7 daysto respond'
            Judge   MargaritaKulyH"off**' petitioner
            respondents 7 to rePlY'   "'"




     petitioner.accuses respondents of engaging in
                                                   "diiatory" action by withdrawing'their

                                                                            extend the time to reply
                            rn fact that motion  and the motion seeking to
  combined 2_6rgmotion.
                                                             had not complied with the statutory
                               on objeetions that petitioner
  were, as they stated, based
                                                                          jurisdiction of the court'
                        and that stonedry   lacked standing to invoke the
  notice requirements,



                                                                                              cy, l.4
        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 112 of 206 PageID #:112



                                                                                       to the court, s
                                       respondent  Rufus  Cook.explained in response
                             in court,
When the parties appeared
                                                                                             related to
                                                       derived  ftom certain pre-conditions
                   ,.standing,, portion of the motion
questions that the
                                                                            to meet in order to
                                 as Stonedry, or its assignor, was required
tax saleswhich a bidder such
                                                                                                    period
                                                                             and a gO-day discovery
                                    sa1e.   cook   stated that the extension
qualiff to bid at.the scavenger
                                                                     with those requirements'
                                  whether there had been compliance
were sought in order
                     to detennine
                                                                                              the
                                                               raw that fraud likely infected
                                                   under relevant
                               were violated, then
 (If indeed those requirements
                                                                                           or its
                                                                    standing by petitioner
                       beginning, and        would arguablypreclude
 tax purchase from its

 assignor,aswellasshowingfraudwhich,whenshovm,alsoprecludesissuanceofataxdeed.)


     Thecourtsawthematterdifferently,however,anddeniedthemotiontopelmidiscovery,as
                                                                                      unable t9 obtain
                                  of time   to reply, effectively leaving respondents
                        extension
 welr as the motion for
 :     '..
                                                                  they consequently withdrew'
                        to support th  etr z-6r9motion, which
  evidence by discovery

  Stonedry,ofcoruse,-ieiectstheargumerrtthataLysuchpre-da19fraud,ifcomrniued,c9u1d
                                                                         and constitute riauc:'
                                                                                                ilven
                              discovery  and could invalidate standing
  properly be shoWn tt'ough
                                                                                        have complied
                                                      efforl as dilatory. Respondents
  so, it is Siinply *".,to-"t,*u.te,i,..,",po,oents,
                                                                                                     The
                                                 only the extension   for discovery related above'
                         dates, and have soughl
  timely with scheduled

                                 is unfounded       and prejudicial'
   "   dilatory" chxaclerizalton




          InJonesv.Flowers,547U.S.220,226,l64L,Ed.2d41,5,425,126S.Ct'1708,1113Q006)

       the U.S. SuPreme Co
                           urt said:

                  ..l.Beforeastatemaytakepropertyandsellitforunpaidtaxes,theDue
              Pro ces s   cr"'        #:liiffi ;u"i*!{fl J:ffi#: ffi;:"
                                 or tr'e fourte enth
                        "
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             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 113 of 206 PageID #:113


                                                                                                            As

                                                                                       g,2075, some 12 days
                                                  scheduleal a prove-up
                                                                        for February
                                      h,rriedly
     *" r***spetitioner
                                                                                     frled their appeaffince
                               up for assignment  January 2g,2ot5 .Respondents
     after the case first came
                                                         hearing, and notifi,ed
                                                                                petitioner's attor.ney only
                                before  the non..noticed
     February 4,20!5., 5 days

     bymail,asherequir,gs.Petitioner,sattorneyrepresentedthatthenoticeofappearancedidn,t
                                                                                            as of February 4 '
                                                   though it was   of record for all to sbe
                                      Ny ,even
     arive at his offi.ce until Febru
                                          9

                                                                                                      with no
                                                     on the  clerk's  website, petitioner's attomey'
                                  to check  the case
     Apparently not bothering
                                                                                                              he
                                                                           (Petitioner's attorney represented
                            proceeded       with    theex parteprove-up.
     notice to respondents,
                                                                                g, when he returned to his office
                          y      4   appearance in the
                                                       aftemoon of February
     received the Februar

      after the   ex   Parte Prove-uP')

                                                                                                      for failing to
                                                                     to biame pFtitioner's attorney
         ,



                                          in their memorandum
          Respondents did not
                                   seek

                                                                                liis honi.alyheldprove-up'
                        courJ file of                     --- 5 days before
                                      the appearance: filed
      ldarn fro:r-r ihe
                                                                                         not causcd hy
                                                 mattet   only as "an eirot of liming
                                                                                 I
                               .ororred  to  the matter
      Indeed, respondents referred
                                                                                                       ,


                                                                                                             that
                        .we                    because    it is relevant, in tignt of counsel's contention
                             refer to it here
       *rpt ra"ntr.,,
                                                                                            hearing date was
                                        the  clerk's web-site    to learn of the plove-up
       Respondents' not checking
                                                                                statement, it rnust be
                                                                                                       noted thar' as a
                                                     In  light  of stonedry,s
       ,,negligence and/or lack of diligence.,,
                                                                                    Code places on the default
                                             cases  at least, the Civil Practice
        matter of policy in foreclosure
                                                                                                    seeking such an
                                                  that  no  appearances    have been filed, before
                                      to verify
        movant the responsibility
                                                                                                     by reason of
                                                           (d). Here,  although no defaurt occurs
                                           ard  5rz-r30r.
        order. 735 ILcs 5^5_r5oz

!r      failuretoappear,Stonedryisatternptingtotreattltemalter.asthoughadefaultresulted,
                                                                                                                    if
                                                                matter of policy, the responsibility'
                                        frorn being heard. As a
                              respondents
         consequently barring

         any,tochecktherecordregardingappealancesrestedwithstonedryasrnoydnt.
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 114 of 206 PageID #:114


                                                                       an ex parte pfove-up'
                                        the file, and having conducted
    In any case, having failed to check
                                            seeks an order which would
                                                                        deny respondents their
petitioner now by calculated overreaching
                                                                         heard' cross-examining
                                       including having their objections
due process rights in this proceeding,
                                                               plocess rights'
                                and exercising other basic due
witnesses, introducing evidence




           otherwise unlawful'


                                            effort to tum the                   ex   parte.plove-up into a default
     The cases make clear that petitioner's
                                                                                 the sole issue
                                          from being heard is unlawful' Defining
judgment of some kind barring respondents
                                                                                    the supreme
                                              the need for respondents to be heard'
in   a   tax deed proceeding, and pointing to
                                                                                       5'5 4 (       960)
                                   \l',2d5 0 6' 1 70 N'E'2d 5 5,1'                               1          :
Court said in YlunS v' Mrydden' Z0


                                                                                                       for deed
                    'lln the proceeding in thp case a\bat'the.velifiqdp:1tl'^ti
            alleged iil ;;;ffi*'"     Ir ou tr'e statutorv c?if             il,':rti?i?i:*
            #i#l?#;;;';;i;f Yrp'*'t''i";'*":::::f:l*:*#i
            ffid.ItLclear{mtffi
             il                                    ttaiog is whether the statutorY
                                                                                         d
             conditi ons rrb   r.q,r.ot   ;;;; :;i" hav"   6    rmed'
                                                               een   p   erfo
                                                                       ?oi :-t]i?Tlo* "t
                                                   but are notrequired' Pleadings
             in framing this issue *'y Ut f'dpful'
                                               provisions of the civil practice act
             beyond thataterop"lfl*"' The
                                                 in ordinary civil actions are therefore
             relating to time f", fili;;i;raLg,
             inaPProPriate"'
             (EmPhasis suPPlied')

                                              2013 rl.App.                  (1')     130463,3 N'E'3d 451          Q0l3)'
         The court tn In re county Treasurer,
                                                                              effect on deciding the sole
  discussed cases where ex         parte prove-ups rad been conducted without
                                                     1




  issue of comPliance, stating:



                  "subsequently,insaltaGroup'inwhichthepetitioner'spostsale
                                                                     expiration
                                                                         as the redemption
              notice stated a satoraJ/iri.ra       "r*"ekday
   Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 115 of 206 PageID #:115



          date, no one appeared in the trial court to objectto the issuance ofatax
          deed, but after reading the notice, the judge deemed it to be fatally
          defective. Salta Group, 201,3 IL. App. (1') 1 3 0 1 03 n 5, 37 6 Ill.Dec. 9 05,         1

          N.E.3d 617.The appellate court affrmed this decision, stating, 'The fact
          that no one objected to [the] application does not render proper an
          otherwise impioper notice.; Siita Group,2OI3IL App (1') 80t03,n20,
          376lll.Dec. 905, 1 N.E.3d 617. Furfteflnore, 'aparty should not be
          allowed to issue an incorrect notice then argue that the factthatno one
          came forward as a result of the incorrect notice nullifies the incorrect
          nature of the notice.' Salta Group, 2013LLApp (1') 130103, 1T 27,376
          Ill.Dec. 905, 1 N.E.3d 617."
          @mphasis supplied.)

      The court then discussed a case arguably even closer to the facts here,Midwest Real Estate

  Investment, as to which the Equi\t Investment court said at437:



               "...No one objected to the issuance of the tax deed and the tuial judge
          granted the applicati on. Midwest Real Estate Investment, 295 lll.App.3d at
          7 04, 23 0 lll.Dec. 45, 692 N.E. 2d' at 1212. Tfu ee days lat'er, however, the
          properly owner moved for leave to appsar in the proceedings and objected
          on grounds that the tax buyer had not "completely filled in" the notice
          form s.'Midwesi Real Estaie Intvestment, 295IlI.App. 3d at 707 ,230
.- :.'    til.pec, 45, 6gZN.E.2d atiZtL.Thetrial courtfoundthis o'ojection
 , .. ,   persuasive,vaaai.edits prior orcier, and recalled the tax deed. Midwest ileal
          Estat e Inv estment, 29 5 lll. App. 3 d at 7 0 5, 23 0 lll'Dec. 45, 692 N.E.2d at
          tzri.
      The law   is   clear   lJrrat,   despite petitioner's efforts to silence respondents, ttris matter must as a

  matter of law be detennined solely by whether petitioner has strictly complied with the statute.

  And, as will be shown, it has not.


          Before orderinqti$gAngggl a14r deed, the cpur]l4gstt find that there has been strict
          compliancewitht@

      The court's duty       is   clearly stated in 35   ILCS 200122-40:

              "35 ILCS 200122-40 fssuance of deed; possession

                  Sec.22-40. Issuance of deed; possession. (a) If theredemption
          period expires and the property has not been redeemed and all taxes and
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 116 of 206 PageID #:116




        special assessments which became due and payable subsequent to the sale
        have been paid and all forfeitures and sales which occur subsequent to the
        sale have been redeemed and the notices required by law have been
        given...and the petitioner has complied with all the provisions of law
        entitling him or her to a de6d, the court shall so find and shall enter an
        order directing the county clerk on the production of the certificate of
        purchase and a certified copy ofthe order, to issue to the purchaser or his
        or her assignee a tax deed".

    IrrNovakv. Smith, 1.97I1LApp.3d,3g0,554 N.E.2d 652 (slhOiri. tSlO;, the court frirther

 addressed the duty   ofa court:


            "A court should not direct the couhty clerk to issue a tax      deed   until it
        is satisfied that the requilements of the revenue act have been met.
        (Ill.Rev.Stat 1987, CH 120, pars 744,749; Smithv. D.R.E. Inc.,'(1976) 63
        I11,2d31,36,344 N.E.2d 468, 470.) Prior to issuance of a tax deed the
        court makes a judicial determination whether the notice and othe-r
        requiremgnts have been met;
        (Eqrphasis supplied.)


                                           'd.:

    This rnomofandurh:s thus far not f,ealt with the legal               of the substitutitn nf iuCge
                                                                 "f&.t
granted by Judge Hoffrnan Mar ch 4,ZO\5.(Petitioner's responsq clid not meet the points rnade

there, including the factthat, atthat time Judge Hoffrnan, having heard the prove-up ,made no

Jindings andno judicial determi.nation as to whether the notice and other requirements "have

been met.") Now Stonedry disingenuously asks this court to act as though such findings and

determination were made in favor of Stonedry.



    Upon Judge Hoffinan's recusal, the duty to make findings and deteminations shifted to this

court, her.successor. But for the   ex   parte hearing hurriedly pursued by petitioner without

checking whether appearances had been fi.led, a prove-up hearing affording to respondents their

due process rights could have been held. Then this court, in feaching its findings and


detenninations, could do so having had the benef,it of hearing from both sides. To maintaiq         as
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 117 of 206 PageID #:117




petitioner does, that this court should make those findings and determinations having himself

heard no witness, and having denied respondents' right to be heard, would not only be unfair and

violative of due process, it would also ignore and reject the duty placed on the court by the law.


         Stonedry,s argument that respondents would be able to exercise their due-process
         rights by recourse to ottr'rer statutes.is misleading and inaccurate.


   Petitioner, having thb impossible task of somehow justifying what it seeks -- the deprivdtion

ofrespondents' due process rights -- says those rights could be had by recourse to the provisions

of "section 22-45 of the Property Tax Code and sections2-1203 and2-1401, of the Code of Civil

Procedure," which "provide a litigant an opportunity for a hearing which would provide     atight

to examine               to present evidence, and to be heard."
             ]4esses,



   Addressing those provisions, ihe coiirl deciared in Lincoln Title' v. Notnanbhoy,2T$ flJ-

App.3   d 1209,.999   N.E.2d 7 48, 7 59   13'd   Dist. 2013):

             ,,Tuming to the merits of this issue, we note that a party's ability to set
         aside a tax deed is very limited. See 3 5 ILCS 200 122-45, 22-5 5 (West
         2010). under section 22-45 of the Property Tax code, there ale only three
         ways in which aparty may challenge atax deed; (1) by filing a direct
         appeal fiom the order directing the issuance of the deed; (2) by filing a
         motion for relief under section 2-1203 of the Code of Civil Procedwe (735
         ILCS 512-1203 (West 2010)); or by flling apetition for relief under section
          2-140I of the Code of Civil Procedure. Section 22-45 further limits the
         grounds for which relief from a tax deed may be obtained under section 2-
          1401to the following four situations: (1) where there is proof that the
         taxes were paid prior to sale; (2) where there is.proof that the property.was
         exempt from taxation; (3) where there is proof by clear and convincing.
         evidence that the tax deed had been procured by fraud or deception by the
         tax purchaser or his assignee; or (4) where there is proof that a party with
         a recorded ownership or other recorded interest was not named in the
         required publication notice arid the tax purchaser or his assignee did not
         make a diligent inquiry and effort to serye that party with the required
         notices. 35 II.CS 200122-45 (West 2010)'
 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 118 of 206 PageID #:118




    What petitioner seeks to do is not only to deprive respondents of their due.process rights, but

to misinform this court to the effect that other legislation would provide those rights, as opposed

to providing litigants app[lib]9.opportunity to qualifu to g2gkahearing. That misrepresentation

of the law is further evidence of the fog of fraud still being generated by petitioner.



         The strict compliance requifgll bllla.w

    The remainder of this memorandum states       in   greatw detail some ofthe objections


respond.ents have previously raised to Stonedry's application, which unequivocally show that        its

application is fatally defective and that it is not entitled to atax deed. Before doing so it is usefu1

to look briefly at the "strict compliance" standard governing Stonedry's application'


   Ir Midwest'Real Estate Investmeni, ibid.,     the court declared:

             *We recogni ze thatour decision today may be looked upon as a rigid
         and legalistii applicaticn of tte slriii compliance language from section
          22-40 lof lhe Codgl . i{or,r'evor, [this ionclusion. is consistent'withr the
         legislature's apparent intent regarding notices]. Moreover, we view the
     .   stafue's strict compliance language as abulwark. By opening the dike to
         permit'any omission - howev'er minute - of statutoiily required
         information, we may unintentionally encourage a flood of litigants
         seeking ease-by-case determinations of the strict compliance
         boundaries."
         (Emphasis supplied.)



   The law stated in Midwest and other cases was emphasized,inEquity One Investment Fund

  Williams, 2013ltl. App. 3'u 463,3 N.E.3d 431 (1't Dist. 2013), where the court said:

         .   There must be strict compliance with the statute and when there are
         substitutions or omissions on a notice form. the tax buver is not entitled to
         atax deed. We do not need to incluire whether'Williarns actually received
         the deficient section 22-5 post-sale notice and suffered any prejudice or
         confusion as a result of the omission of the city name; prejudice is
         presumed. (3 N.E.2d at438)

                                   ,(
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 119 of 206 PageID #:119




                We hold that Equity One's post-sale notice form to Williams was not
            ,,completely filled in", as required by our legislature. 35 ILCS 200120.5
            (west 2008). Because a deficient notice is not regarded as any notice
            withinthe meaning of the statute, the trial court properly denied the
            application fot atax deed."
            (Emphasis suPPlied.)



.     'We
            now examine the ways in which Stonedry's notice failed to comply with the statutory

requirements.




      A copy of Stonedry'   s 22-5 notice attached   to (Exh. C) its application for deed is appended

hereto as Exhibit C. The differences from the statutory 22-5 notice are marked on the face of the

Exhibit, and a.copy ofthe statutory form is attached as Exhibit C-1.


            Stonedry's failure to eox[ptr-with thg statutg is plso sho.wn on the facq of its ?2-1!
            notice.


      A copy of Stonedry's22-L} notice (Exh. E) shown in its application for deed is appended

hereto as Exhibit E. The differences from tlie statutory 22-10 notice are mar-ked on the face     of

the   Exhibit, andacopy of the statutory form is attached      as   Exhibit E-1.


         Stonedry's failure to cpmply with the statute is also shown on the face of its 22-25
         RdEE.


      A copy of Stonedry's22-25 notice @xh. F) shown in its application for deed is appended

hereto as Exhibit F. The differ.ences from the statutory 22-25 notice are marked on the face      of

the Exhibit
  Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 120 of 206 PageID #:120




            'published notice.



      A copy of Stonedry's mailed notice (Exh. G) shown in its application for deed is appended

hereto as Exhibit G. The differences from the statutory notice are shown on the face of the

Exhibit.


            Stonedrv,s action's in this case are fraudulent. making cleaf that it is not entitled to
            a tax deed.

      As quoted above, the U.S. Supreme Court and the Illinois Supreme Court have held that the

opportunity to be heard is essential "before a state may take property and sell it for unpaid

taxes". The legislature has imposed the duty of notice to enable hearing on the tax buyer, here

'Stonedry..



      However, Stonedry here l',as r.n"de erreirr effort to assure that respondentd are not heard [itst.

Stonedry, violating the policy that requires checking the record for appearances, scheduled and

conducted an         ex   parte prove-up and, upon learning that m appearance had been filed five days

before, refused to rectify the matter. Second, Stonedry, wholIy contrary to the law, and in

violation ofrespondents' right to be heard, has sought to have this court enter      a   tax deed even in

th"                         described and without respondents being heard. Fourth, Stonedry has
      "ir",r*rtances
rnisrepresented the law regarding respondents' rights to be heard in an effort to vacate the tax

deed   it   seeks.



      Finally, Stonedry, which knew or should have known that its notices are facially andfatally

defective, have nonetheless represented to the court by its petition and application that it is

entitled to a tax deed.



                                                        10
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 121 of 206 PageID #:121




     These actions underrnine tho Property Tax Act; are fraudulent within the meaning of the

legislation and cases, and showthat Stonedry is not entitled to atax deed.


                                         CONCLUSION


 .   No tax deed can properly be ordered without hearing respondents. No further hearing is

needed, however, in light of respondents' showing here that Stonedry's notices are fatally

defective on their face, carurot entitle it to a tax deed, which would otherwise be precluded by

Stonedry's fraud in seeking to silence respondents




                                                             Respectfully submitted




                                                                  BarbwaRevak



                                                     * b=^t"-L^'t^\*
                                                        '/  \
                                                           Cook   \ Bruce




                                                                Rufus Cookipro-se




Law Office of Barbara Revak
Aftorney No.58121
Law Office of Bruce L. Cook
Attorney No. 39081
Rufus Cookrpro se
74115. Stony Island Ave
  Chicago,IL60649
. FaxNo. Q73)1s2-5151
Telephone No. (773) 752-2000.


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I

I
                 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 122 of 206 PageID #:122
I


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i

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            I




            I      Improper notices shown in Exhibit L4 as not in strict compliance
                          with designated section of Property Tax Code:

                Exhibit | 4C _ 22-5 T ake"notice:
                i. added language "plus any and all statutory penalties interest and costs."

                ii. "substituted "County Court House" for reqtrired "office of the county clerk".
                iii, Misspelled statutory "furthero' as futher"


            ;   Bxhibit 14E*purchaser's z2-lotakenotice:
                i. substituted "county court house'o for "office of the County Clerk".

            i   tsee Exh. L4E-l for eorrect form.)



                Bxhibit   L4F   - Clerkos take qotice
                i. substituted "County Court Horrse" for "Office of the County Clerk".



                Exhibit 14G - Published Notice:

                i. substituted "county Court House" for offrce of the County Clerk."

        i




        I
    I




    I




                                                                                                    Ex. 14
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 123 of 206 PageID #:123




                                               TAKE NOTTCE
County of Cook
Date Premises Sbld JanuarY 7 ,20.14
Certificate No. 135-0000933
Sold for General Taxes of 2009-2011
Sold for SpecialAssessment of (Municipality) and
                                                                                      rE'.-,Y[:d]3jllH
                                                                                                         apr<   fr $ lnt,r   6
Special assessment number - Not Applicable
Warrant No. - Not Applicable lnst. No. -. Not Applicable

       '            tHts pRoprRly Hns eErl'{ solo roR nrttNlourNt'tAxrs

Property locatioh -7411South Stony lsland Avenue, Chicajgo, lllinois

Permanent Index No. 20-25-131 -004-0000

           . This notice is to advise you that the above properiy has been sold for delinqueni iaxes
and that the period of redemption frorn the sale will expire on July 7,2014.

        This notlce is also to advise you that a petition will be filed for a tax deed which will
transfer title and the right to possession of this property if redemption is not made on or before
July   7,2014.

       At the date of this notice the total amount which you must pay in order to redeem the'
above p ro pe rty is g2B 1, 1 96.45 p+ue+nyand-ail"stefi*oqFpenalties#'nteres*+n+effik.-

                            YoL' AtlE uRGEfl    IJ
                                              tsEDEEM IMMP.IATELYTO
                                    PREVENT LOSS OF

 ,     Redemption can.be made at any time on or beforq July 7, 2014by applying to the
County Cld;k of Cook County, Illinois at the Gerin$€e+d{ieusein'Chicago, lllinbis.

           rhe above amountis subibci to      in*i/rf,'f-,/#n,ftny,"A ff{r:#*or           sare.
Check with the County  Clerk  as t'o ttre  exact amount you owe    before redeemin'g. Payment must
be made by certified check, cashier's     check, money  order, or in cash.
                             R




                     Address.: 118 North Clark Street,  4'th FIoor, Chicago,   lL   60602
                                         Telephone: (312) 603-5645

                                           Gammadock, LLC
                                           Purchaser orAssignee
Dated:         April23,2014

Mail To: Rufus Cook AttorneY
         74115 StonY lsland
            Ghlcago,   lL   60649-3613

#'l3s-9008



                                   EXHIBIT   _D_
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 124 of 206 PageID #:124




            200122-5.'Noticriofsalb'aiidiiirdernptionrilghts .
                                                                                          :'    '


          ii g 2.rt ;Notice o{lsale ana rea'bription rights..'.In drder to be entitled to a tax
            abta,iritti, 4 months.and i5. riayp after any sale.held under this Code, the
           ,purbhaser or his,or her asgignee $hall deliver tor thb'county clerk a notice to be given
            itr ttte'nartv in whose nbirie the tlaxes hrd last irssessdd as sha.vm by the most recenL
           :iax'ai:Uect6rls war.rrint .bqoks,..ih.at'leest lQ,point,lypp.ia lhe followi4g form

           '                                       TAI{E NOTICE

          .,'County.of .'.,.,....r.,.,.,.              ?.r.,;r.:,...,:.,:.,
                                               ,..:.
            ...'Certificatb.No,....'......'...:.l,ii,..;..:....'....
               Soldfqr'GeIeral',Taxes.ot(iear)i,'.;.....'...:.'....'.......1i,'...i....',r..-'1...':,




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       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 125 of 206 PageID #:125



                                                                                                       PV
                                                             city ofchicago; boo.k & Revak; Rufus L'
    roi   Rritu.s cook Attorney; The Ridgerand corporation;
                                           metill'  corp.; occupants or persons in actual possession
    ;;;ii!;t;*       J nevat<; occupant;
                                                 clerk of Cook'County, lllinois; unknoWn owhers and
    of real estate hereinafieidescrined;.county
    parties interested in said real estate'

    TAX DEED NO. 2O14COTDOO2392
                                                                    Filed   July   9,2014

                                               TAKE NOTl,gE
                        CountY of Cook
                        Date Premises Sold January 7 ,2'014
             '          Certificate No. 135-0000933
                        soiO for GeneralTaxes of 2009-2011
                        Sold for Special Assessment of (Muhicipality) and
                        Special assessment number (Not Applicable)
                        Warrant No' (NotApplicable) tnst' No' (NotApplicable)




    property located at: 7411 South stony lsland Avenue, chicago, lllinois
    Prbperty Index No. 20'25'131 -004-0000
                                                                            been sold for delinquent taxes
             This notice is to advise you that the aibove properly has
    and that the period of redemption frgm the sale
                                                         will expire on January B' 2-015'
         .,  ,fhe
                  amoun! to oO."i-,i ir subject to increase at 6-monih intervals
                                                                                     from the Cate of sale
                                                                   saie or nis or her assignee.pays any
    anit may'il?rrtGiin.reased ii the [,i-r,i,:ri.:e,r at tire tax
    ;;;til;."tfy aicruing i*U            tp"liul assessments to redeem the property from subsequent
                                     it *itt.l
    forfeitures or tax sateJ. trlu.r,     t.     county clerk as to the exact amount you owe! before:
    redeeming.
    '"."""''irrj, notic" is also to advise. you that a petition has been filed for a tax deed which will ,


                                                        property if redemption is not made on or before
    transfer tiile and tne righito possesiion of this
    JanuaryS'2fl11*,"
                          is set for hearing in the circuit court of cook county, in
                                                                                        cburtroo m 1!o!.
                                                                    lllinois, 60602 on January   28,2015 al
    Richard J. Daley cuni.i, so West Washington, Chicago,
    9:30 a.m.
             you may be present at this hearing but your right to redeem will already have expired at
'   that tirne.
            U
                                                                    PREVENT LOSS OF PR.OEE
                                                                                    to the countv
    Redffition  can be made at anY t
    Clerk of Cook CountY, Illinois at th                   ffirmgf,r4'#rn:|Jl'n
                                 fu
                    Address1 1a North Clark Street, 4n Floor, Chicago,         IL 60602
                                   Telephone: (31 2) 603-5645
                                                         Stonedry; LLC
    MICHAEL J. WILSON &ASSOCIATES
    Michael J. Wilson
    Attorneys at Law
    309 West Washington Street, Suite 1200
    Chicago, lllinois 60606                                 Purchaser or Assignee
    312-,781-9510                                           Dated July 9, 2014"


                                                               ,1
    #13S-9008
                                                 cxHren--L-
       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 126 of 206 PageID #:126

       NOTICE TO OWNERS AND          C
                                   UPANTS
                     lN THE ClRt tJlT COURT OF COOK COUNTY, lLLII"ulS

      TAX DEED irtO. ZotacoTD002392                                   Filed July   9,2014
                                                                                                  3PY
                                                 TAKE NOTICE
                           CountY of Cook
                           Date Premises Sold JanuarY 7,2014
                           Certificate No. 13S-0000933
                           Sold for GeneralTaxes of 2009-2011
                           Sold for Special Assessment of (Municipality) and
                           Special assessment number (Not Appl!cqble) '
                           WarrantNo..(NotApplicable)Inst.No.,(NotApplicable)

                   ,   THIS PROPERTV HAS BEEN SOLD FOR DELINQUENT-'-'--
                                                                   TAXES

      properly located aI:', 7411 South Stony lsland Avenue, chicago, lllinois
      Property lnd'ex No. 20-25-1 31 -004-0000
       This notice is to advise you thai the above property has been sold for delinqueni taxes and that
       the period of redemption from the sale will expire o.n January 8,2015.      .



                The dmount to redeem is subject to increase at 6-rnonth intervals from the date of sale
       and may be further increased if the purchaser at the tax sale or his or her assignee pays any
       subsequently accruing taxes or special assessments to redeem the property from subsequent
       forfeitures or tax salei. Check with the County Clerk as to the exact amount you owe before
       redeeming.
                Th'is notice iq also to advise you that a petition has been filed for a tax deed which will
       transfer tile and the right to possession of this properly if redemption is not rnade on or before
       January B, 2015.
     :---r     :tt.,ir rnetter is set for hearino in the Circuii Corrri of Cook County, in.Gourtroom 1704,
      'Richaid J, Daley Center, 5.0 West llrasiringtor,, Cl1icag6, lliincis, 60602 on'January 28,2015 at
      9:30 a.m.
              you may be present    at this hearing but your right to redeem will already have expired at
      that time.
        . YOUAR             ED TO                                       VENT L                   PERTY
                                                                                            to the County
      Bi.liltmilffi         ,ilif ffi :Tfi ',J##H:+?*ffi1H',3neq#:ilfi SiJl:
                       FOR FURTHER INFORMATION CONTACT THE COUNTY CLERK
                         Address: 118 North Clark Street, 4th Floor, Chicago, lL 60602
                                    Telephone: (312) 603-5645
      Stonedry, LLC
      Purchaser or Assignee

                                                     Clerk of the Circuit Court
                                                     Datecj July 9,2A14
      MAIL TO FOLLOWING PERSONS:
 I    A) Rufus Cook Attorney,74l1 South Stony lsland Avenue, Chicago, lL 60649
      njffre Ridgeland Corforation, Serve-Rufus Cook, FyA, 7330 South Ridgeland Chicago, IL
      60649
it
      C) The Ridgeland Corporation, Serve-Rufus Cook, WA,7411 South Stony lsland Avenue
      Chicago, IL 60649
      D) Th; niOgeland Corporation, Serve -'lllinois Secretary of State, 69 West Washington,l2th
 I
      Floor, Chicago, lL 60602, ,
      E)Cook & Revak ,7411South Stony Island Avenue, Chicago, lL 60649
 I




      n) Rufus 1.. Cook, 241 1 South Stony Island Avenue, Chicago, lL   60649                       f
 I
      G) narbara J. Revak, 7411 South Stony lsland Avenue, Chicago,.lL 60649 EVulDtr V
 I



      Hj Occupant,7411 South Stony lsland Avenue, Chicago, lL         60649        trnnlDll I
      l) The 74,11 Corp,,7411 South Stony Island Avenue, Chicago, tL 60649
      #13S-9008
               DOROTHY BROWN, GIER,[( OF THE GIRGUIT GOURT CIF COCIK GOUNTY
                                                                                                        -
                        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 127 of 206 PageID #:127


                                                                   C    .TtrF'ICATE OF PUBLICATION


                                                                                                                        Tor Rufus Cook Attorney; The             RidEeland
                             CaSe   No. 2014COTD00'B92                                                                  Coioorationr CiV ot Chlcago; Cook
                                                                                                                                                                 &   Revak;

                                                                                                                        nutusCootr gabara J. Reqakl occupant;
                                                                                                                                    f,
                                                                                                                      in. z+i: coip.t occupants or persons in
                                                                                                                    '""tual
                                    2fr-25-131,-004-0000                                                                    oosssion of real estate hereinafter
                                                                                                                        JescriUeO; County   Clerk of Cook County'
                                                                                                                        ttinoisr unknown ownets and parties
                                                                                                                        int.i.tLa in *iU real estate. TAX DEED N0'
                     LAW tsULLET'IN PUBLISHING CO.                                                                      2014CoTDOO2392Filed Jul)/ 9, 20i4
                                                                                                                                               TAKE NOTICE
                                                                                                                        Countv of Cook

                                                               it is the publisher of                               -      O.t Premises Sold January         7, 2014 .
                   does hereby certify that                                                                                      Certificate No' 135-0000933.
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                     CHICAGO DAILY LAW BULLETIN                                                                       '
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                                                      of publication  of the
              ;;;;#;;. yfar prior to ttre first datecirculation  throughout
                                                                                                                            lsland Avenue, Chlcago, llllnols
                                                                                                                                Prooertv lndex No. 2O-25-131-004-0000
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              ;rtde;',,;rddtat", th;titis i"*tpup"t                      as defined        |A1                              above property has been sold lordelinq-uent
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              il;;;ilthe         law in ielation to^nitices"'. as'amended'                                                  the sal6 will expile on January 8,
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              Illinois Compiled Statutes (715 ILCS 517 & 515)' and that the                                                                      redeem is subject to
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                                                                                                                                                              the date
                                 was p'fUtt"a in the said
                                                                CIIICAGO                                                    increase at 6-month lntewals from
              notice appended                                                                                               oi      anu may be further increased if the
                                                                                                                                  iii.
                                                                    22,23'20L4                                              ouichaser at the tax sale or his
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              iji.u.v-iiw BuLLETIN                 on Ju121,
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                                                   has caused this certificate to be                                        orooerV fom subsequent forfeitules or tax
              In witness thereof, the undersigned                                                                           lads, ihectrwitfr tne county Clerk as to the
                                       seal affixedat Chicago' Illlnols'
              signed and ils corporate                                                                                      exact amountyou owe before redeemlng'
                                                                                                                               This notice is also to advise
                                                                                                                                                               you that a
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                                         JilLY 23,20L4                                                               iit iiansfer        title and the riBht to po::esslon
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                           LA\ry BUi.LETIN PUBLISIIIN.G CO.                                                                                set for hearlng In the
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                                                                                                                                Chcuit eourt of cook County, ln Courtrooln
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                                                                                                                                January 28, 2015 at 9:30.a m'
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                                                                                                                                        YOU ARE URGED TO REDEEM
                By.                                                                                                                IMMEDIATELY TO PBEVENT LOSS OF
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                                                                                                                                    RedemDtion can be made at any tlme
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                                                                                                                   ,/'- i;              further information contact the
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                                                                                                                                               118 North Clark Skeet, 4th
                                                                                                                                Floor, Chicago, lL 60602
                                                                                                                                   Telephone: (312) 603-5645
                                                                                                                                   Stonedry, LLC
                                                                                                                                   Purchaser or Assignee
                                                                                                                                    Dated JulY 9, 2014
                                                                                                                                t617471
                                                                                                                                Jd 21,22,23,2014




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                                                                         CASE#: 2014COTD00Z39Z LB#:             1617 47 7
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             Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 128 of 206 PageID #:128




                                  IN THE CIRCUIT COURT OF'COOK COUNTY, ILL${OIS
                                       COUNTY DEPARTMENT, COI]NTY DIVISION


            IN THE MATTER OF APPLICAIION, ETC.                                         )
                                                                                       )
                                                                                       ) Case No. 2014 COTD 002392
            PETITION OF StonedrY', LLC                                                 )
            FOR TAX DEED                                                               )
                                                                                       )



                                                                        I\OTICE_QF F',rr,n$G


            TO:       MICIIAEL J. WILSON & ASSOCIATES, P.C.
                      309 West Washington Street, Suite 1200
                      Chicago, Illinois 60606
                      Phone: (3i2) 781-9510
                      Fax: (312) 781-9511

                    PLEASE TAKE NOTICE that on Jwe29,2015, we caused to be filed with the Clerk of
            the Circuit Court of Cook County,Illinois, Richard J. Daley Center, Chicago,Iliinois REPLY
            REGARDING WHETIIER A SUCESSOR. JTIDGE MAY SIGN UNSIGNED
            TR,ANSCruPT OF' EX PARTE PROVA]-ITP IV,IADE TiETOITE SUBS'TITUTED JUDGE, A
            copy of which is hereby served upon you.




                                                                                                  Respectfully submitted


                                                                                       By:
                                                                                                         Barbara Revak


                                                                                               R."            LR*       coaK-
            Law Office of Barbara Revak                                                                     Bruce Cook
            Attomey No .58121
            Law Office of Bruce L. Cook
            Attomey No. 3908i
It          Rufus Cook, pro se
     ,lrl
            7411 S. Stony Island Ave                                                                   Rufus Cook,pro se
            Chicago, n,60649
        I




            FaxNo. (773)752-51s1
            Telephone N o.       (7   7   3)   7   52'2000
        i
            In,the.Matter.of.Stonedry.Not of.Fil.Cert.of.Serv.by.Mail.re.Reply,re.Judge.Signing,Transc.of.Prove.Up.BR.gb'6.29.15


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          Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 129 of 206 PageID #:129




                I, BarbaraRevak,                                                15,I caused a coPY of
         REPLY REGARDING WIMTIIER. A SUCESSORJUDGE MAY SIGN UNSIGNED
         TRANSCRIPT OF' EX PARTE PROVE.T]P MADE BEF.ORE SUBSTITUTED JUDGE tO bE
         mailed to the above named party by depositing a copy thereof, postage prepaid, into the U.S. Postal
         Box located at the corner of 75fr and Stony Island Avenue.




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        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 130 of 206 PageID #:130

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              Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 131 of 206 PageID #:131




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                                               coIll\T'Y DEPA.RTMEhIT" couhTTY DIVTSToN


                IN TI-rE MAmER OF APPLICATiON; ETC.                                         )
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                                                                                            ) CaseNo. 2014 COTD 002392
                PETITiON OF StonedrY, LLC                                                   )
                FORTAX DEED                                                                 )
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                                   ITESPONDEI\T'S' CIT'AT'IOhI OF ADDNT'NON,AN"{UT'ENORITY
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    rl              Responclents herein hereby call the corut's attention to. the
                                                                                                            following authority, copies of
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                whiclr   ue    attached,hereto and have previously been fi-['nished to                          plaintiff s counsel' The

                                                                                                                                          (2"d Cir'2007),
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                                                                                                                     Bluce Cook
                  Law Office of BalbaraRevak
                  Attorrrey No . 5&l2l
                                                                                                                     n
                  Law Office of Bruce L. Cook
                  AttomeyNo.39081                                                               By:
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                                                                                                                                                L-/r,*1-/
                  Rufus Cook, Pro se                                                                  -- l-R de;ft,pro se
                                                                                                            t'lu''
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                  74L15. StonYIslandAve
                  Clricago, tr- 60649
                  FaxNo. (773)752-5151
                  Telephone No. (773) 752-2000


                 Irr.the,Mattcr.of.stoncdry.Responilents.citation.of.Attclitional'Authority'ER'gb'LL24'75




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 132 of 206 PageID #:132




                         nN   THE Crltc{ilT' COIIRT O}'COOK CO[X\TY, rLLniOrS
                                COUI\T'Y DtrPARTMENT', COTINTY DIVISION


   IN TI-IE MATTER OF APPLICATION, ETC'                                       )
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                                                                              ) Case No. 2014. COTD 002392
   PETITION OF StonedrY, LLC                                                  )
   FOR TAX DEED                                                               )
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                                                                NOTICE OF'F'IN,I]\G

   TO:       MICI-IAEL J. WILSON & ASSOCiATES, P'C'
             309 \Mest Washington Street, Suite 1200
             Chicago, Illinois 60606
             Phone: (3tZ) 781.-9510
             Fax: (312) 781.-9511

          pLEAStr TAI(E. NOTICE that onNovember 24,2015,we caused to be filed withthe
                                                                              chicago,Illinois
   clerh oflhe circuit corut of cook county,Illnois, Richard J. Daley center,
                                                                               Of U'hiQiT iS,hC':Cb3'
   RESPONDENTS' CITAT'ION C.F.A,}F}trT'IOi.iA.T, ALITI{ORTTY, A COPY                                                                       .-,
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                                                                                                 Barbara Revak.'' -
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                                                                               ,r'Bru^-o^, Ca*L/*-
                                                                                                     Bruce Cook
    Law Office of Barbara Revak
    AttorneyNo. 58121
    Law Office of Bruce L. Cook
    AttomeyNo.39081
    Ruftts Cool<, pro se
    7411 S. StonyIslandAve
                                                                                                Ruflis Cook,pro   se

    Clricago,    tr- 60649
    FaxNo. (773)752-5lsl
    Telephone N o. (773)         7   52-2000


    In.the.Mnttcr,of.Stonedry.Notof.Fil.Ccrt.of.Scrv.by.Mail.re.citntion.of.Additional.Authority.BR,gb'11'24'15
      Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 133 of 206 PageID #:133




                                   CERTIF'ICA.TE OF' SERVICE BY MATt

          .     I, BarbaruRevak,    an attorney, hereby certify that on Novemb er 24, 2015 ,I caused a copy
         Of R,ESPONDENTS' CIT'ATION bN' RNNITTONAX.'AUT'I{ORIT'Y tO bE
                                                                                         MAilCd tO thE
         above named. party by dep-ositing a copy thereof, postage prepaid, into the U'S' Postal
                                                                                                 Box
         located at the corner of 75''' and Stony Island Avenue'




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 134 of 206 PageID #:134



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                                       Applying the folegoing interpretation of                   '
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                                  Jirito.Owners,. Insurangg . Company                    .   son, J.,.agairt tnteitcli judgment i+ifeivttl
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                                  merib in'favor of Maclison Mutual,                         oir transcdipb .of plaintiffs case-in:clt
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 135 of 206 PageID #:135



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       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 137 of 206 PageID #:137


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                                               'talten his',case alvay fi:om the.coru:L or
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                                            d.ence'vas heald by a rnaster; in ehancery
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                                           conclusions of lary' and. fact tq .the .ti'ial
                                           judge,. Later', the llaintiffs complaint.was
                                           llismissed for'.failgre;to )mrye p nece$sary
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                                           tion, the, case lvps leferred, to a diffei'ent
                                           master (the second .r.nhqiei').' Thg.secbnd
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                                          trial. judge. clisrnissed the amenddcl cOni-
                                          plaint "for ivant.of equity.l' Mitlsi. AOTiIlt:..
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                                          pealed., When Jhe Caser.feached the.sw
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                                          fthe fir'st master{'on. the previons'refer'- court, 'due proeess ryr4n{ate_qi thati jJall',tr
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 141 of 206 PageID #:141


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                              Ilotscl4 the pr"erlecdssor judge toolc. testi.
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                              to the procedure, The tlial court denied.
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                Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 142 of 206 PageID #:142


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        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 144 of 206 PageID #:144



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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 145 of 206 PageID #:145




           E,XHIBIT
            INDEX

                    EX. 16
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 146 of 206 PageID #:146



                                    SETTLEMENT AGREEMENT

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 I
                This Settlement Agreement is made as of the     1   "   day of Decemb er, 2075, by and between

       .Stonedry, LLC. ("Stonedry''), ancl The Ridgeland Corporation., Cook, Revak & Associates Ltd.,

        Rufus Cook, individually, BarbaruJ. Revak, individually, 7411 Corp., and7417 Services Corp.

        (collectively referred to as "Respondents").

                WHEREAS, STONEDRY owns the2073 scavenger tax sale certificate for the property

        known   as   permanent index mrmber 20-25-L31-004-0000 (the "Property'').

                WHEREAS, STONEDRY filed          a   Petition for Tax Deed in the Cirbuit Court of Cook

        Countyknown as case number 201.4 COTD 002392.

                WHEREAS, the period of redemption for the tax s-a1e for the property expired on January

        8, 207s,without redemption

                WHEREAS,.Stoned4r coi:clucted a hearing in case number 2014 COTD 0023.9? on

        February 9,2015.

                WHEREAS, Respondents filed an Appearance in case number 2014 COTD 002392 and

        have raised defenses thereto.

                WHEREAS, Respondents wili submit to the Court an Agreed Order withclrawing any and

        all objections to the tax deed proceeding and agreeing to the entry of the Order Directing County

        Clerk to Issue Tax Deed.

                WHEREAS, STONEDRY and Respondents now desire to resolve the matter on the terms

        and conditions hereinafter set forth;

                NOW TIIEREFORE, for and in consideration of the promises and representations herein

        set forih, and for other good and valuable consideration, receipt of which is hereby

        acknowledged, each of the parties agree as follows:



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          Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 147 of 206 PageID #:147
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                       1.        STONEDRY, in consideration of the mutual promises and undertakings set out
      I




             herein,   will   do the following upon and at the same time as submission to the court of the Agreed

             Order referred to above:

                  a.    pay to The Ridgeland Coqporation,    which is hereby designated by Respondents to

                       receive payrnent on their behalf, a cashier's check in the amount of eighty thousald

                       dollars ($80,000) by Decemb et 2, 2015    -



                       2.       Michael J.'Wilson & Associates, P.C. shall submit the clocuments necessary to

             cause the Circuit Court of Cook County to enter an Order Directing County Clerk to Issue Tax

             Deed to STONEDRY and for the Court to enter an Agreed Order for Possession for the subject

             property. The enforcement of the Order for Possession shall be stayed until April 7,2016. The

             Court shall also enter a Motion to To11 the running of the time which Stonedry, LLC has to have

             the Tax Deed issued and recorded the number of clays between when Respondents filed their

_t
      i      Appea.rance and the cla;. pio=4onn enters the Order Directing Coqnty Cierk to issue T'u< Ileed to
      l




             Stonedry.

                       3.       Upon entry of said Order, Michael J. Wilson & Associates, P.C. shali take the

             necessary steps to have the Cook County Clerk issue the Tax Deed to STONEDRY and have
                                                                                                                it

             recorded in the Office of the Recorder of Deeds of Cook County.

                       4.       The parties further agreethatif either partybreaches this Settlement Agreement,

             the breaching party sha1l be liable for and shall indemnify the other party for all costs, expenses,

             liabilities, and fees, including reasonable attorneys' fees, that may be incurred as a result of such

             breach, in addition to such other remedies that rnay be available atlaw or in equity, including
                                                                                                             but

             not limited to specific performance.




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     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 148 of 206 PageID #:148




                   5.      Each of the parties hereto shall bear its own costs and attorneys' fees with respect

           to the action and the preparation and execution of this Settlement Agreement and all documents

           required herein.

                  6.       Respondents shall be entitled to exclusive rent-free possession of the subject
      I1                              6,[tL'     B   n-
           propertyuntil April 1,z\fr,'except dat Stonedry shall have the right to rent advertising space to
N/
U tr       others on the exterior north and south walls of the property, and to receive the income therefrorn.

           Respondents shall provide Stonedry with access to the subject property for the purpose of renting

           advertising space on the exterior north and south wa1ls of the property and also for the purpose of

           marketing the property for sale, which includes placing "For Sale" signs on the property, and to
                                                                                     -asi*tr e,er j-a;ke h***'
         confinn the condition of the property, including but^not limited to confimingit dtto pipes have
                                                             64e Pa.th*-' <ex*,*--r\eC;\-'j tt-+ .i-
       , burst and no water damage exists due to lack of heaS Stonedry shall provide Respondents with oJ
                                                                                                                    at. l:r'
           no rrore the forty-eight (a8) hours advance notice of when access to the property will      be         l*s "$",      h
                                                                                                                 (Ie-tPa )
           required.    R.espoudentsrdo nof need-to provide Stonedry with access to the ptopert)r orr'surrdays.          le1
                                                                                                              (L* S pr",       &
           In the event that Respondents do not provide Stonedry with access       as   hereby provided,   the   .,-, ,'B*'.   J
                                                                                                                        Jn,
                                                                                                                         '"-(
           condition of the property has deteriorated due to lack of care or insufiicient heat, or any     freezing

           or breaking of pipes occurs, Stonedry can file Petition for Order for Possession      "instanter".    'f'
                                                                                                              ffi
           Respondents shall return the subject property in same condition as it appeared on the date of this
                                                                                                                I
           Settlement Agreement, less normal wear and tear. In the event that the subject property is         not
                                                                                                                               {,
           retumed in the same condition as it appeared on the date of this Settlement Agreement,

           Respondents sliall be personally liable for any and   all   darnage to the subject properly that


           insurance does not   cover.   On the date of this Settlement Agreement, Respondents shali take


           such steps as are necessary that no freezing or breaking of pipes occurs anywhere in the property,

           which steps may include heating or draining water from pipes to assure that no fieezingof water

           and pipes occurs.




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     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 149 of 206 PageID #:149



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                   7.    IntentionallyOmitted.

                8.       This Settlement Agreement is the entire agreement between the parties pertaining
 I
-l
        to the subject matter hereof constiturting the final, complete, and exclusive expression of the

        terms and conditions thereof. All prior agreements, representations, negotiations, and

        understandings of the parties hereto, oral or written, expressed or implied, are sllperseded and

        merged herein.

               g.        If   any terms or provision of this Settlement Agreement or the application thereof

        to any person or circlmstance shall, to any extent, be invalid or unenforceable, the remainder of

        this Settlement Agreement or the application of such term or provision to persons or

        circumstances other than those as to which     it is held invalid or unenforceable, shall not be

        affected thereby, and each term and provision of this Settlement Agreement shall be valid and be

        enforcecl to the fullest extentpermitted   bylaw.

                10. . . No a.ddition'to ormodification of anyprovision containecl in this     SettJe'rnerrt


        Agreement shall be effective unless fu1ly set forth in writing signed by all the parties hereto. No

        waiver of any rights hereunder shall be effective unless flilly set forth in writing signed by the

-l      waiving party.

                1   1.   The parties agree to request that the Court retain jurisdiction of this matter to

        enforce the terms of tlie settlement agreement and to enter an Order for Possession.

                   12.   The Settlement Agreement may be executed in counterparts, each of which shall

        be deemed an original, but all of which taken together shall constifute and be one and the
                                                                                                   same


        instrument.

                   13.   The Ridgeland Corporation shall provide Stonedry LLC with a Warranty Deed

        (subject    to 2009-2014 genad,real    estate taxes) to the subject   property. Cook, Revak &




                                                                                                               {i
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 150 of 206 PageID #:150



    Associates,   Ltd.; Rufus Cook; BarbaraRevak; The7411 Corp.; and7411 Services Corp.;will

   provide Stonedry LLC with Quit Claim Deeds to the subject property.

             14.    Respondents and/or anyone with whom Respondents are affiliated agree not to

   file any litigation regarding property known   as permanent   index number 20-25-137-004-0000,

   including but not limited to, a Petition to Vacate Order Directing County Clerk to Issue Tax

   Deed ancl For Other   Relief.   Respondents attest that other than the named Respondents in this

   Settlement Agreement, no other parties exist that have legal standing to file any litigation

   regarding property known as permanent index.numb er 20-25-131-004-0000, including but not

   limited to a Petition to Vacate Order Directing County Clerk to Issue Tax Deed and For Other

   Relief.

        - 15.       If Respondents or anyone with whom     R-espondents are affiliated   file any litigation

   to contest the validity of this Settiemenl Agreement for the property known by permanent index

   nrrmber 20-25-1-11-0Q.4.6000 or"to vacate the Order Directing County Cle;rk to    ki-que 1 a>l   Deed


   and For Other Relief, Respondents are obligated to pay Stonedry's or its successor's or assign's

   attomey fees and costs required to litigate said litigation and the attorney fees and costs required

   for Stonedry to obtain title to the subject property.

             76.    A landlord-tenant relationship is not hereby created between the parties and

   Stonedry is not the land.lord. of Respond.ents and Respondents are not the tenant of

   Stonedry. Stonedry does not waive its right to obtain an ord.er of possession in the tax deed

   proceed.ings in case of d.efault on the part of Respondents     in any of the terms and conditions

   of this agreement and. Stonedry shall have the right to obtain an order for possession in the

   tax deed proceedings out of which Stonedry acquired title to the property without the
                                                                                    (ZSS ILCS
   necessity of filing a separate action uncler the Forcible Entry and Detainer Act

   b/g-101, et. Seq.) and Respondents hereby expresslywaive a1i rights and defenses otherwise

   available under the Forcible Entry and Detainer Act.


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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 151 of 206 PageID #:151



               17   .      If   Stonedry, its successors or assigns files a Petition for Order of Possession in the

       tax deed case, Respondents arc obligated to pay Stonedry's, its successor's or assign's attorney
i

       fees and costs for the Petition for Order of Possession.

              18.         Time is of the essence in this agreement, and this agreement shall be binding

       upon and inure to the parties hereto, their heirs, executors, administrators, successors and

       assigns.




                  IN,WITNESS WHEREOF, the parties have caused this A$eement to be executed as of

              the date first set forth above

                                                                STONEDRY,

       Dated: Decernber 7, 2015                                 By:

                                                                Title:

       Subscribed and Swo.rn to
       before me this /
                        StOuv




                                 OFFICIALSEAL
                          MICHAEL J. WILSON
                        Notary Public - State oll.lling]P
                         -Conimission
                                       Expires s      I 201
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                    My                             l2g



                                                                          The Ridgeland Corp.

                                                                Bv: /*4                  cd?t/-

                                                                Title: President

       Subscribed and Sworn to
       before me this
       of December,2075.
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 152 of 206 PageID #:152




                                                               Cook, Revak & Associates, Ltd.

   Dated: Deq.^L-- i,Z-o){                              Ev:    /^-4_ uZ
                                                                 /         .r'/



                                                        Title:President




   Subscribed and Sworn to
   before me this       l$auy
   of December,2015.


                     '---_oFFroAL SEA!-
                    IVIICHAELJ. WILSON
                Nlotary Public - State of lllinois
              My Gommission Expires &l2gl2019                  The74l1 Corp.
                                                                 .,1
                                                        Rv: A- .{-
                                                         t
                                                                                  Crz---
                                                        Title: President



   Subscribed and Sworn to
   before me this       l-{duy
   of December,Z0l5.




                         OFFICIALSEAL
                   MICHAEL J. WILSON
                 rudiuw'ljub cIi   -     ol l,tilo^r:
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              rvri'cdirimiision Exnirflzel2o1 e
                                                                7411 Services CorP.
                                                                                      c-"r-'r-z'-
    Dated:       fue*L'"-- i,z*'ts"                      nv:   /-^--?'--,-
                                                        Title: President

    Subscribed and Sworn to
    beforemethis         )St
                        auy
    of December,2015,




                 rintcHArl- J. WILSoN
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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 153 of 206 PageID #:153




                                                                   Ruftis Cook
l      Dated:

       Subscribed and Swo-rn to
                    J
       before me this  *l- au1                      OFFICIALSEAL
       of December,2015.                       MICHAEIJ. WILSON
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                                         nnriEo?rimi*i bn E*Pitg* 9/a9l?919




                                                                ara J. Revak,
                'D*-.-*,*.L*,
       Dated:                   /-,   Zolf
       Subscribed and Swom to
       beforemethis l-o/aut
       of Decemb er,2015.




                                         OFFICIALSEAL
                                      MICHAEL J. WILSON
                                  Notary Public - Stqte   oilii!91!
                                My Conimission ExPires 312912u2




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 154 of 206 PageID #:154




           EXHIBIT
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                    EX. 17
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 155 of 206 PageID #:155




                           IN TI".iE CIF.CIJIT CCIURT AF CSAK SOUNTY, ITLII{OIS
l                                GCIUNTY DEPARTIVHhJT, OCIUNTY IJIVI$I MN

        IhJ TI-IE I/ATTER CIF I"FIE APFLICATIOh] SF T'I.18                      )
        COUNl'Y CIOLLEOI"OR ANN FOR JUMGMET'IT AND SALE
       AGAIN,ST LANDS AhJD LCITS RHTUBNED FHLIhIQUHI'J]"                            No, 2014CQTD002S92
       FOR. NONPAYMENT CIF GENERAL TAXES TOR TFIE                                   Vol.252
       YEAR$ 2009-3011

       PETITIOI{ OF
       $ionedry, LLe
       FCIR TAX DEEN

                                               AEEEgp*gEDEB

              TFIIS CAUSE ooming befbre this Court on a final settlement status, the par'ries having

       settled all matters in controversy, the Court beirrg advised In the premises,


              lT l$ HEREHY ORDERED as follows:

              A,      Respondents, The Ridgeland eorporation., Oook, Revak & Assoeiates Ltd.,

                      Rufure.Goelr; indiviclually, Barhara J. Rauak, inclividually ,7411Oor8,, nnd 7411'

                      Bervioes Sorp,,'+;ithdraw any anri all ob,iections to the sntry of the OrcJer

                      Directins CIounty elerk to tssue    fax   Deecl anel For Oiher Relief.

              B.      Respondents, The Ridgeland Corporation., Cobk, Revak & Associates Ltd.,

                      Rufus Cool<, inclividually, Barbara J. Reva[<, individually,T4.ll Corp', and7411

                      Services Corp., agree to the entry of the Order Directing County Clerk to lssue

                      Tax Deed and For Other Relief upon presentation of the necessary documents to

                      the Court without further notice.

              C.      Respondents, The Ridgeland Corporation., Cook, Revak & Associates Ltd.,

                      Rufus Cook, individually, Barbara J. Revak, individually,7411Corp., and7411

                      Services Corp., agree to the entry of an Order tolling the one year requirement

                      which Stonedry, LLC has to have the Tax Deed issued and recorded the number

                      of days from Febru ary 15,2015 and date this Court enters the Order Directing

                      County Clerk to lssue Tax Deed and For Other          Relief'   -.-,




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 156 of 206 PageID #:156




                                                                                                  Ltd',
                               Respondents, The Ridgeland Corporation., Cool<, Revak & Associates

                               Rufus Cook, individually, Barbara     *1.   Reval<, incJividually,T4ll Corp., and7411

                               Services Corp., agree io tlre entry of an Orcler for Possession of the subject

                               property at the time the court enters the order Directing county elerk ts lssrra

                              Tax Deed and For Other Relief witlrqlut furiher" notice, l'ho enforcement of tho

                               order for Poseession shall be staved until April           1,tud-.ff--"      p;             ytt;
   EATED:
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   Agread:
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   $tonedry, L[-C.



                  Michael J.               its attorney

   The Ridgeland CorPoration
   eook, Revak & Associates, Ltd'
   Tho 74,11 CorP.
   7411 Services eorP,
        P.--.r\




                  \<                                N          \
   R,rr. \ --:-"-rr=------l^                        l\---'\---J\.--r-_
                   Barbara Revak, their attorneY




                   Rufus Cook, Pro Se


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        \ -        ,:_=J\?,^\/t-   u
                                                [.-9--,t--\---             .----
                   Barbara Revak, Pro Se

   MICHAEL J. WILSON & ASSOCIATES, P.C.
   Michael J. Wilson -#27787
   309 West Washington Street, Suite 1200
   Chicago, lllinois 60606
   Phone - 31 2-781 -951 0
    Fax - 312-781-9511
   # 135-9008
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 157 of 206 PageID #:157




           EXHIBIT
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 158 of 206 PageID #:158




        srATE OF ILLINOIS )
                                    )SS
        coUNTYOFCOO.K)

                              J:N   TIIE CIRCUIT.CQURT OF COOK COUNTY,.ILL'INOIS
                                      GOUNTY DEPARTMENT, COUNTY DIVISION

        1N'THE.MATTER OF TI.IE AP.PLICATIO.N OFTHE
        COUNTY GOLIECTOR.AN.D FOR JUDGMENT AND SALI=
        AGAINST LA'NDS:AND LOTS RETU.RNED DETINQUENT                                      No. 201 4COTD002392
        FOR.NONPAYMENT OF GENERAL TD(ES FOR THE                                           Vol.26;2
        YEARS 20D9;20'11                                                              )
                                                                                      )
        FETITtON,OF                                                                   )
        'Stonedry,',LLC                                                               )
        TORTAX DEED                                                                   )
                                              ORDER   DI   RECTING. COU.NTY CLERK
                                    TO    I                                               LIEF

                 On,motion of .Stonedr..y,. LLC, Petitione[ here.in, for Orcjer Dir:ecting the County Clerl(,to
        lssue Tax Deed for Other Reiiefi asr prayecl for iri its. petifion, and:it:appearing thal all':persons
        entitled;,thepeto have received clute-notice of this motlon, the cortrtfinds:
          '       1,     That at a sale of isncls-ancl.tots.for,nonpayment of goneral-taxea. levleel' anrJ
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                 Z,     tr]rat tlre tinre for rerlenrfition front sald:talCI has, expirecl anel tho. rrliovo' deeerlbeel
        psreel 0f real estate has not lreen i=edeenler] t'roffi salel sale.

                 B.   'Fhat.all taxes anci special,assessments,whiclr lrecanre clue anrl, payable
       ,subspquentto saicl sale lrave been paicl, ancl all forfeitures or tax sales, .it any, Wlileh occurred
       sunseciuent to saicl sale have been recleetnecl ancl introcluced into evidence.

                 4.   TSat all no1,ice as recluirerl by law.has been given ancl Petitioner lras'atrictly
        compliedrwigr all. the provisions. of law entit[ing it to a tax,cleed to. saicl parcel'of'real;estate,
         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 159 of 206 PageID #:159



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                          5,,  :lI is founcl and. so orderecl that the. in.r.em lien of .any,and.all general taxes or
                ,special,assessmenl'whlch becar"ne due and payable pr:iorto the said'sale shall cease'to be and
                 are not' a    lie   n.against the"p[operty

                          lf   ;tS r.HEREFORE ORDERED AND ADJUDGED'that the. County Clerl<.of'G.ook County;
                 lllinois, iss.ueto.,Petitioner a tax.deecl conveying'the above parcel          of   .real:estate to,said.
                 Petitioner..

                         T.he cour:i having lreard the testimony as to the, diligence of service of notice,of tax
                p.urchasei

                      .lT:lS HEREBY ORDERED that the transcript of that testimony be ordered filed in this
                cause and: made,a part. oT:tlre. Courl:I€cofd.

                  .      lT:lS FURTHER,ORDERED that:upon application of the. Petitioner, this Couft retains
                j,urisdiction to. enter such other.orders as may' be ne.cessary or,d.esir:able.to rnainlain :Petitioner
                as.grantee.of saicl;tax deed in possession of the above:described;parcel.of:rgal.estate,


                DATED:
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 160 of 206 PageID #:160




           E,XHIBIT
            INDEX

                    EX. 19
         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 161 of 206 PageID #:161




                    for.Possessirin


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            Tlris causc conring on to be }renrd upon flre coruplaint of ilrc               plalutiff(s), -S_loOe"/", l/_ {*

                                                                                                          and. the lssues thercoi' travtrrg been hear


                                                                                                   G,,4-                                  having founr! fll
                                                                                                         (court) (ury)
     Fiaintiff(,s)                                       L-C*                                                              js/are entitled to {Jre possessi
     the premlses tlescrlllcd I

     I'x.tS TIIIREFORE ORDERED AND z{I}JUDGrilD:
          i..   Thnt thc Plaintiff(s) have a*d recoyer. of and fi.om tire Defenrlnnt(s),




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    City-State:Zip,              (/. ir:i.4,,. {tt-t^to; t                   _.   dO/?,*
         2. That     tle Platutiff(s) ,i/o,      no;;-
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                                                                                                       the surn of        d#-!?-a
                                                                                                                              V               dollars and cr
         3. Enforcernent of this judgrnont is stayed
                                                                ";tt              .Attr;! / .; Zot L
    r rrercby cerrify trre arovefil$cfHr2.frfh
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    D:lterI:
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                                                                                               Tkis order is the commonrl of the Cirmittfrit onrt
                                                                                               violation thereof ls sultject to thepenulty oJ.law
                                                  Coo k County,   Illinois




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 162 of 206 PageID #:162




           EXHIBIT
            INDEX

                    EX.20
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 163 of 206 PageID #:163




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                                  EOIJNTY DEHARTi"IENT                        .'   COLINTY DIVJ$TONi


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                   o:Fthe ab.ove-e,ntit.llied cas.e, befbre the Honora;bJie'
                   PIARGAR,IT{Fl IOLYS H0FFMAI\J, Ju'dge of ,s:ai'd Court,
                   on the /th Oay of February, 2015, a,t the lr:our of
                   $:;:$Q 6:' Cl OC,k    a,,;nt..

                          PRESENTi
                                 :MIIC.HAEL         J.       WILSON      ,

                                 'on b:ehal:'f           of tlre         Pe-L.itioner,

                  ,ReportecliBy:          Ana.ltsa, McEermott,. CSR,. RPR,                               CRR

                  License ,No.. :         084-003620




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 164 of 206 PageID #:164




           EXHIBIT
            INDEX

                    EX" 21
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 165 of 206 PageID #:165




       #25313

                  IN THE CIRCUIT COIIRT OF COOK COLINTY, ILLINOIS
                        COTINTY DEPARTMENT, LAW DIVISION

      ?tre Ri.elgeland Corporatton, Rufus   eaok,)
      individually, Barbara Revak, individually, )
      7411Corp.,Md7471Sewice          CorP.,     )
                                                 )
                            Plaintiffs,          )
                                                 )
             vs.                                 ) No.: 2016L005474
                                                 )
      Stonedry, LLC., and Sheriffof Cook County, )
      Iilinois,                                  )
                                                 )
                            Defendants.          )

                     DEFENDANT STONEDRY, LLC.'S ANSWERS TO
                          PLAIhITIFF' S INTERRO GATORIE S

             Now comes the Defenclant, Stone dry,LLc..,by and through its counsel, Robert

      A. Egan, and for its Itesponse to Plaintiffs Interrogatories,   states the   following:

                                        Geteral Obiections

             1.     Defendants object     to the clefinitions and instructions in plaintiffs

      Interrogatories; and the Interrogatories thernselves to ll"e extent they conflict with, or

      irnfose greater obligations than, Supreme Court Rule 213;

             Z.     Defbnclants object to plaintiff s instructions to the extent they seek to

      impose on the defenclant a continuing &rty to supplement its response to Interrogatories

      gteater than Suprerne Court Rule 213;


             3.     Defendants object to plaintiff s inslructions to the extent they seek to

                                                                                         than
      impose on the clefbndant the burclen of proclucing a privilege log more cletailetl


                                                                                            rK &l
              Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 166 of 206 PageID #:166




                      Supre,me Court Rule 213 requfues;


                             4.      Deftndants objecttotheplaintiffstrntenogatories astheysimplyrequest

                      infonnation not within defbndants' possession, custody or conffol;

                             5.      Defendants object      to the Intertogatories to the extent they call for

                      infonnation protected by the afromey-client privilege, work-product immunity, or aty

                     otherprivilege or immurity. Shoulcl clefbndant inadyertentlyprovide any information

                     protected by such privileges or immrurities, such production shall           in no way be

                     intended, nor be constnred, as a waiver of those privileges or immunities              in any
     t,
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                     proceeding, inclucling 1rial, in this or any other action;

                            6.      Defendants objectto the Interrogatories to the extenttheyseekproduction

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     l
                     of confidential'-or-private information or docurnents lhat should orly be producecl

 i
                     subject to an appropriate protective order governing that production of confidential
     I

                     information. Subject to'and without waiving this objection, the defendant will provide

          i
                     informationandprocluce clocumentswhich otherwisewoulclhavebeenwithheldonthe

                                of confidentallty   if   such a protective order   in a fonn   acceptable   to the
Ir                   grouncls

                     defendant is entered.

                            7.      Defendant objects to the Interrogatories to the extent tfiat the burden,

                     expense or inlrusiyeness of responding to the discovery outweighs the lil<elihood that

                     it will lead to the discovery of adrnissible evidence.

                            B.      Defenclant objects to the Interrogatories to the extentthatthe information


                     sought is obtainable &om anolher solrce thatis more convenient, less burclensome, or
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 167 of 206 PageID #:167




       less expensive.

                g.        Defendant submits that these responses subject to, and without in any

       way waiving or intending to waive, the general objections set forth above, as well as:

                          (a)    The right to objeet     to   competency relevancy, mateiahty,
                                 privilege, and adrnissibility as evidence for anypu-rpose of any of
                                 the responses given or the subject matter thereof in any
                                 subsequent proceecling in, or the triat of, this action or any oflrer
                                 action or proceeding;

                          (b)    The right to object to other discovery procedrues involving or
                                 related to the same subject matter as herein responded to; ancl

                          '(c)   The right   dt arry time to revise, correct, add to or clari$r any
                                 responses set forth herein.


                                  ANSW-ERS TO INTERRO GATORTE S

            .   i.-   ,   "identifi/" as thattenn is defirred above,    each person pi'eparing ancl
      signing these Answers to Interogatories.

      Answer:             Anclres Schcolrrik.

                Z."Identify'', the names, business addresses, and titles of all persons who
      have knowledge of the facts relating to this lawsuit.

      Answer:             Andres Schcolnik, 2035 West Giddings Sfreet, Chicago,Illinois; Michael
                          Wilson, 309 West Washington Street, Suite 1200, Chicago, Illinois;
                          Rufus Cook; Bxbata Revak.

                3. For the period JanuNy 20tr5 to the present identify each member                 of
      Stonedry, LLC.

      Answer:             Gammadock, LLC., 90 Whittredge Road, Summit, New Jersey and S'
                          Bronze, LLc.,203 5 West Giddings Street, Chicago, Illinois.

                4.        State whether David A. Twardock has ever been a member of, agent
                                                                                              for
      or investor in Stoneclry,      LLC. (a) If the Answer is in the affintative state the dates
      when he has been a member, anagerfi.of an investor in stonedry,
                                                                      LLC;If an agent              of
      Stonedry, describe the nature of the agency"
     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 168 of 206 PageID #:168




            Answer:       No.

                   5.     Identifii   each person who made the decision to or parti ctpated   n   any w ay
            in the decision to seek eviction by fhe Sheriff of Cook Counfi Illinois in May 20 1 6 of
            ',Rufus CoolC' and/orotheroccupants fromthepremises located N7411 Stonylsland,
            Chicago,Illinois.

            ,Answer: Anclres Schcolnik.
                   6.     State whether Stonedry,  LLC. orAndres Schcolnil<is a defendant lnaty
            pending lawsuit respecting properties the tax certificates for which were purchased by
            Stonedry or any member or agent thereof and, if so, provide the case titles, case
            nrunbers, parties and present status thereof.
ri



            Answer:        CityofChicagov. TT40S.SouthChicagoAvenue,etal,CourtNo-: 2013
                           I\{1 40093 5; City of chicago v.5627 South St. Lawrence, et a\, court
                           No.: 2013 Ml 400571; City of Chicago v.7737 South Ingleside, et al,
                           Court No.: 2013 Ml 40195 6; Crty of Chicago v. 406 East 75e Sfeet,
                           Court No. : 20 1 5 M 1 402252;Deric Price v. Stonedry, LLC.,Court No. :
                           2016CH08248;Cityof chicago v. 1500 s. Tmmbull, CourtNo.:2014
                        , ,vI1  400706; city of chicago v. 7550 S. Essex, court.No.: 2012 Ml
                            402362. Atl of the above cases are pending.

                                                         Respectfu lly submitted,




            ROBER.T A. EGA}I
            ROBERT A. EGAN, F.C.
            120 North LaSalle Slreet
            Suite 2600
            Chicago, Illinois 60602
            (3r2) 263-2227
            RAE@roberteganlaw. com
            Attorney No.:25313
       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 169 of 206 PageID #:169




                                                        Verifieation

                         Undsr penalties as providetl by law pursuant to Section 1-109 of the Code of
                 Civilprocedure, theundersignerl certifies thatthe statements setforth in this instrument
                                                                                   on information and belief
                 are true and correct, except as [o ffiAtters therein stated [o be
                                                                                   that he verily believes the
                 and as to snch matters the unrlersignecl certifies as aforesaid
                 sarne to be true.




                                                                       Andres




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     Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 170 of 206 PageID #:170




                                                           Yerification

                .     Underpenalties as provided by law pursuant to Section 1-109 of the Code of
              Civil Procedure, the undersigned certifies thai the statements set forth in this instrument
              are true and correct, except as to matters thereiri stated to be on information and belief
              and as to such matfers the undersigned certifies as aforesaid thaf he verily believes the
              same to be true.




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 171 of 206 PageID #:171




           E,XHIBIT
            INDEX

                   EX.22
           Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 172 of 206 PageID #:172


         Barbara Revak

         From:                      Robert A. Egan [robertaegan@roberteganlaw.com]
         Sent:                      Friday, December 02,2016 4:06 PM
         To:                        Barbara Revak
         Subject:                   The Ridgeland Corporation, et al v. Stonedry, LLC., et al
         Attachrnents:              Stoned ryRespon setoReq uestforP roduction. pdf



         Dear Ms. Reval<:

         Attachecl hereto please find Stonedry's Response     to Request for Production of Documents.

         Robert A. Egan
         Attorney At Law
         RoberiA. Egan, P.C.
         120 North LaSalle Street
         Suite 2600
         Chicago, lllinois 60602
         (312) 263-2227




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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 173 of 206 PageID #:173




          #25313
                      IN THE CIR.CUIT COURT OF COOK COUNTY; ILLINOIS
                            COLINTY DEPARTMENT, LAW DIVISION

          The Riclgeland Corporation, Rufus         Cook,
                                                       )
          individualty,BarbaruRevak,individually, )
          74tl Corp., ffid 7411 ServiceCorP.,          )
                                 Flaintiffs,           )
                                                       )
                 vs.                                   ) No.: 2016L 005474
                                                       )
          Stonedry LLC.,   and Sheriff of Cook County, )
          Illinois,                                    )
                                 Defendants.           )

                            RESPONSE TO PLAINTIFF'S REQUEST FOR
                                 PRODUCTIOI{ OF DOCTJMENTS
                                                -

                Now comes lhe Defendant, Stone dry,LLc.,by and through its counsel, Robert

          A. Egtu,inO in.Responseto FirstRequestforProdtcticnc.fPrtiduceDocuments states
l




i
          the following:

                                             -Qgneral Obiections

                 1.        Defendant objects to the request to the extent that the conflict with, or

          impose greater obligations than, Supreme Court Rule 214'

                 2.        Defenclant objects to the clocument request    to the extent it   requests


          documents not within defendant's possession, custody or control.

                 3.        Defendant objects to clocument request to the extent     it   calls for the

          prodgction ofdocuments protectedby attorney-clientprivilege, work-product doctrine,

          or olher privilege, doctrine or immunity. By answering and producing documents in

          response to the document request, the defendant does not waive, intentionally
                                                                                        or

                                                                                             s9
                                                                                             f,l(
                                                                                          P.e
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 174 of 206 PageID #:174




      otherwise, its attorney-clientprivilege, work-product doctrine protection, or any other

      privilege, doctrine or immunity protecting communications, transactions, or records

      from disclosure. Accordingly,              any response or production    of documents inconsistent

      with the foregoing is whollSr inadvertent and shall not constitute a waiver of any such

      privilege or protection. A schedule of all documents withheld on the basis ofprivilege

      we have provided in a reasonable time after responsive documents are produced.

                 4.           Defendant objects     to flre document     request   to the extent        it seela
      prodgction ofconfidential andprivate informationthat shouldonlybeproducedsubject

      to an appropriate protective order goveming the production of confidential information

      andwithoutwaivingthis objection, defendantwillproducedocurnentswhichctherwise

      r,,.,;r.rJiJ'ha;l e   tie.in withhelcl solely on the grorrnds cf coti.f,rienrialitvof-luch a protective

      order and a fonn acceptable to clefeudant is enterecl.

                 5.           Defenclant reseryes the right      to redact any and all       non-responsive


      information that is confidential and proprietary from otherwise responsive documents.

                 6.           Defendant object to the document request to the extent that the burden,

      expense or intrusiveness of discovery outweighs the lil<elihood that it                 will lead to the

      discovery of admissible evidence.

                 7.           Defendant submits these responses subject to,        anLd   without in any way

      waiving or intending to waive, the other general objections set forth above,                 as   well   as:


                              (a)    The right    to object to   competency, relevancy, materiality,
                                     privilege, and admissibilityas evidence foranypurpose of anyof
                                     th. ,.rpoor.r given or the subject rnatter thereof in any
                                     subsequent proceeding in, or the trial of, this action or any other


                                                                                                 v3
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 175 of 206 PageID #:175




                                  action or proceeding;

                         (b)     The right to object to other discovery procedures involving or
                                 related to the same subject matter as herein responded to; and

                         (e)     -The right at any time to revise, correot, add to or el*nfy   o,uy
                                  responses set for{r herein.

                                      RESPONSE TO DOCUMENT
                                                 EEASEST

               1.        See attachedArticles of Organization;
               2.        See attached Operating Agreement;
               3.        None;
               4.         Exhibit 3 and 4 attachedto Plaintiffs' Complaint;
               5.         There were oral communications between David A" Twardoelc and
                          Andres Schcolnik. The dates and subject matter are not recalled.
               6.         There are communications between Stonedry, LLC. and its counsel,
                         ,Michael'V/ilson and its counsel, Robert A. Egan, which are priVileged.
               J.'   :    (a) 20-25..124-0Lll0L2l0t3l014 - communications vrith Derric Price,
                         'copies
                                 of real estate ccntract, ernails and proposed agreement attached;
                          (b) 20-25-124-0041005 - none;
                          (c) 20-25-50 1- 1 1 - noiie;
                          (d) 20-25-131-005 - none;
                         (e) 20-25 -13 1 -048 - none;
               B.        None;
I
               9.        Exhibit 5 to Plaintiffs' Complaint;
               10.       None;
               11.       See attached listing agreement;
               12. None.



         ROBERT A. EGAN
         ROBERT A. EGAN, P.C.
         120 North LaSalle Street, Suite 2600
         Chicago, Illinois 60602
         (3r2)263-2227
          RAE@roberteganlaw. com
          Attorney No.: 25313
                                                                                          ?t1
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 176 of 206 PageID #:176




                                        . Defendant's Affidavit
                                     In Cornpliance with Plaintiffs
                                         Rgguest for Production

                 I, Andrrs Schcofuik, being first duly sworn on oath, deposes and state that I am
         one of the members of Stonedry, LLC., a defendant in this action and that pursuant to
         plaintiff's Request for Production the tangible items listed on the attachments hereto
         and further states that said items are the only such items in his possession or control
         which are producible pursuant to said request and not heretofore furnished prior to the
         date of this Affidavit.
                                            .;                                        I
                                                                    /t \ l}\l\
                                                                    IIV\VV\
                                               Verification

                  Under p6nalties as providecl by law pursuant to Section [-109 of tlre Code'of
         ,Civil Procedure the undersigned certifies that the statements set fodh in this instrument
                           ,
         .are
              true and correct, exoept as to matters therein stated to be on information and belief
          and as to such matters the undersigned certifies as aforesaid that he verily believes the
          same to be true.




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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 177 of 206 PageID #:177




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    ANDRFS SCHCOLNIK
    Z.TJ:S WEST GIDDINGS STREET
    culceco, IL 60625-0000

 R-E STONEDRY, LLC



DEAR SIR OR MAOAM;
                                     AND TLACE 'oN       RECoRD rHE ARTICLES OF'
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 178 of 206 PageID #:178


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                                                              of the company will be kepL (P.O. Box atone or c/o is unacceptable')
   2.    Address of principal place of Business where records



          Chicago,.lL 60625

                                                 (check one)
    e.   Articles of Organization effective orr:

         fl   tne nting gate
                                                           filing date):
         J    a later date (notto exceed 60 days after the                                                            Month..,Day, Year



                                                       Address:
    4.   Hegistered Agent's Name and Registored Office

                            Andres       Scltcolnik
         Ftegistorsd Agent:                                                                Mlddlo lntlial                                         Lasl Name


                                   2035 West Giddings Street
          Flegistered Office:
                                          Number
          {P.O, Box alone or c/o
             ls unacceptable')




                                                              is organlzed:
          Purpose(s) icr which'fie Limited LiubiliLy Cornpany
          The transactlon oI any or alr lrwlut buslnes.s   for  whlch Llmlted Liabilily companlee may be otganlzed under thlE Act'
                                                                      the addrsss(es) from which lhose services will be rendered if different
          (LLcs organized to provide professional services mu6t llst
                                                               sheets of this size.)
          from item 2, tf more spaoe is needed, use additional




                                                          otherwis. stated.                 rf   the operating agreement provides for a dissorution date, enter
          Tho duration oi the oompany is perpetuar untese

          that date    nere:                   .ilil,n;-Ey,--lreai-

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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 179 of 206 PageID #:179




   LLC"5.5

                                                                                 of ttre Company: (lf more space is needod' atiach additional
   7. (optionali     other provisions for the regulation of the internal affairs
         sheets of this size.)




   8.    The Limited Liability Company: (Check either a or b below')

         a.               by the manag€(s) (Ust names and addresses')
             @ is managed
          Gammadock, LLC 90              Road, Summit, NJ 07901

                                                                 lL
          S. Bronze, L.L.C. 2035 West GiddinOs Srreet,-Chicag,o'




         b.fihasmanagementvestodlnthememb6r(s)(Listnamesandaddresses.)




          Name and Address of Organizer(s):

                                                       authorlty to sign hereto, that these Articles of organizatlon are to the best of
                                                                                                                                        my know'
          I affirm, under penalties of perjury, having
          iedge and belief, true, correct and complete'




                                                                                         1.   2035 West Giddi[qg Street
                                                                                                   Number                     Street


                                                                                              Chicaqo
              AndresSchcolnik         <Name     (tYPe or Prrnq
                                                                                                                  Cityffown

                                                                                                                                       60625
              S. Bronie, L,L,.9., So[e.MemFar - - . . -.. . -..
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 180 of 206 PageID #:180




             A:. l514C3r1ro




                                                                 OPeratinE Agreemelr
                                                              storiedrY, Llc ('Srcnedry'J


                              Pafties to the Agreement:
                                   .  Gammadocl(, LlcCGammadocl()
                                   "  $, $1on7.e, LIc (UronzdJ'

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  IN THIX MATTER OrT'HE {dPBLrCATrOhl} ETC',
                                                                                                  C'ase No. 2014         COTI,   A023Yz
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                                                                                                     IIon, James Carroll
  PETTTION OF STONEDRY, ILLC
  FORTAXDEED
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'fO:   PeterM, Stasieivicz (Stonedty,l''LC's Putported Counsel)                                   AlvinPortis,    Jr',
                                                                                                  AssisJant $tate's AttoureY
       ARCTURUS LAWFIRM
       211 West Wacker Drive #3 18
                                                                                                  Civil Actions Eureau
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       Chica$o, IL 60606
                                                                                                  aportis@oookcountYgov. com
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                                                                                            lsl Balbara Revak

                                                                                            /s/   llirfts Cor:lr,Pru se
         Law Office of Barbata Revak

         Chicagq IL 60649
         Attor:rey No. 58 121

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         RtfLrs Cook,pl'o se
         7411 S. StonY Islaurl Ave
         Chicago, IL 60649
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                                                                                /s/ Batbara Revak




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                                      OT CO-O-KCOUNTY'
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                                                             )
                                                                                 COTD 002392
                                          "*XI:#T,",         )
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                                                                 Caso No. 2014


                                                             )     flon. James Carroll '
                                      LLC                    )
PETII'ION OT STONEDRY'                                       )     SECTION 2:MA1
F'ORTAXDEED                                                  )       PETtT.ION
                                                             )




                                                        FDBRUARY 6'2024
                              REPLY TO STONEDSI f'r'C'S
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                            Revak
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                                                                                 ..Fir.st and folemost, the errtire amen(led petition is barreil
                                                                                                                                                        by res'|t,tclkal:a.,,, And
                                                                   SD argttos:
                                                                                    (ris                                         petition canrrotbebase<lon' that
                                                      the a1pelIate case                   also res jucluoata, AUd the anrencled

                                                                                                                                                      bocause the appollate
                                                                           ,; further,   sD   cleclai'es   Ridgela[d's   1401- petitiorr lacks rnerit
                                                       argumeilt

                                                          courtclecision....,alottgisrlispositiveofRiclgelanct,solaimsofvoidness,,,

                                                                                                                                presently     effect, applying /eJ
                                                                                     knows that, ovefl beyond the Rule 368 stay
                                                                         Tliis court                                                      ,in
                                                                                                                                                             is
                                                                                      other tirndarnentais, provindothai t}ia party agairrst wlrompreclusion
                                                              judicatateqantes, among
                                                                                                                               be hearcl on it' Here Ridgeland's
                                                                     had tlre opportunity to raise the issue antl was or coukl
                                                              sought
                                                                                                                                                        as sho'wn   i* partll below
                                                                                                           heating were rlenied ot igrorcd'
                                                              recltrests   for cliscovery anil evidentiary
                                                                                                                                     of appellate potentiar         dicl,'t exist, the
                                                                                                     ancl raws r-equiring exhaustlo,
                                                              Thirs, even if the prececronts

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                                                                               tho due process  nglrt to  bs lrcarcl **",     in ,'*.ging, tlenietl antl went urnrmetilr
                                                                         Therecordestablis]resthatfromJrrnctol)eccmber,2015oralatrdrvritteudornarrds
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                                                                         Tax Cotle, but also tildr* il;;oro
                                                                          Illinois constitutions'


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         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 187 of 206 PageID #:187



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                                                                                            201 5 effort to obtain
                            +il!' cnronotogy biiefly relates Riclgelancl's June-to December

                        iiirr *" tdal coult, tnoving unsuccessfully                                        flrst for cliscovery and then foi' an
                  :..
                                                                              e-Ex-s. 12,14r 15, all of whioh pointed orrt in detail that' as
                                                                                                                                              a
                  iart,Irearing ol                          a   lrial.   Se

iiiiiii ,,"'
                                                                               inclucling tlre iight to                                              atrial
.ifi*n",          of simple due process, Ridgelancl was entitled to be heatcl,

                        juclge wlio woulcl he ar the evidence, not one who would "applttve" the tlansffipt
                                                                                                           of a
   before         a


   prove-up lieard by a different substituted judge'


                                                                              i 5 ancl in writing Juoe 2,
            Itidgeland,s c{emand to be heard was made velbally fiom }'ebruaLy

   15a1tl29,a1ilNovetnbet30,2015, partlyopposingastandilgnrotiotibySDforentryof
                                                                                                            gnsworn and unsigled February 9,
  judgment based o1the no-notice,                                               ex   ltayte,false and part$

   2015 prov+irp before Juclge I(ulys-Hoffman, not Judge
                                                         Zafiratos nor Judge'Ca1oll The SD

                                                             was cat'ded on the court's docket
   motion fol immediate enuy bfjurlgment against petitioners
                                                                                                               t
                                                                                  evety sessiofl of the
   iiorri its riling Februa ry 24,2015 for possible entLy y.tlLprtlf$lurui1sg.;it
                                                                               13 and iai and
    cofft to Decernber'. . The patties brtefed the due process issue (Exs. 12,
                                                           (Ex. I5). That autholity re-emphasized that
    Ridgeland on Novernbet 30 filed aclclitional authority

                 ths cou1t's                               (1flX to (1) affirniatively order               a   healing and trial, and its dury (2) even if
    it   w-as                                0)
                                                                  on a valid settlement agi'eenient,
    Rirlgelancl's objeotions were properly rvithclrarvl, as based

                                                                                              tax          only if thete had    been   fill   compliance u'ith
    which tlrey weLe not, to orctet issuance of                                           a         deed


               stcttutory noti-ce and other requirentents'
    .tlle


               Th.e recorcl shows that Riclgeland's clernands                                       for evidentiaty hearing went rtmnet flom            at least


     N?ay20,20l5andwereendeclonl)ecelnber l,a}T'withentryofthetaxdeedordetbasedupon

     irnproper acceptanco of lhe Febiua ry 9,20!5 transcript
                                                             prove-rp by Iudge Cauoll, who did not

                                                                                                                to be hearcl went
     hear.it, clear.Iy no                              resiudiccttct effect can apply where Ridgeland's dematds




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       Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 188 of 206 PageID #:188




          unmet. It is inrportanthere to fully consider the recorurting, proviclecl atpages 3 and 4 of the
  !t
fiii      CIuonology, of the actions of SD         ancl   M'. Wilsonregarcling Ridgelancl's ulsuccessful efforts to

          obtain a ttial and   clue   process, In his filiug of June 2015 Mr. Wilson falsely r.epresentecl
                                                                                                           to the
         cout't that there was oo an. pr:o.rss issue presenl and "no case law exists
                                                                                     regardilg flris issue.,,

         Praof ftat tJrose wei'e Iies was proviclecl iu Ridgeland's exhibits             IZ,14   atd15.   All   of the

         authorities were ignored. The lies to the court, constituting fi'aud on the coul.t,
                                                                                             have lever beerr

         acknowledged. Similarly ignolecl were the adclitional cases to the same effect
                                                                                        filed 6y Riclgelancl
        jn its last-ditch effort to obtaiu due process.



             Finally, seeking to cause the coult to enforce Ridgeland's due process rights the
                                                                                               Rirlgeiand.

        paLties on November 30 filed with the courl copies of two cases
                                                                        which macls clear agail, as thei.

        eallier fiiings ha4 that t'he cout't had anaffilmative duty to arurounce ancl assurethat
                                                                                                 Ridgeland,s

        due process tights wete honoled. (Exh. 15) The two.fui'ther cases
                                                                          supplied to the court were the

       '1962,casbTrzebicttowskiv. Jeroilrc,24111.2d,241791,{,8,2d.622"',623;andthe
                                                                                   200J case

       Andersonv.I{ohlbr',376T1l.app,3d714,gT7N.E.zdtl}, rnJeronrethecourtsaid:

                          'Undet the circunnstances reflected in the recortl it was euor for the
                     second chancellor to admit the tt'attscript of the firstproceecling into evidence
         '           anti to consider it as a basis of clecision. The full hear.ing                 by due
             .       pi'ocess of law contemplates that all ofthe evidence shoilO
                  ' 'before
                                                                                    "ont"ioplut..l
                                                                                      be  sribrnitted
                             a single jutlge or master who jnay see tlre witflesses, weigh their
                    testirnony and determine theil credibility. (Citation omittecl.) Itivas the clear
                    duty ofthe chanoeilor here to conduct a tlial de novo.,,



          Aud in l{ohler: ". , it is the clutv of
                                 ,                   the corn't to rlir'cct a   trial rle uovo before another liraster or

       before itself." From May to Novembet' 30,2075,settlement was forcecl on
                                                                               Riclgeland by

       continuing denial of its rlue plocess right to be hearcl.
                                                                        Be&rgg[dsq          the tax deerl proceediug

       was voicled as a mattel of federal and state constitutional law by denial
                                                                                 of due proge.ss.



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        Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 189 of 206 PageID #:189




                B' The L401 petition  alleges climinal ntisconduet, comndtted while SD also
                                                                                                commitfcrl
':iri              fraud on this.court hy Iyrng to it that'rao law oxisferl" antl
i::l                                                                              uging rlelial of
ii:.'              Ridgeland's iluc process I'igtrts. Those issues, though sought ti
                                                                                     nJ ruis*a on a1,purt,
                   welo lrrstead remandgd_by, flre appeltate court.

              As noted, when the tax        cleecl rvas   ordered December.    l,zlls,neither     this cour-t nor the

          Ridgeland pafties knew that Schcolnik rvas not a rnanager,
                                                                     no1. cverl a member of SD, he having

         ave[ed falsely twice under oath inFcbruary             and.   December'2015 that he was. (Resporrcleirts dic]

         lrot learn of flrese facts urtil December 2016 when Mr. Egau lerrsaled
                                                                                them in responcling to

         discoveq.   il   the Iaw division suit.)



             tsy fhe tirne ihe   filsi   1401 petition was fiied 2 Yz yeatslater on August
                                                                                           3, 201 7, Ridgelancl

         knew and alleged that Sclrcolrrik was not a membel nor
                                                                             a Inanager.,   had lied under oath, a,ct

        aited   ancl signed documents as though he were. Those
                                                               actions, intentionally done, havenarnes:

        false personatiorl pefuly, and forgery. However; bepre
                                                               evidencc of tliose matters coukl be

        taken up, this.coir.r.J stayed the 1401 proceeclings De6'bnrber.
                                                                         Za,2,0t7.Wtlr.ttrls court,s stay               i,
        effbct Ridgeiafld, noting the appellate court's power to
                                                                 vacate voicl orclers, ashed that court to

        gleurt the relief sought in the stayeil petitiou by itself
                                                                   vacatirrg the orders olairne6 to be voiil,           At
        pige 12,pat' 41 of its orrler thir appellate coutt
                                                           "cliscnssed" the issrres          pLeserrted by the appeal.



                     .   .
                           "on lppell, respondents con{end that: (i) trris cout6ust exercise its
                     irrdeperrderrt duty to vacate voicl olclers wtrcre Stonedrynot
                                                                                              orriy failecl to
                     coqply with     t_h9.notice provisious of the pr.operty Lhx      code 1l-s lr-cs zoott
                    et seq, (lMest 2014)), but also procurecl the tax deecl
                                                                                    by acts oicloar fl.aurl that
                    ale clocurnented in fhe record; (2) the December 1,2}'Ls,settlenrenf
                   agleeflent, which was void ab initio, waspaf of a fiaudulent
                                                                                       nr oclus operutcli
                   that requires this court to voit{ the Decernlier L,z01.5,tax cleeclan6
                                                                                              related
                   orders; (3): tlre cilcuit court raclcecl juriscriotiorito enter thc
                                                                                             May r,2017,
                   subseqnent otderofpossession; arr,i
                                                           1+;, the oircuit couJiack.d jurisdictio. to
                   enter the Augl.st 3, 2017, supplernenlai oxler of poss"ssion
                                                                                   becuuse fhe June
                   1 6, 20 17,'otice of appear vested j,i
                                                          isdiction i n ihe       appeilate c.urt.,,




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    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 190 of 206 PageID #:190




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                                             j+,*l,l.t"''.
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                                       li$iflH:E, r and clismissed                               appeal of the December
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                                                                                                                            i,2015 olders, (only one of
                                       i l.,:.j.i,....1:1 ;,.:   ;,.'..    .



                               ii#ilii:ii;;i',?, ..-tr.-.- ti'1^^1.^.1:.,.,:^.{:,.{:^* r-^,.^,,-^,"^
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                                                                                                              had Lao-    rqlronff.nm
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                      fli:{iiii6r:ea't finding itiaiked                                           no appeal          been talcen
                      ::,lrl; i iiiiii,i:.:
                                                 ii   ::


                              t,OOauyr of entry. The oourt, holryei,er emphasized that                                       tle i401 petition,        a.separate
    Iirliiiiili :iiii:,:iii.::::,,,'

    iih-a;ffis'feing romanded to this court, Even though it toolc                                                    no   jurisdiction of tho 1401 petitio4




 settlemerrt agleement, whose signing wjlhout authority is part of the 1401 petition ancl was uot

decided by the appellate court; and (3) the allegations of Schcolnilds cliritinal nrisconclttct.



           In short, the appellate court dkl not consider the allegations tlat falsepersonation, perjury

and forgery, as well as f,'aud comnritted on the cour! accom.panied the fi'aud defined hy the cases

cifecl in the Ccrinpendium of case authorities subrnffiei by the 2-.1.401,pe[itioners. SD seeks to


clairn as res judicatti. on the fraud issue an inter'locrfory appellate couit opinion,                                                                   not only
                                                                                                                                               .tthich

rejecti (withottt disanssion) that coffi't's o"ttutprecedent in definingfi'audtn tax deedproceadings,

blt-which also specifically did not considet' the criminal misconduct alleged in the petition, far

exceeiling mere clocumentaty tax fiaud, and shown intlie exhibits.



           As shown in                           "A",                resjuclicakrcanlot exist wltere the matter sought to               be ptecluded was


.denied rlue process healing in the trial court. ,41d, as to                                                    "B" the i401 allegations of ft'and on the

court, false personation, forgery ancl perjuty, also were not heard by this cour! which stayed the

petition, not by tlte appellate court, which decline<lto heat'and remandedit,


. It is, before anti ctft:er all, a matter of clrte process.

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     Tlre On'der tlirecting                                               tXrat a     tax doetl issuc was not arl '(ag['cetl" ordcr.
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         Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 191 of 206 PageID #:191



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                                   EX.C
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 Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 192 of 206 PageID #:192




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     Ai1i,[uil[, raxss ]FoR'r'HE Yllafits 20&9"20n1                                                     Case}lo. ?014 COT'D 002392

                                                      LLC                                               ffiolr. Janne5 Cau'oli
     FETTTXON OF ST'ONEI)tr{Y,
     lToE'fAxllEeil                                                                                        RBr SSCT'tr0N2-1t401
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                                                                      SATIEE'g,.$FXLINC


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          Pstar
          ARCTIIRUS IAWFIXM

          Cliicago,IL 60606
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          Pete,siaslewioz@arctunrslaw'

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           Lalr.O.ffrce of Ba$ata Rqvalc                                                           RespectfullY submitted
                                         Suire 102
           Taf f S. StqlylslandAve,
           Chicago,.IL 60649
           Atfolnev No' 58121
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           Teiephone No. ('l 7 3) "l 52-200 0
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           ?411 S. StonY Istand        Ave
            Cirioaso,l.L 60649
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 193 of 206 PageID #:193




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                                                                                     DOROTHY BROWN
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                                                                       /slBarrbara Revak
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 194 of 206 PageID #:194




                                                          IT'T'INOIS
                  IN T'HE CIRCUIT COIIRT OT COOI( COUNTY'
                        COUNTY DEPARTMDNT, COUNTY DIVISION

                                        ETC''
 IN TIIE MATTIR OF T}IE APPLICATION'
                                   20ae-2r,tL
 Ablqn:ilAi iaxps FoR' rItrE YEARs                                            Case No..2014   COTI   frA139L


                                                                              Elon. James Carroll
 PITITION OT STONEDRY, LLC
 F'ORTAXDEED




            PETITIONERS' COMPENDIUM OE CASE
                                                 I'AW RESPECTTNG
                             nnqurBrD   Ey]rne   PR0IERTY T^AX COrIE'
          sTATuroRyNorrcrs                          PURSUAI\T TO
             XILED AS A SUTTT,NVTbUTAI, T'I'EADING
                    THE couRTis JANUaRY 2, 2o2o 0RDE&


                                                       Petitioners supplementtheir previous
     In accoicl withtheCourt?s Jarruary 2,2010 orrler,

 section 2'1401 fi lings   as   foll.ows'1



     THI (INITIAL TAIG NOTICE'    ISSUEI} BY TAX (]DIT'I'T!-ICATE PUIICH/TSER
                                                  ITS INTEREST THEREIN TO
     GAMMAT'OCK, LLC AX'TP, 3' IT IIAD- ASSIGI{ED
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     NoTlcEs,wluclrorpr.{oTANDCOULDN0T.CU-IPj{EDETICIENCaAND
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       . Garnma,l"d,,;ii;;;i.h irad no lntet,csf in the ccrtificate, hnvittg assigBetl away
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 195 of 206 PageID #:195




                                         Tax Cocle provicles:
          Section 21.260 of the Prnperty

                    ,,Tho owrer of the cerrifioate             gi   p11cha1e      +dl giy. notice          as

                roquirod r'v   ffi*     zi- 5 tlttovSt2L3O'; (Efiipliasis          supplied')



                                                                                                 assignecl the certificate
          Hei,o, fliero is no dispnte
                                      that or1    April ',l,2[l|Gammadock, LLC

                                 tlispDte that on April 23,2074, crJtet
                                                                        ilhad assigned the certificate
 to stoneclry. Nor is tlrere any
                                                                                      take notice
 to Stonecliy, LLC, Gamrnaclock
                                     LLC nonetheless pruported to givc the "initial"

 requitedtoliegiventot]reassosseebyProperlyTaxCode$22-5(35ILCS2a0-22-5,etseq')
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                                              failed to se,ve the required                              'otice
 wlre, stonet,y ,LLC,the "oW[eI"
                                                                                 22-10 second tahe
                                        be restoted to life by filiflg a section
 tax deed was endecl arid it coukl rrot

 rrotlce.ThisisthecleailawartioulatedbytheappellatecourtinTlrcApplication"'ccP-I'LLc't'
                                      (1,)                  976, 956 N.E.2d 40       8:
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                 itsrightstothgtaxlienaltnosttlv'owarsl,eioreitfil.ecltheextension
                 norics. s* ,;ILCS iOaiptas}
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                         affi.',i-;rrihr"'righ1 and title of the origtnal purchasor")'
                 vest in th"
                                                                       ., .The trial court,
                  Conr"q,ffi ?ir" ."r""ri"o fifJa 9X GJ was a nullity,
                                                                motion to voicltle tax
                 therefore,    #ilil,       iJ dismisserl respo*rlent',s
                 deed."


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      2. Wholly       altart frorrr tlre fact tlrat tlrc                    -Gammadoclt,
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           .,initial,, p2-5 ;il;;il,* nooitior,* rrrri"r.r,o*olyner
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           ((rnaferial" gafl constiirtte fl'aud for yet * further rcason' makilrg thc tax
           nullify rvlaich must be recalled'

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            Non-ownel Ganrmatlock, IIC',s "initial"
                                                                    talce


                                                                   conrt ltouse" instead of "offlce of the
  re cluirecl   by Illinois law. Not orrly r1irl it state "cottnty

                              not ottly cloes it misspell firtthel      as   "filtltol"' which by law arc not ituloctiolls
  county clei,lc"      ancl


                                            tlre following (underiirred) additiql:
  errors (see below), but it also coritains
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 196 of 206 PageID #:196




                    ,,At the date ofthis notice the total amount rvhich you nrust pay- itl'
       .        order to redeem tho above ploperty is $281,196,a5 @s-ary-ande[
                statutor:v penaities, interesl,Jrnql costs'
                      EmPhasis supplied)



            (Seo    Ex'    14 1o Arnend ed 2'7401               ?etition')

                                                       Tt'edsuret' & Ex Officio coun'ty col'lector' 2013
            see also: Inre appliccttiort of the coun4'

                    130463, 3 N,E,3d 431; itespective
                                                      of hot'rnintite "the couti shall insist on sttiot
 IL   App    (i,)
 cornpliance r,vifh section22-10 to22-25" '


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            I',he lrotclirq of this case              is

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                                                                     tax deedpefitioner   Ytcts   ttot entitl'ed to a tax deed')
 ptott-sale notice fotm itrsfficient and                      th'e



                                                      provides that                               a   iax   deecl   shall be held a
             section22-45(3) of the Propertv Tax Code

 nullityl
                       ,...'wlrelethereisprnoflryolearandcotrvincingevidencetlratthe
                                                                        by the tax putchaser
                 tax deeil rrffi-u.tt procurecl by fi'aud or rleceptton
                   or his assignee." (Emphasis stlpplied')


                                                                       of the ganeral concept.of fiaud rcrluires a showing
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            Tlrere is no dispUte that application

                            ,hegligenoe,,; a pulposefirl malevolcnt intetrt to harm rnust be shown' Ho\'evet',
  more tha, mero

  tax rleed proceedings are cliffetent'
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 197 of 206 PageID #:197




                       ,,[Beoause] taX cleecl pt'ooeedings itlvolve the governrnent in talcing
               thcproper.tyorp,i,ut.owne(sofrealestate,,,dueprocessconcel.ns
                                                                           of section 22-
               clemanci o rpeoiai interpretation of the fiaud requirernent
               4sQ). 1t                        af Thomas, 2Zs 1li"App' 36 861 (4'r' Dist'
                               ,u'.ioiln"i-pirition
               1ee2),



                           onr appellate court has repeatedly held when there        aLe   "substittttions or
         Tlus,     as


                           tax folm, the tax buyer is not entitled    to atax   deed; ptejudica is prcsumed'
 onissiolrs,, on       a



                       .,Therc rnust be stiict comlliance with the statrite and when there atq
                       ^+i+,+i^,.a nr' n*iccinrrc .rrrl rnfice 'lhtrrr. the tax buver is not entitled
               tffiot                             need to inquire lvhetlrer wlliams aotually
                                                                                         any
               r.r.ivrd tl"        clefioient section 22-5 post-sale notice and sufreled
               ,reiudice
               IJ
                         or coirfusion as a result of ths omission of the city name;
               plejirciice is presurnecl, (3 N,E.3c1at 438)

     '                 .we hold that Egtrity ore"r' post*ale notice form to           lvilliams,was' ;- '
     .         not
                        ..completely    fiiied'in",   as r."quirecl   by o.ur legislature" 35 ILCS
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               ZA0/ZO-S        tW"riZOOS). Beoause       a
               ,roti""      dlirin th" m.u,rjt        lh gtutot'
           '   ,tfre   rlfllgol1;ftag-f+          ra Cannty'T'easuyel P'l':'?:1,!!''; ':";: ' -"
                                                 ated
                                            "'Jnlll' Ai,p' 3'd 453, 3 N'E'3'J4?l'438
               fitvestmenl n"iav. lrniios,2013
               (i-ni*t, zot4          @mphasis suPPlied,)


                                                                    the case of a "mistahe" fraud
         And, tlre court has alsO emphasized repeatedlythat even in

 cxists, nuilifyirig the tax cleed,

                                                                  . . Miclwest tolcl the court
              "I-Iere, tlre public records showed the mot'tgage.
                                                                       may have ilistakenly
         it hatl aheady Jerverl notice bn all occuparfis, Midwest
         over.lookecl iosc's intere.st as reflecterl in the mortgage,
                                                                           or.Miclwest may'
         have ilelibemtely cleoirled not to
                                              ,infortn the court of Joss's signahue on flre
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                                             "o'"trug                   thc conrt of that
         Midwest knerv of for*t i"t"r*t and decided not to infot'm
                                                                                     trial
         int"r.rt, we find that Midwest's'acts constitute {Iaucl undeI Gerus'The
         .o,'t          r,y n,rai,u lhat Jose failed to show frarrd, ...,,   (Bmplrasis
                 "r.r"a
         supPlied.)
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 198 of 206 PageID #:198




  fitre     county'fr-edsrn e.r (Ah,ardo),0247I\|..App.3c1769,807                                           N.B,2d rc42"1053-54 (1',tDist,

   2004) appeaLdenied, 823N,8,2d965 (2004). See also: Itl.re County Treasurer (MB Fi.nancial

  ])afih),2012TLApp, (1" 7A1976,359 Ill,Deo, 87), also                                         a   nnaninrous decision, and.In re


 .Altplicafion of Countlt Col.lector, (I{au, York Gtnrdian lttortgagee Corporcttl.on v. Co7ital Bonk

  &'!h.rstas'Iiusteetft/u I333),202nt'App.3d405,559N.E'2d 1006,10I3 (1't 1990)'


              Jrr shor.L     botft because Stonedlg LLC, the "o1ryner" of flre certificate failecl to give the

 "iritiaf'take notice,              whicb. sectio n2L260 malces mandatoi'y and because non'olvnof

 Ganlnadoolc, LLC's purported initial take notice (as well as Stonedty's subsequent22-10 and

 other notices) macle "materiai" unlawfltl changes, arlvising the assessee that in order to recleem
                                                                                                                                           '
 "you must pay . ^.phi ony ,rud all rtaturtory penalties, interests                                         md   costs'l both fmird and.


 cteceptionwerept'ovea, araking the tax cleed arrullity,


                                                                                                      Respe*tftilly eubmitted


                                                                                                        lslBalbara Reyalc

                                                                                                      /s/Rufus Cook,pro        se




        Iaw Offlce of Batbat'a            Revalc
        7411S. Stouy Island Ave, Suit€ 102
        Chicago, rt.60649
        AttorneyNo. 58121
        Telephone No. Q73)            7   52-2000
                arrd
        Rufus Coolc,prule
        7+lIS. StolyIslaud Ave
        Chicago,1L60649
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Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 199 of 206 PageID #:199




                          EX;D
                            d
                    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 200 of 206 PageID #:200

Hearing   f   art: No hearing scheduled


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                                                                                               lris Y. Martinez

I                                             Iht    TIIE CIRCUTT COUI'{T OF COOK COUNTV,ILLINqftculr CLERK
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                              IN TTXE MATTETT OF TIIE A.PPLICATtrON' ETC., )
                              GENERAI, T'A.XE,S TORTIIE YEARS 2009-2011 )
                                                                           ) Case I{o.2014 COTD 002392
                                                                           )
                              PETITION OF ST',ONEDRY,                LX,C  ) )txon. James cau'oll
                              FOR TAX        I}EED                         )
                                                                           ) RE: StrCTION 2-1401
                                                                                  PETITION          )

                               R.IDGELAND PARTXES'                    SWESPONSE OPPOSING
                                  ..MOTTOIV F'OR. EXTENSICIN OF OR.DER. OF'POSSESSIONI"



                                          AS thEit SUPPLEMENTAL RESPONSE OPPOSING                        "MOTION FOR

                              EXTENSION OF ORDER OF POSSESSION" purportedly filed on Stonedry
                                                                                              LLC's

                                       'r.rl,Peter                                                  f3ilrws.
                              brhalf                 stasiwicz, the Ridgelaud Parties   si:ate as



                                                                       BACI(GROUND


                                          1. On Septernb er   6,201g,Peter Stasiewicz, identifuing himself as counsel fot'

                                                                                                           havirig
                               Stonedry, LLC moved for' an "Extension of Order of Possession", the Sheriff

                                                                                                              more than
                               refused to act on the August 3,2017 Order of Possession as it had been enteted

                                                                                                          due plocess
                               120 days earlier (and p,.-esrunably in accord with its universally applied

                               policy not to evict when litigation involving, the property is pending).
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 201 of 206 PageID #:201




                                                                                              Itifjl,ror,4:b3   PM
                                                                                              lris Y. Madinez
          The Notice of Motiori contain.d the larignage requiled by section 5lg-117 #fuerAioaer,rnX

                                                                                              !&?53$"ulal
                            "..To prevent the eviction, you nrust be able to prorre'

                             (3) that you have an equitable or legal reason why the
                            corut shoulcl not grant the plaintiff s request for yonr
!                           eviction." (EmPhasis suPPlied)



                    2. On September, 6, 2A1,9, the Ridgelancl parties respottded to the rnotion, citing

          both ecpritable ancllega1 gLounds as to tvhy the rnotiou should be denied, including the

          faci that A. Schcolnik was not a managel of Stonedry and thris laclced legal atrthority to

          act on its behalfl such as   "hiring"   L4r'. stasiewicz 10 "tepresent" stonedry,



                   3. On Octobter24,2019,lvlr. Stasier.viczagaiipurpottedly ori behalf of Stonedry

          filed areply in support of the motion.


                   4. Some.two years have elapsed since briefing of the possession motion was

          concluded as a result of boththe COVID court closure and the coult's recognition that

          the pendelcy of the section     Z-L([lPetition required that the motion      be held   in abeyance

          pencling resolution thereof.


                    5. On Novemb er 20,2079,the Ridgeland parties moved to strike the motion to

          extend order of possession on the gr-orind that it was filed without authority and contrary

          to the   Illinois Limitecl Liability Cornpany Act and agency law, requiring counsel to show

          by what author.ity he purportedly has represented and purports to continue to represent

          Stonedty, LLC.
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 202 of 206 PageID #:202




              6. On Febru ary 26,2020,the court denied the motion to stdlce                   '



              7. O1Augirs         t   1l,[[Zl,the   Ridgeland parties nroved to reconsicler the February


       26,2020 order.


              B   .   01 April   27   ,2027 , the Ridgeiand par"ties tlien filed    (1   ) Annotated Affidavit

      Supportilg Motion to Reconsider Orclel Denying Motion to Shike, and (2) Reasons why

      Motion to Reconsider Must be Granl;ed (Ex. 1)


             9. On May           ll,202l,a     lesponse to the rnotion to reconsidet'lvas filed. No countet*

      afficlavit was supplied. Instead, the Response was suppolted by atuns$'orn "Declamtion

      of Andres schcolnilc' (Ex. 2) herto, which is Exliibit A to the Response,


              10.      O11   May 19, Z[Zl,theRiclgeland pat'ties replied and on June 14, 2021, they

      filed their "Application of AdCitional Authotity.             ''   " that fihrg, atter discussing the

      governing holdings of           Bltttchuy. EHS T"inity Hospital, 321Il1. App' 3d 13.1 (1stDist.

      2001) and o||1s Qst:etldarf case onwhich it relied, 89 IIl.                2d 286,and Smithv. Cole, 256

      Ill. App. 3d (1993) set forth "the central facts, unconiloveLted" and thus achnitted in light

       of the Lmstyorn         " Declatation", cleatly not   a   countet-affidavit. Those "facts"     a1'e:




                             "11. We tuln now to thc central facts which, if not
                             controvetted under oath in the filings supporting arrd
                             opposing a 2'1 401 petition, recluire no evidentiary hearing
                             Ostendorf, Blttcher and Cole, supra' The central facts,
                             unconhoverted, foilow:

                             a, Prove-up hearing testimony by Schcolnik to be a SD
                             rnember was false

                             b. Sworn claim to be a SD membet in settlement agreement
                             was falsely rnade December fir'st, 2015, continuing the false
                             testimony given February 9.
    Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 203 of 206 PageID #:203




                          c. Inadmissible Declaration did not cotrtraclict Atmotated
                          Affidavit's denial of Sclicolnik authority since the LLC's
                          inception.

                          d. Inadmissible Declaration left uncontrovetted the
                          Afficlavits denial of Twaldoclc's lack of authority iegarding
                          Stonedry.

                          e. Declalation leat es ulcontoverted the statement that the
                          22-5lake:notice was sent by Ganmadock after it had
                          assigned ownership to SD, thus voiding that notice and
                          precluding issuance ofa tax deed.

                          f, Declaration leaves unconfi'overted, thereby admitting,
                          that 22'10,15 and 20 notices were defective.


I                         g. The cleciaration leaves unconttoverted the assertions flrat
                          the pt'ove-up was held Februaly 9,2015 without notice to
                          the Ridgeland parties even though their appealance was of
                          record as ofFebruarY 4,

                          h. The declaration leaves uncontrovefted the sfatement that
                          the false testinrony was never couected, that Mr. Wilson
                          testified unsworn, and that tlie h'anscript was a..lmitte<i into
                          evidence iater by'ajudge who had not heard the evidance in
                          the case.

                          i. The declaration leaves turconffovetted the assertion that
                          withdrawl of the Riclgeland objections ilid notremove the
                          defects inthe22'5,10, 15, 20 and 25 notices, nor the
                          prove-up defects, nor fhe lack of a propel'transcript
                          lawfully executed by a judge who heard, or re-h-earcl, the
                          evidence.

                          j, Finallythe declatation leaves unconh'overted the
                          assertion that sec. 22-40 commarids that no tax ded may
                          issue without compliance with the statutory tel'ms."




                   11. On June    i7, 202l thecourt denied the motion   to reconsider'.


                   72. OnOctober 14,2AZl,the corut granted Stonedry's section 2-619 rnotion to

           clismiss the section   2-l40l Petition; set October 28 for the filing by Respondents of a
              Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 204 of 206 PageID #:204




                     Supplemerital Response respectirrg the rnotion seeking an ordel of possession rryiththe

                     Reply due by Novernber 4; A stahrs healing is set for November 17,2021.


                                                                   AR.G'UMENT


                               As uoted, section 519-117 bars entry of an order of possessiori if there exists "an

                     equritable ol legal reason lvhy the coult shoulcl not grant the plaintiffls lequest for

                     eviction". I-Iere both exist-


                             A. Thc courf,s orders finding that non-rnanager Schcohrih llad lawful
                     authol.ity to act for Stonedry dcspitc ttrre provisions of the LLC .dct to the contrary
                     are intorlocutory and non- bitrding.



                               The court's ordeis clcnying the Ridgelancl parties' "motion to strike lequit:ing a

                     slorvilg.of'authority",       an<i   denying leconsiclelation thereof are rritsl-lo,culory anci thus

                     non-binding as is the court's October 14,2021otder granting2-619-dismissal of tlie 2-

                     1401 Petition, which disrnissal ordel does not beoome firial for 30 days aftel entty absent

                     a   filing of a timcly motion to reconsider.
                               .   - - .,.rrthlE

          .     ,.          B. T'he court rvas required to, hut dicl not conduct an evidenfiary hearing on
        *\
      ur.{.
,! ,.,
     .               Schcotrnik's repeated false averments under oath that he was a "merrber" of,
 I ,, ' ;
):1
                     Sfonedry and ihus could legally act for it, a rmanager- managed LLC.



                               Even   if it is assurned arguendo that the Ridgeland        Parties "lacked standing" to


                     challenge Schcolnik's "authottty" (Feb. 26, 2020 order) .this            cottt   had botli an

                     .,equitable" and "legai" duty to do so before entedng its Decenrber 1, 2015               " Order

                     Directing County Clerk to Issue Tax Deed. ..". Ex. 3 (See page 4 of the ordet, and the

                     Ianguage atpage2, unsupported by the record, that "the court-having heard the testirnony
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 205 of 206 PageID #:205




       aS   to the diligence of service of notice of tax purchase." Infucl, llte cottrt heard na

       testitttotEt,


                Thus the orclel of December L,2015 is fatally delbctive as a matter of law and can

       supply no basis for entr)' of an Order of Possession'


               C. Ey failing to supply a coullfer- afTidavit, relyirg instead on Schcohrih's
       unsryorn '(Dectral'ation" Stonechy arlmnitted that fhe Orctrer Directing that a tax dccd
       issue is Iegaltry insupportable anrl therefore supplies no hasls on rvhich au oreler of
       possession can
                          t'equitably" or'{[egally" he granted.



              D. The aclmissions rvhich result f'rom 6he failure. to lile a counter'-affidavit,
       instcad relying on the unsryol']l May X.1, 2021. Decltration, supercede the appellate
       court,s December 2020 Rule 23 order, which in any event, tlicl not consider the issue
       of Schiolnilr's Iach of authorify, making res judicata inapplicable.



                The to-be-filed rnotiori toreconsider the cout't's Octobsr 14,2027 dismissal of the

       2-1401Petition supplies yet further "equitable or legal grouirds" why the motion seeking

       an orcler of possession rnust be clenied.




                                             eaNcLUsrQN


       WHEREFOR-E: for the reasons statecl the motion        fol entry of an Order of Possession
       must be denied.
 r
Case: 1:22-cv-00119 Document #: 1 Filed: 01/07/22 Page 206 of 206 PageID #:206




                                               Respectfully,
                                               slBarbara Revak
                                               Attorney fbr Respondents/Petitioners
                                                      And
                                               s/Rufus Cook, Pro se




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